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                  EXHIBIT B-060
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                                                                                       FILED IN
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                        IN THE SUPERIOR COURT OF FULTON COUNTY (\‘ue
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                                                                                             CLE ,S     RlOR COU T
                                         STATE OF GEORGIA                              DE
                                                                                            FULTON COUNTY, GA


    IN RE:                                        )       CASE N0.
    SPECIAL PURPOSE GRAND JURY                    )       2022—EX-000024
                                                  )
                                                  )

-
     MOTION TO/OUASH SUBPOENA ISSUED TO GOVERNOR BRIAN P. KEMP AND
                       MEMORANDUM IN SUPPORT

             Governor Brian P. Kemp, through undersigned counsel, respectfully moves this Court for

    an order quashing the Subpoena for the Attendance of Witness (the “Subpoena”) issued to him by

    the District Attorney’s Ofﬁce (the “DA’s Ofﬁce”) on August 4, 2022, because (1) it is barred by


    sovereign immunity; (2) it improperly seeks to invade established common law executive and

    attorney-client privileges; and (3) it is being pursued at this time for improper political purposes.

    In support thereof, the Governor submits this memorandum of law.

                                          I.    INTRODUCTION

             Governor Kemp has ardently defended the rule of law in this State. Moreover, he welcomes

    opportunities to explain and defend his actions. However, the Subpoena ignores—and more

    importantly, the DAés Ofﬁce has refused to account for—the serious privileges it implicates in

    relation to the testimony of a sitting Governor. Additional, through delay and artiﬁcial deadlines,

    the DA’s Ofﬁce has engineered the Governor’s interaction with the investigation to reach a

    crescendo in the middle of an election cycle. This timing cannot be ignored given the Governor’s

    repeated efforts to engage with the DA’s Ofﬁce prior to 2022 and even before announcing his re-

    election campaign. In fact, the Governor agreed to a voluntary interview to be held on July 25,

    2022, but when counsel for the Governor asked reasonable questions of the DA’s Ofﬁce regarding

    the scope of that interview, the DA’s Ofﬁce unilaterally canceled the interview and issued the


    Subpoena. Why the DA’s Ofﬁce acted s0 abruptly is unclear.
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         Georgia courts have no authority to compel a sitting Governor to provide testimony about                         _




matters involving his ofﬁcial duties due to sovereign immunity. Even if that were not the centuries-

old law of this State, the Subpoena at issue is improper, and due to be quashed, because its timing

is neither driven by a genuine investigative need for information nor compliant with the established

ethical rules governing prosecutors and election cycle investigations. Any one of these concerns,

standing alone, is a sufﬁcient reason the Subpoena should be quashed; considered together, they

compel that outcome.

                                     II.    FACTUAL BACKGROUND
         While the special purpose grand jury was only recently authorized, the DA’s Ofﬁce has

been investigating the events surrounding the 2020 Presidential election for at least a year and a

half.    The              County      District Attorney ’s Letter, N.Y. TIMES                  (Feb.    20,   2021),
                Fulton

https://www.nytirnes.com/interactive/202 l /02/ 1 O/us/politics/letters-to—ge0rgia—ofﬁcials—from-

fulton-district—attorney.html. During that time, and well before the Subpoena was issued}

Governor Kemp consistently attempted to engage with DA’s Ofﬁce and to voluntarily provide it

with relevant and appropriate information regarding its investigation. As outlined below, the DA’s

Ofﬁce ignored, denied, or otherwise frustrated these attempts time and time again.

         o     On April 27, 2021, Raymond Baez, Deputy Chief Investigator for the DA’s Ofﬁce,
               informed counsel that the DA’s Ofﬁce was interested in meeting with Governor Kemp
               to discuss a telephone call between the Governor and former President Donald Trump.
               Investigator Baez stated that Chief Senior Assistant District Attorney Sonya Allen was
               running the investigation. Mr. Baez emphasized that the DA’s Ofﬁce needed to conduct
               this interview “sooner rather than later.”


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  The DA’s Ofﬁce issued a Subpoena purportedly requiring Governor Kemp to appear to testify before the Special
Grand Jury on August 10, 2022. (Attached hereto as Ex. A). Investigator Michael Hill went to the Capitol to attempt
to serve the Governor personally with this subpoena, despite counsel’s engagement in this investigation for 16 months.
Unfortunately, Investigator Hill engaged in subterfuge in attempting to effect service of the subpoena. Investigator
Hill represented to the paralegal at the Ofﬁce of the Governor that he had spoken to counsel and that they had approved
service, but no such conversation ever occurred. The Parties subsequently attended a meeting with the Court to discuss
conﬂicts with the August 10, 2022 date and the DA’s Ofﬁce agreed to adjust the date of compliance to August 18,
2022 and reissued the Subpoena thereafter. (Attached hereto as Ex. B).

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      That same day, undersigned counsel called Ms. Allen who stated that she was interested
      in speaking with the Governor in an informal witness interview. Ms. Allen echoed that
      these interviews must occur promptly given the desire to expedite the investigation.
      Counsel for the Governor inquired whether it could provide documentary evidence and
      Ms. Allen stated that no such requests would be issued because she “was not even sure
      what documents he would have.” Counsel for the Governor reiterated a willingness to
      engage in an email that same day. The DA’s Ofﬁce did not respond to this email.
  -




      Counsel sent another email to the DA’s Ofﬁce on June l6, 2021, reiterating the Ofﬁce
      of the Governor’s willingness to engage, requesting additional details about the speciﬁc
      topics that would be covered with Governor Kemp, and asking for conﬁrmation that
      the substance of any statements “remain conﬁdential.” (Attached hereto as EX. C).

      On June 21, 2021, the District Attorney responded stating “[w]e will be asking for an
      interview in August [2021] with Governor Kemp” and “we expect to conclude all
      interviews of witnesses that do not need to go before a Grand Jury by September 30,
      2021.” The District Attorney assured counsel “the content of the conversation will not
      be leaked” and requested that our client and our ﬁrm not “even mention that such an
      interview is occurring.” The September 30, 2021 deadline came and went without any
      communication ﬁom the DA’s Ofﬁce. (Id)

       On October 5, 2021, Ms. Allen submitted an Open Records Act Request to the Ofﬁce
       of the Governor despite counsel’s previous offer to provide materials and Ms. Allen’s
       rejection of that offer. (Attached hereto as Ex. D). The Ofﬁce of the Governor produced
       over 1,000 pages of responsive materials yet received no responsive communication
      from the DA ’s Ofﬁce. (Attached hereto as Ex. E).

      In January 2022, counsel proactively emailed Ms. Allen to inform the DA’s Ofﬁce of
      counsel’s new contact information and to conﬁrm the ongoing representation of the
      Ofﬁce of the Governor. (See Ex. C).

      On January 20, 2022, counsel called Ms. Allen reiterating the Ofﬁce of the Governor’s
      willingness to engage, inquiring about dates for an interview, and voicing a concern
      that we were rapidly moving closer to a high—proﬁle primary and general election Cycle.
      (See email correspondence conﬁrming telephone conference, attached hereto as EX. F).
      The DA ’s Office did not provide any dates for an interview.

      That same day, the DA’s Ofﬁce sought an order impaneling a special purpose grand
      jury “for the purpose of investigating the facts and circumstances relating directly or
      indirectly to possible attempts to disrupt the lawful administration of the 2020 elections
      in the State of Georgia.” Letter from Fani T. Willis, District Attorney, Atlanta Judicial
       Circuit, to the Honorable Christopher S. Brasher, Chief Judge, Fulton County Superior
       Court (Jan. 20, 2022). (Attached hereto as EX. G).

      Chief Judge Brasher authorized the request four days later on January 24, 2022,
      ordering the special purpose grand jury to begin on May 2, 2022, and to continue for a

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      lyear thereafter (the “Special Grand Jury”). Order Approving Request for Special
       Purpose Grand Jury Pursuant to O.C.G.A. § 15-12-100, et seq. (Jan. 24, 2022). (Id)

      Counsel emailed Ms. Allen to follow up on the request on February 7, 2022. (See Ex.
      F). She did not respond.

      Counsel emailed Ms. Allen again on March 11, 2022 to inquire about the interview.
      (Attached hereto as Ex. H). She did not respond.

      Finally on March 30, 2022, counsel was informed that Ms. Allen was no longer the
      appropriate “point of contact” within the DA’s Ofﬁce. Instead, Donald Wakeford,
      Assistant District Attorney, would oversee “a future interview with Governor Brian
      Kemp.” Mr. Wakeford stated he would reach out “to make arrangements in th efuture,”
  ’




      but gave no indication of when this would be. Notably, this communication was six
      months after the initial September 30, 2021 deadline to complete witness interviews.
       (Attached hereto as EX. I).

      Counsel emailed Mr. Wakeford on April         ll, 2022, trying to discuss this “future
      interview” in more   detail and to determine the timeline for Said interview. (Attached
      hereto as Ex. J). Mr. Wakeford did not respond.

      Counsel sent another email correspondence to Mr. Wakeford on April 25, 2022 seeking
      to discuss the interview. (Id) Mr. Wakeford responded stating that there was “no
      information” the DA ’s Ofﬁce “wish[ed] to discuss” and would not be calling
      Governor Kemp for a voluntary interview before June 1, 2022, the date which the
      Special Grand Jury would begin hearing witnesses (which is confusing given that no
      jurors would be present at an interview). (Id)

       Counsel responded on May 10, 2022, seeking additional information regarding the
       interview. (Id). Mr. Wakeford responded saying the DA’s Ofﬁce “deﬁnitely still
       intend[ed] to speak with the governor,” but provided no specific information. (Id)

      On May 12, 2022, counsel called and spoke with Mr. Wakeford to clarify the timing of
      the investigation, raise concerns about the proximity of the investigation to the primary
      and general election cycles in Georgia, and to reiterate the Office of the Governor’s
      willingness to engage. Counsel requested the opportunity to conduct an attorney
      proﬂer prior to a witness interview in order to address any evidentiary or privilege
      concerns that might arise. Mr. Wakeford was very receptive to the idea. Counsel also
      requested the interview be conducted after the general election so as not to improperly
      interfere with an ongoing election. Mr. Wakeford indicated he needed to discuss that
       request internally.

       Mr. Wakeford emailed counsel shortly thereafter stating that the DA’s Ofﬁce was
       “open to scheduling an attorney proffer” and would “speak with [counsel] to ﬁnd an
       agreeable date.” (Attached hereto as Ex. K). However, Mr. Wakeford stated that the
       DA ’s Ofﬁce was unwilling to interview Governor Kemp “past the date of the general

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             ”
    election, but provided no explanation as to why. (Id)

    On June 3, 2022, counsel had a call with Will Wooten, another Assistant District
    Attorney, who was now the appropriate point of contact rather than Mr. Wakeford or
    Ms. Allen. Several attorneys and investigators within the DA’s Ofﬁce were also present
    on the call. Mr. Wooten discussed the desire to ﬁnally arrange a witness interview and
    again agreed to an attorney proﬂer. Counsel sent two date options for the attorney
    proffer (June 24 or June 27, 2022) and conﬁrmed discussions with the Governor’s
    scheduling team to ﬁnd dates for his informal interview. (Attached hereto as EX. L).

    Counsel emailed the DA’s Ofﬁce the following week providing dates for the
    Govemor’s interview (August l, August 2, or August 4, 2022) and requesting
    conﬁrmation of the attorney proffer date. Mr. Wooten responded on June 13, 2022,
    requesting a conference call. Counsel responded offering an available time, and Mr.
    Wooten responded with his availability. (Attached hereto as EX. M).    .




    Before the conference call could take place, Nathan Wade, the Special Prosecutor to
    the DA’s Ofﬁce, called counsel abruptly that afternoon to inform them that he was the
    only individual in the DA’s Ofﬁce who had authority to enter into agreements
    pertaining to the investigation. Mr. Wade voided all previous agreements, including
    the attorney proffer, without any explanation. Mr. Wade stated that the August dates
    provided were unacceptable, and Governor Kemp’s interview date must be scheduled
    within the month of July. Mr. Wade threatened to immediately serve Governor Kemp
    with a grand jury subpoena if dates were not instantly provided or if there were no
    available date in July. Mr. Wade than stated he would wait on the call until counsel
    provided said dates. Counsel replied that they would need to consult with the
    Governor’s scheduler, considering he was the active Governor, to identify dates.
    Counsel further stated they did not feel threatening a witness was necessary considering
    Governor Kemp’s continued and prolonged engagement. Mr. Wade responded that it
    was not a threat, it was merely “a fact.”


    Following this call, counsel emailed Mr. Wooten and the rest of the investigation team
    that had been coordinating with counsel to date, highlighting concerns with Mr. Wade’s
    revocation of an attorney proffer agreement, unprovoked hostility, and unnecessary
    threat to the Governor. (Attached hereto as'EX. N). No one from the DA ’s Ofﬁce
    responded.

    As requested, on June 15, 2022, counsel emailed the DA’s Ofﬁce providing available
    July dates for the Governor’s interview; Mr. Wade responded and conﬁrmed that the
    DA’s Ofﬁce was amenable to a Witness interview on July 25, 2022—one week earlier
    than the untenable August 1, 2022 date. Attached hereto as EX. O).

    On June 22, 2022, Trina Swanson-Lucas, a senior investigator, attempted to serve a
    subpoena duces tecum for documents and a corresponding letter regarding the
    Governor’s witness interview. (Attached hereto as EX. P). Coincidentally, that same
    day, the Atlanta J ournal-Constitution submitted a FOIA request seeking subpoenas sent

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            to the Ofﬁce of the Governor related to the investigation?

        o   On July 20, 2022, in advance of Governor Kemp’s voluntary interview, counsel
            requested that certain protections be put into place to protect the integrity of Governor
            Kemp’s testimony and prevent the inadvertent disclosure of privileged information.
            (Attached hereto as Ex. Q). In response, the DA ’s Oﬂice unilaterally canceled the
            voluntary interview—calling the requests, including the Court’s recommendation of
            providing topics in advance of testimony, “utterly ludicrous”—and stated that
            Governor Kemp would now be subpoenaed in ﬁont of the grand jury in advance of the
            2022 General Election as punishment for counsel’s justiﬁed requests. (Attached hereto
            as Ex. R)

        o
            Confoundingly, the DA’s Ofﬁce'stated that the Ofﬁce of the Governor has “purposely
            delayed to get us to our current date” and, as such, it is “meritless” to indicate that
            Georgia is in the midst of an election cycle. (Id) It is abundantly clear—as outlined in
            great detail above—that the only delay throughout this investigation has been caused
            by the DA’s Ofﬁce and not Governor Kemp, the Ofﬁce of the Governor, or his counsel.    '


            Furthermore, it is indisputable that Georgia is very much in an election cycle.

        o   The DA’s Ofﬁce also took the false position that only the Court can “outline issues of
            evidence and privilege.” (Id) Such an assertion violates both common practice and
            judicial economy.

        o
            Notably, this stance is apparently only applied to the Ofﬁce of the Governor. The
            “utterly ludicrous” request of identifying questions and topics in advance of the
            interview in order to proactively address evidentiary and privilege issues was not only
            agreed to, but was suggested by, the DA’s Ofﬁce as a reasonable parameter at the July
            21, 2022 hearing held by this Court—less than 24 hours after the DA’s Ofﬁce had
            rejected the Ofﬁce of the Governor’s request for the same protection. At that hearing,
            the Court acknowledged that requesting identiﬁcation of topics of questions to avoid
            implication of a legal privilege a fair request. Similarly, the Court previously suggested
            the DA’s Ofﬁce disclose and discuss topics and questions with counsel for the Ofﬁce
            of the Governor during another meeting.

        o
            Despite the gamesmanship of the grand jury process, as well as signiﬁcant legal issues
            with the subpoena for documentary evidence, the Ofﬁce of the Governor nonetheless
            voluntarily produced nearly 36,000 pages of materials between July 25, 2022 and July
            27, 2022, another 84,000 pages of materials on August 2, 2022, and another 17,000
            pages of materials on August 12, 2022. Providing over 40 bankers boxes of responsive
            materials—with more materials to come—clearly evidences a continued willingness to
            engage with the DA’s Ofﬁce. (See Production Cover Letters, attached hereto as Exs. S,

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  Tamar Hallerman, Governor Will Deliver Sworn Recorded Statement Instead of Hearing Before Grand Jury, THE
ATLANTA JOURNAL-CONSTITUTION (June 23, 2022), at httpscl/www.ajc.com/poIitics/breaking—kemp-to—testify-in-
fulton—co—trump—prob e/PXZ4ZEMJRJ C STCJ JBYVU6IK7EU/ ?utm_source=1terable&utm_medium=emai1&utm_ca
mpaign=campaign_4538916 (“. . according to a letter from the Fulton County District Attorney’s ofﬁce dated
                              .


Wednesday and obtained by the AJC on Thursday”).
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           T, U, & V).

       I   Following a meeting with the Court and the DA’s Ofﬁce, counsel emailed the Special
           Prosecutor on August 8, 2022 requesting that Governor Kemp’s testimony, Whether
           formal or informal, be postponed until after the November 2022 election. Counsel also
           suggested that an attorney proffer be conducted to identify potential evidentiary and
           privilege issues in advance of any testimony. The Special Prosecutor denied these
           requests. (Attached hereto as Exs. W and X).

                 III.    ARGUMENT AND CITATION T0 AUTHORITIES

       The Subpoena fails on three fundamental levels. First, under the doctrine of sovereign

immunity, this Court lacks jurisdiction to enforce the Subpoena. Second, a court may quash or

modify a subpoena that seeks privileged information. See In re NSM, 183 Ga. App. 398, 399—

400 (1987). Here, large swaths of information that the DA’s Ofﬁce will likely seek to discuss are

protected from disclosure by the executive privilege and attorney-client privilege. Furthermore,

the DA’s Ofﬁce has already demonstrated a disregard for important privileges and reﬁtsed to

institute reasonable safeguards to protect witnesses from privileged disclosures. At a minimum,

should the Court ﬁnd it has jurisdiction to issue the Subpoena, the Court should issue an order         p




prohibiting the DA’s Ofﬁce from questioning the Governor on matters invoking his important

privileges. Third, the Court may quash or modify a subpoena that is unreasonable and oppressive.

See O.C.G.A. § 24-13-23(b)(l). Here,the Subpoena is unreasonable and oppressive because it is

without legal authority and was issued for political, rather than investigative, reasons in violation

of prosecutorial guidelines.

A.     Enforcement of the Subpoena Is Barred by the Doctrine of Sovereign Immunity

       The Subpoena seeks to attach the compulsory process of this Court to compel the Governor

to testify about acts undertaken in the performance of his ofﬁcial duties. It is the settled law of


Georgia that, in the performance of his ofﬁcial duties, the Govemor- is “the State,” and therefore

beyond the jurisdiction of the Court absent an express waiver of the State’s sovereign immunity.
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Lathrop v. Deal, 301 Ga. 408, 420 (2017) (sovereign immunity bars claims against the Governor

for declaration that a law was unconstitutional and for an injunction preventing enforcement of the

law); see also Georgia Dep ’2‘ of Nat. Res. v. Ctr. for a Sustainable Coast, Ina, 294 Ga. 593, 599V

(2014) (sovereign immunity applies to State and its ofﬁcers and employees sued in their ofﬁcial

capacities). No such waiver or exception applies to the Subpoena, and therefore it is void for lack

of jurisdiction.

          Sovereign immunity “protects all levels of governments ﬁom legal action unless they have

waived their immunity from suit.” Conway V. Jones, 353 Ga. App. 110, 111 (2019). Though the

doctrine gained constitutional status in 1974, it has existed at common law in Georgia since the

State’s founding. Lathrop, 30FGa. at 420. “Simply put, the constitutional doctrine of sovereign

immunity forbids our courts to entertain a lawsuit against the State without its consent.” Id. at

408. Sovereign immunity can only be waived in the Constitution or in a statute enacted by the

General Assembly. Id. at 425; Conway, 353 Ga. App. at 111; see also Ga. Consti Art. I, § 2-

(providing for waiver of sovereign immunity in speciﬁc circumstances). Furthermore, where it

applies (as here), sovereign immunity is an absolute bar to the Court’s authority over the State,

because it is jurisdictional. McConnell v. Dep ’t of Lab., 302 Ga. 18, 19 (2017) (emphasis added)

(“[T]he applicability of sovereign immunity is a threshold determination, and, if it does apply, a

court lacks jurisdiction over the case and, concomitantly, lacks authority to decide the merits . . .

.”); Dep ’t ofPub. Safety v. Johnson, 343 Ga. App. 22, 23 (2017) (noting suit barred by sovereign

immunity should be dismissed for lack of subject matter jurisdiction). The Subpoena here is barred

by sovereign immunity because the DA’s Ofﬁce is seeking to compel the Governor to submit to

the Court’s legal process, and the State has not waived immunity to such process.


      r
          The Subpoena is directed toward the Governor in his ofﬁcial capacity. The Subpoena seeks
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testimony in a state court legal proceeding regarding facts and circumstances relating directly or

indirectly to possible attempts to disrupt the lawful administration of the 2020 elections in the State

of Georgia. Any insight the Governor may have on these                             arises entirely from
                                                              topics necessarily

the performance of his ofﬁcial duties as Governor. See, e. g., O.C.G.A. § 21-2-502 (establishing

Governor and other executive ofﬁcers’ roles in tabulation of votes and certification of elections).

The DA’s Ofﬁce has not asserted—nor could it truthfully assert—that the Governor acted at any

time outside of the scope of his ofﬁcial duties in connection with those matters. See Dennison Mfg.

C0. v. Wright, 156 Ga. 789 (1923) (holding suit was against comptroller general in his individual

capacity because it involved alleged actions he committed without lawful authority and beyond

the scope of his ofﬁcial power); Romano v. Georgia Dep’t 0f Corn, 303 Ga. App. 347, 350—51


(2010) (holding action was against state ofﬁcers in their ofﬁcial capacities Where complaint lacked

allegations that they were acting outside the scope of their ofﬁcial duties); Wang v. Moore, 247

Ga. App. 666, 669 n.6 (2001) (holding that suit, regardless of how styled, was against state

employees in their ofﬁcial capacities where the relevant actions allegedly took place while

employees were administering their duties under color of authority). Whether styled as an action

against the State or an individual, any action that “could result in a . . . decree that would in any

manner affect or control the . . . action of the State, in a manner not prescribed by statute, is a suit


against the State,” and therefore subject to the jurisdictional proscription of sovereign immunity.

Roberts v. Barwick, 187 Ga. 691, 695 (1939). Applying the compulsory power of the Court to

“decree” the appearance of the Governor not only controls his action in his ofﬁcial capacity, but

also requires mobilizing State ofﬁces and resources. Absent an express waiver for the DA’s

Ofﬁce’s issuance of the Subpoena and the Court’s enforcement authority of same—for which none

exists here—sovereign immunity forbids it.
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           Sovereign immunity prohibits the Subpoena regardless of Whether the Governor is a

    nominal defendant being sued or a mere witness. As the history and purpose of sovereign immunity

    shows, the doctrine is not limited to shielding the State from claims for damages. Indeed, contrary

    to the idea that sovereign immunity is “principally about the protection of the public purse,” “the

    doctrine at common law was understood more broadly as a principle derived from the very nature

    of sovereignty.” Lathrop, 301         at 412—13; see also id. at 425 (noting common law doctrine of
                                    Gar

    sovereign immunity has been constitutionally reserved and thus applies today as it would at

    common law). The doctrine thus applies to injunctive claims, see Georgia Dep’t 0f Nat. Res. v.

    Ctr. for a Sustainable Coast, Ina, 294 Ga. 593, 602 (2014), and claims for declaratory relief, see

    Olvera v. Univ. Sys. of Georgia ’s Bd. ofRegents, 298 Ga. 425, 428 n.4 (2016), among others.

           Because non-party subpoenas to State ofﬁcers regarding actions within the scope of their

    ofﬁcial duties are akin to injunctions applying the force of judicial authority to compel the State

    to act, such actions are likewise barred. While the Georgia Supreme Court has not (yet) directly

    addressed the application of sovereign immunity in this context, the federal courts have. As the

    Fourth Circuit has explained:

           Even though the government is not a party to the underlying action, the nature of
           the subpoena proceeding against a federal employee to compel him to testify about
           information obtained in his ofﬁcial capacity is inherently that of an action against
           the United States because such a proceeding ‘interfere[s] with the public
           administration’ and compels the federal agency to act in a manner different from
           that in which the agency       ordinarily choose to exercise its public function.
                                     would
    Boron Oil C0. v. Downie, 873 F.2d 67, 70—71 (4th Cir. 1989) (quoting Dugan v. Rank, 372 U.S.

    609, 620 (1963)) (reversing denial of motion to quash trial subpoenas to EPA employee); see also

    Smith v. Cromer, 159 F.3d 875, 879—81 (4th Cir. 1998) (afﬁrming order quashing subpoenas

    directed to DOJ employees in state criminal prosecution based on sovereign immunity); In re Elko

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    Cnty. Grand Jury, 109 F.3d 554, 556 (9th Cir. 1997) (holding sovereign immunity barred state


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court’s enforcement of grand jury subpoena against federal employee); Houston Bus.        l, Inc. v.
Oﬁ’. ofComptroller ofCurrency, US. Dep ’t ofTreasury, 86 F.3d 1208, 1211—12 (D.C. Cir. 1996)

(noting sovereign immunity bars state court’s enforcement of document subpoena against federal

agency). Because the federal government’s authority—sovereign as it is—is derived Wholly from

(and limited to) the power given to it through the express consent of the States under the United

States Constitution, it follows that the State of Georgia’s interest in preserving its sovereignty is

necessarily greater than the federal government’s in each of these cases in which the federal courts

have prohibited subpoenas to federal ofﬁcials relating to their ofﬁcial activities.

       Indeed, Boron Oil’s reasoning comports perfectly with Georgia law, where courts have

explained the scope of the State’s sovereign immunity in in the same way. Forcing the State to

submit to judicial authority and take action (here, to provide forced testimony about the Governor’s

performance of ofﬁcial duties) without the State’s consent is fundamentally inconsistent with the

nature of sovereignty. See Roberts, 187 Ga. at 694; see also Goolsby v. Regents of Univ. Sys. 0f


Georgia, 141 Ga. App. 605, 609 (1977), disapproved of on other grounds by Deal v. Coleman,

294 Ga. 170 (2013) (sovereign immunity “operates to withhold from the courts jurisdiction over

the person of the state, without regard for the basis of the suit.” (emphasis added)). This is


particularly true Where sensitive matters of (executive communications and deliberations, which

are essential to the ofﬁcial functions of the Ofﬁce of the Governor, are at issue. See inﬁa Part ILB.

        The federal courts have also conﬁrmed that, for purposes of determining whether sovereign

immunity bars the courts’ jurisdiction over a matter, a subpoena is itself a “suit,” placing a

subpoena squarely Within sovereign immunity’s deﬁnition as an “immunity from suit,” see

McCobb v.‘Clayton Cnty., 309 Ga. App. 217, 217—18 (2011) (emphasis added). In determining

that tribal sovereign immunity barred enforcement of a subpoena, the Tenth Circuit explained,



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“suit” necessarily includes legal proceedings or judicial process. Bonnet v. Harvest (US.)

Holdings, Ina, 741 F.3d 1155, 1159—60 (10th Cir. 2014). Of course, a subpoena is a form of

judicial process; to have force and effect it necessarily must be supported by jurisdiction. Id. “The

logical conclusion, therefore, is that a subpoena duces tecum served directly on the Tribe,

regardless of whether it is a party to the underlying legal action, is a ‘suit’ against the Tribe,

triggering tribal sovereign immunity.” Id. at 1160 (emphasis added); see also Alltel Commcn’s,

LLC v. DeJordy, 675 F.3d 1100, 1105 (8th Cir. 2012) (similar). Likewise, under Georgia law,

sovereign immunity applies to all “unconsented—to legal actions,” see Ctr. for a Sustainable Coast,

294 Ga. at 598, which necessarily includes subpoena enforcement.

        While the Governor respects the authority of the DA’s Ofﬁce to conduct its investigation,

it must do so within the bounds of the law, including the centuries—old doctrine of sovereign

immunity upon which the common law of the State was built, and the broad—but not unlimited—

authority of the state courts was derived. No Georgia constitutional provision or statute has waived

sovereign immunity for subpoenas to government ofﬁcials seeking to compel testimony about their

ofﬁcial activities, and particularly the sitting Governor. See Georgia Lottery Corp. v. Patel, 353

Ga. App. 320, 322 (2019) (“[W]here the plain language of a statute does not provide for a speciﬁc

waiver of sovereign immunity and the extent of the waiver, the courts do not have the power to

imply a waiver.” (emphasis added)). Through the Subpoena, the DA’s Ofﬁce asks the Court to

subject the Governor, in his ofﬁcial capacity (i.e., “the State”), to judicial process without the

State’s consent. The Court lacks jurisdiction to do that, and the Subpoena must be quashed. See

Lathrop, 301 Ga. at 408 (“[T]he constitutional doctrine of sovereign immunity forbids our courts

to entertain a lawsuit against the State without its consent”).




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                                                                                                          i




B.     The Subpoena Calls for Information Protected by the Executive Privilege                            1




       Even if the Court had jurisdiction to enforce the Subpoena, it is due to be quashed because        I




it ignores entirely the substantial privileges the Governor has (and indeed requires) to perform his      i




                                                                                                          I




ofﬁcial duties as the Chief Executive Ofﬁcer of the State.

       A court can quash a subpoena that seeks privileged information, particularly Where the

potentially privileged material is cumulative of material available from other sources. In re NSM ,

183 Ga. App. 398, 399 (1987). The executive privilege, vvidely recognized in virtually every other            :




jurisdiction to have considered its existence, protects material related to the executive’s
                                                                                                              :




                       and communications. The Court should recognize the privilege Lmder Georgia
deliberative process

law and quash the Subpoena to the extent it calls for this type of privileged information.

       “Since the beginnings of our             executive ofﬁcials have claimed a variety of privileges
                                      nation,

to resist disclosure of information the conﬁdentiality of which they felt was crucial to
                                                                                            fulﬁllment
of the unique role and responsibilities of the executive branch of our government.” In re Sealed              i




Case, 121 F.3d 729, 736 (D.C. Cir. 1997). This executive privilege is “essential to discharge of

highly important [executive responsibilities” and has long been recognized by the U.S. Supreme
                                                                                                                  '




                                                                                                                  I




Court as to the federal executive branch and by various states as to their respective executives.

Carl Zeiss Stiﬁung v. V. E. B. Carl Zez'ss, Jena, 40 F.R.D. 318 (D.D.C 1966), a     ’a’ sub nom. VEB.
                                                                                                                  i




Carl Zeiss, Jena v. Clark, 384 F.2d 979 (D.C. Cir. 1967); see also, e. g., United States v. Reynolds,             .




345 U.S. 1, 6 n.9 (1953) (recognizing executive’s power to withhold documents as an “executive
                                                                                                                  '




power which is protected in the constitutional system of separation of power”); State ex rel. Dann

v. Taft, 853 N.E.2d 263, 265 (Ohio 2006) (“Some form of executive privilege has long been


accorded the executive branch by state courts as a matter of the common law of evidence, including
                                                                                                                  I

                                                                                                                  1




courts in Alabama, Alaska, Arizona, California, Colorado, Maryland, New Jersey, New York,                             i




                                                    13
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Pennsylvania, Vermont, and Wisconsin”).

       Two forms of the executive privilege are relevant here. First, the deliberative process

privilege “allows the government to withhold documents and other materials that would reveal

advisory opinions, recommendations and deliberations comprising part of a process by which

governmental decisions and policies are formulated.” In re Sealed Case, 121 F.3d at 737 (internal

quotation marks omitted). The requirements for invocation of the privilege are that “the

information must be ‘predecisional,’ that is, prepared in order to assist an agency decisionmaker

in arriving at his decision,” and “the information must be ‘deliberative,’ playing a direct part of

the deliberative process in that it makes recommendations or expresses opinions on legal or policy

matters.” In re Polypropylene CarpetAntitrust Litig, 181 F.R.D. 680, 695 (ND. Ga. 1998). The

deliberative process privilege applies to all executive ofﬁcials and is rooted in the common law.

In re Sealed Case, 121 F.3d at 745.

       Second, courts have routinely recognized an executive communications privilege. This

privilege is rooted in constitutional separation of powers principles and is speciﬁc to the head of

the executive branch. See id. 1t protects from disclosure “documents or other materials that reﬂect


presidential decision[—]making and deliberations and that the President believes should remain

conﬁdential.” See In re Sealed Case, 121 F.3d at 745. This includes both pre- and post-decisional

communications solicited, received, and authored by the President and his advisors in the process

of decision—making. See id. at 745, 751—52. The U.S. Supreme Court confronted this claim of

executive privilege in United States v. Nixon, 418 U.S. 683 (1974), when the President challenged

a third—party subpoena issued to him in a criminal prosecution where he was also named an

unindicted coconspirator. The U.S. Supreme Court upheld the validity of the preSidential

communications privilege. Id. The Court elaborated on the doctrine’s two underpinnings. First,



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there is “the valid need for protection of communications between high Government ofﬁcials and

those who advise and assist them in the performance of their manifold duties.” Id. at 705. Second,

under the doctrine of separation of powers, the “independence of the Executive Branch within its

own sphere” protects conﬁdential presidential communications ﬁom judicial subpoena. Id. at 706.


Though the privilege is not enumerated in the Constitution, the Supreme Court has framed the

executive privilege as a “constitutional doctrine[ ] that [is] not spelled out in the Constitution but

[is] nevertheless implicit in its structure and supported by historical practice.” Franchise Tax Bd.

of California v. Hyatt, 139 S. Ct. 1485, 1498—99 (2019) (citing Nixon, 418 U.S. at 705).

       Several states          found the existence of this executive communications privilege in their
                        have

common law and upheld the application of it to their governors. See, e. g., Freedom Found. v.

Gregoire, 310 P.3d 1252 (Wash. 2013) (recognizing executive communications privilege derived

from the separation of powers implied in the Washington State Constitution and holding it applied

to documents from negotiation over replaCement of a viaduct, a biological opinion, and proposed


legislation); Nero v. Hyland, 386 A.2d 846 (N .J . 1978) (“[T]he Governor, as chief executive, must

be accorded a qualiﬁed power to protect the conﬁdentiality of communications pertaining to the

executive function. This power is analogous to the qualiﬁed constitutionally—based privilege of the

President, which is ‘fundamental to the operation of government and inextricably rooted in the

separation of powers.” (quoting Nixon, 418 U.S. at 708)).

       There can be no genuine dispute that the bases for recognizing the executive privilege at

the federal level and in other states apply with equal, if not greater force under Georgia common

law. It is equally important in Georgia to preserve the Govemor’s access to candid advice. See

Nixon, 418 U.S. at 708 (noting “necessity for protection of the public interest in candid, objective,

and even blunt or harsh opinions in Presidential decision[—]making”). The doctrine of separation



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of powers is not merely implied as in other constitutions, but is explicitly enshrined in the Georgia

Constitution. See Ga. Const. Art. l, § 2, 1[ III; see also Nixon, 418 U.S. at 705—06 (explaining roots

of presidential communications privilege in separation of powers). Similarly, the Georgia

Constitution expressly states that the “The chief executive powers shall be vested in the Governor.”

Ga. Const. Art. 5, § 2, ﬂ l. Just as the federal executive privilege, Georgia’s executive privilege is

                  ” in the
not “spelled ou              Georgia Constitution, yet is nevertheless implied by the Georgia

Constitution’s structure because of the explicit separation of poWers and chief executive powers

bestowed through the Georgia Constitution.

       Unsurprisingly, the Governor’s decision—making before, during, and after the November

2020 election relied heavily on communications with his advisors and on notes and drafts that he

prepared. All of those materials, as well as testimony about them, are protected from disclosure

under the executive privilege.

       While the executive privilege is generally held to be a qualiﬁed privilege, the burden falls

on the party seeking the information to show a speciﬁc need for the privileged material. Nixon,

418 U.S. at 713; In re Sealed Case, 121 F.3d at 737, 746 (to overcome deliberative process

privilege, party must make “sufﬁcient showing of need,” while presidential communications

privilege is even “more difficult to surmount” and requires “a focused demonstration of need”).

The DA’s Ofﬁce could not possibly carry that burden here. The Governor is not a target of the

Special Grand Jury investigation; and it is undisputed—and indeed acknowledged by the DA’s

Ofﬁce—that the Governor repeatedly ofﬁcially rejected the many public entreaties by President

Trump and others for him to use the power of the Governor’s executive ofﬁce to alter the

administration of the 2020 election in any way. (See Ex. R). Further, the identities of the persons

with whom the Governor spoke about the election are well—known and public record: the DA’s



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Ofﬁce has no special need to invade the deliberative processes and communications of the Chief

Executive in order to obtain evidence from those persons directly. In short, even if the Court had

jurisdiction to issue the Subpoena (and it does not), the DA’s Ofﬁce cannot carry its burden to

overcome the executive privilege because it can obtain the evidence it seeks from alternate sources

who are far more appropriate subjects for discovery requests from in any event.

       This court should recognize the executive privilege and quash the Subpoena to the extent

it calls for communications related to the Govemor’s deliberation and decision-making.

C.     The Subpoena Calls for Information Protected by Attorney-Client Privilege

       If the Subpoena is ultimately deemed to be proper, it is vitally important for the Court to

establish pre—testimonial guardrails to protect the integrity of the Governor’s attorney-client

privilege. The Court took a similar approach when addressing the legislative privilege asserted by

members of the General Assembly, and such protection would be equally due here. See Order

Denying Motion to Quash (July 6, 2022); see also In re N.S.M., 183 Ga. App. 398, 399-400 (1987)

(afﬁrming order quashing subpoena where the testimony sought “was at best cumulative and at

worst would have invaded the privilege afforded to the attorney/client relationship”).

        Attorney-client privilege protects communications where “(1) there is an attomey—client

relationship; (2) the communications in question relate to the matters on which legal advice was

sought; (3) the communications have been maintained in conﬁdence; and (4) no exceptions to

privilege are applicable.” St. Simons Waterfront, LLC v. Hunter, Maclean, Exley & Dunn, P. C.,

293 Ga. 419, 423 (2013) (internal citations omitted). The Governor routinely seeks and receives

legal advice from his Ofﬁce’s attorneys, and, unsurprisingly, did so routinely in relation to the

2020 election. If the Subpoena is ultimately permitted, Governor Kemp seeks an order directing

the DA’s Ofﬁce not to ask any questions about the content of Governor Kemp’s conﬁdential




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communications with counsel on matters for which the Ofﬁce of the Governor sought legal advice.

       Under the structure of the Special Grand Jury, Governor Kemp would not have counsel

present during his testimony as he would in almost any other setting (including a voluntary witness

interview). Additionally, the DA’s Ofﬁce has refused to confer with Governor Kemp’s counsel

about privilege issues in advance of any testimony. Perhaps most troubling, the DA’s Ofﬁce has


already shown a disregard for the attorney—client privilege. As the Court is aware, during the grand

jury testimony of a former employee of the Ofﬁce of the Governor, the DA’s Ofﬁce unilaterally

and without any basis declared that therewas “no privilege,” intentionally attempted to elicit


privileged information outside of the presence of counsel, laughed at the witness when he asked

to take a break to confer with counsel regarding the privilege, and retaliated against the witness

after he asserted the attorney-client privilege. The Court should protect against further incursions

on established privileges by the DA’s Ofﬁce before any testimony is compelled.

           D. The Subpoena Will Interfere with an Ongoing Election Cycle

       In the exercise of the power to quash subpoenas that are unreasonable or oppressive,

Georgia courts have quashed subpoenas that were intended to harass. See Garcia v. Allen, 202 Ga.

App. 529, 529 (1992). Here, the timing of the Subpoena in connection with the unjustiﬁed

investigative delay reveals, at best, disregard of an unnecessary risk to the political process, and at

worst, an attempt to inﬂuence the November 2022 election cycle.

       As already noted, despite the DA’s Ofﬁce’s having no authority to compel his participation

in its investigation, see supra Section III.A, the Governor has, through his counsel, spent the last

year and a half corresponding with the DA’s Ofﬁce in an effort to voluntarily provide whatever

nonprivileged information he could possibly possess that could be relevant and material to the

investigation (which is very little, if any). Instead of accepting any of the Govemor’s reasonable



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proposals to, facilitate the sharing of information, the DA’s Ofﬁce has instead intentionally delayed

the process, repeatedly reneged on its own proposals, and rejected out of hand any protocols to

ensure that appropriate and applicable privileges are respected. Most concerningly, the DA’s

Ofﬁce explicitly insisted that its goal is to secure the Governor’s participation in the investigation

before the November 2022 election. (See Exs. L & X). These tactics bring with them clear risks of


political interference, which is why prevailing ethical guidelines discourage them. Confoundingly,

the DA’s Ofﬁce has stated that it is “not in a rush” to ﬁnish the investigation3 and conversely, that

it is unable to delay any investigative efforts past the 2022 Election, including Governor Kemp’s

testimony. The deadline to substantially conduct, or even complete, the investigation prior to the

election is entir‘ely self—imposed, which makes the timing of the Subpoena that much more suspect.

        For the following reasons, the Court can and should infer that the purpose of the Subpoena

is not a bona ﬁde quest for information relevant to the investigation: (l) the lack of authority to

issue the Subpoena at all; (2) the DA’s Ofﬁce’s repeated rejection of the Governor’s many efforts
                                                                                                                p




to provide it with information on a voluntary basis; and (3) the DA’s Ofﬁce’s unexplained delay,

followed by stubborn insistence on tying the timing of its improper Subpoena directly to the

November election (even though such timing directly contravenes prosecutorial policy and is

unnecessary given the remaining duration of the investigation). Instead, the timing of the Subpoena

is an effort to politicize the investigation against the Governor in the ﬁnal sprint of the 2022

election cycle.

        Authorities on prosecutorial conduct, including the U.S. Department of Justice (“DOJ”)

and the American Bar Association (“ABA”), recognize the risk that investigations will interfere




 Blayne Alexander, Fulton County DA: Expect More Subpoenas of Trump Associates, NBC NEWS (July 6, 2022),
3


available at https://www.nbcnews.com/meet—the—press/meetthepressblog/ﬁilton-county-da—expect—subpoenas-trump-
associates—rcna36948.

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With elections. As a result, they caution against the very conduct that the DA’s Ofﬁce is engaged

in here. For example, the DOJ instructs federal prosecutors to take special care to avoid

inadvertently impacting an election or creating an appearance that the DOJ is attempting to

interfere in an election. Speciﬁcally, the DOJ’S Justice Manual’s section on “Protection of

Government Integrity” provides:

              In conducting preliminary inquiries or investigations relating to allegations of
          _
              federal election fraud, Department personnel must exercise care to avoid taking
              steps that could inadvertently impact an election or create an appearance that the
              Department is attempting to interfere in an election. While credible allegations
              should be addressed in a timely and effective manner, it is equally important that
              Department personnel exercise appropriate caution and maintain the Department’s
              absolute commitment to fairness, neutrality and non-partisanship. . . . [T]he phase
              of the election — along with all other relevant factors — should be taken into
              consideration when deciding whether it is appropriate to take overt investigative
              steps. For instance, any risk that overt Department action could impact the outcome
              of an election is greatly diminished, if it exists at all, once voting has concluded.

DOJ, JUSTICE MANUAL § 9-85.215, available at https://www.justice.gov/jm/title—9-crimina1.4

              This and similar policies have endured across presidential administrations, attorneys

general, and elections cycles. Attorney General memoranda on “Election Year Sensitivities”

consistently instruct, “[P]rosecutors may never select the timing of investigative steps or criminal

charges for the purpose of affecting any election, or for the purpose of giving an advantage or

disadvantage to any candidate or political party.” Memorandum ﬁom Attorney General Merrick

Garland to all Department of Justice Employees, Election Year Sensitives (May 25, 2022),

available at https://s3.documentcloud.org/documents/22089098/attorneygeneral-memorandum—

election—year-sensitiVitiespdf (stating “[n]ow that the 2022 election season is upon us, and as in

prior election cycles” DOJ employees are prohibited from allowing “partisan politics” to impact

an investigation or prosecution); see also Memorandum from Attorney General William Barr,




4
    As of February 2021, the policy is under review.

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Election Year Sensitivities (May 15, 2020); Attorney General Loretta Lynch, Election Year

Sensitivities Memorandum (Apr. 11, 2016); Attorney General Eric Holder, Election Year

Sensitivities Memorandum (Mar. 9, 2012); Attorney General Michael Mukasey, Election Year

Sensitivities Memorandum (Mar. 5, 2008) (stating the same). The Attorney General reiterated that

“additional requirements” must be adhered to when “politically sensitive individuals and entities”

are involved, such as candidates for president, vice president,         U.S. Senate, or House of

Representatives. Memorandum from Attorney General Merrick Garland, Election Year Sensitives

(stating that written approval from the Attorney General is required to initiate an investigation into

a candidate or campaign for president or vice president). Counsel for the Governor’s
                                                                                             repeated

request to conduct the Govemor’s interview or grand jury appearance either well in advance of the

election cycle or after the November election is in direct accordance with these standards.

Governor Kemp is a declared candidate for the highest ofﬁce in the State of Georgia, and yet there

has been no effort to “exercise particular care” surrounding his involvement in this election-year


investigation as the DOJ and other entities would require.

       Similarly, the DA’s Ofﬁce’s conduct runs afoul of the National Prosecution Standards as

outlined by the National District Attorneys Association (the “NDAA”), which state that “[a]
                                                                                                         '




prosecutor should not hold an interest or engage in activities, ﬁnancial or otherwise, that conﬂict,

have a signiﬁcant potential to conﬂict, or are likely to create a reasonable appearance of conﬂict

with the duties and responsibilities of the prosecutor’s ofﬁce.” If such a conﬂict does arise, or a

“fair—minded, objective observer” concludes that the prosecutor’s “neutrality, judgment, or ability

to administer the law in an objective manner may be compromised” because of the “personal

interests of the prosecutor,” the prosecutor should excuse herself. Even though the Court has noted

that the DA’s Ofﬁce’s conduct has given rise to an “appearance of a conﬂic ” and that “the optics”



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of that conduct “are horriﬁc,” the DA’S Ofﬁce has refused to acknowledge a conﬂict, let alone

take corrective action to remedy one.5

        The ABA’s Criminal Justice Standards provide similar guidance. These standards, which

are “intended as a guide to conduct for a prosecutor actively engaged in a criminal investigation

or performing a legally mandated investigative responsibility,” state:


        When, due to the nature of the investigation or the identity of investigative targets,
        any decision will have some impact on the political process (such as an impending
        election), the prosecutor should make decisions and use discretion in a principled
        manner and in a manner designed to limit the political impact Without regard to the
        prosecutor’s personal political beliefs or afﬁliations.

ABA, Criminal Justice Standards: Prosecutorial Investigations, Standard 3.6 (emphasis added);
see also ABA, Criminal Justice StandardsiProsecutorial Investigations, Standard 1.2(d) (“The


prosecutor should . . . ensure that criminal investigations are not based upon partisan or other

improper political or personal considerations”); Standard 2.1(d) (“When deciding Whether to

initiate or continue an investigation, the prosecutor should not be inﬂuenced by . . . partisan or

other improper political or personal considerations”).

        While DOJ, NDAA, and ABA policy is not binding, the DA’s Ofﬁce’s disregard for typical

prosecutorial ethical standards is striking and provides important context for how troublesome its

conduct truly is. The DA’s Office has repeatedly and explicitly tethered its desire to
                                                                                                        obtain

information ﬁom the Governor to the timing of the November election. (See supra pp. 3—6). If the

DA’s Office were considerate of principles encouraging prosecutors to minimize the political

impact of their investigations, it would have either considered conducting its interview well in

advance of the 2022 election—which counsel for the Governor attempted to coordinate—or




5
  See Aaron Blake, ‘Optics are Horriﬁc ’.' Political Piy‘alls of Trump Probes by Democrats, THE WASHINGTON POST
(July 25, 2022), available at https://www.washingtonpost.com/politics/2022/07/25/optics-are-horriﬁc—political—
pitfalls-trump~probes—by—dems/.

                                                      22.
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            its requests to the Governor until after the impending election—a request that counsel for
delayed

the Governor has made on numerous occasions. Instead, it has taken the opposite approach which,


regrettably, reveals a suspect political motive: intentionally delaying the Govemor’s involvement

until an election cycle was ongoing and then expressly demanding compliance before the 2022

election.

        The DA’s Ofﬁce’s feigned sense of urgency is telling in light of the timeline of the

investigation. As early as April 2021, the Governor expressed a Willingness to engage, and his

correspondence was met with silence and delay. In the ensuing months, he has offered to provide

an attorney proffer 0r sit for a voluntary witness interview (with necessary conditions to protect


privileges and avoid interference with the election). At every turn, those offers have been met with

opposition or inexplicable silence from the DA’s Ofﬁce.

        The Special Grand Jury has been authorized to continue until May 2023, long after the

November 2022 election. See Special Grand Jury Order at 1. Thus, conclusion of the investigation

before the November 2022 election is unnecessary. Furthermore, such an unrealistic and

unnecessary timeline is discouraged by prosecutorial ethical standards since the integrity of the

2022 election is not at issue. The DOJ cautions, “[i]n situations Where claims of misconduct, if

true, would clearly not impact the outcome of an election, it may be prudent to defer overt

investigation until after the election is certiﬁed and all legal challenges are concluded.” DOJ,

JUSTICE MANUAL § 9-85.215. The Special Grand Jury is investigating potential wrongdoing

surrounding the 2020 election, not the 2022 election. EVen if the Special Grand Jury ﬁnds evidence

of potential wrongdoing, those ﬁndings will not dictate the administration of the 2022 election, so

it would be “prudent to defer overt investigation” where possible. See id.

        In summary, the DA’s Ofﬁce could have obtained information from Governor Kemp well



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in advance .of the 2022 election cycle. The DA’s Ofﬁce could also seek testimony from Governor

Kemp in late 2022 or early 2023, when the Special Grand Jury Will still be available. Instead,

through artiﬁcial deadlines, the DA’s Ofﬁce has engineered the Governor’s interaction with the

investigation to reach a crescendo in the middle of an election cycle. Unfortunately, What began

as an investigation into election interference has itself devolved into its own mechanism of election


interference. This is particularly egregious when directed toward the
                                                                          State’s highest executive,
who is not accused of any wrongdoing and is occupied with the business of governing. See supra

Part III.A (discussing the purpose of sovereign immunity).

       Even if the Court had jurisdiction to issue the Subpoena, it should not support the DA’s

Ofﬁce’s use of its investigative powers as a sword to inﬂuence the 2022 election. The Court should

reject the DA’s Ofﬁce’s politically motivated efforts to misuse the jurisdiction and compulsory

power of the Court, and it should exercise its authority to quash unreasonable and oppressive

subpoenas by quashing the Subpoena here.

                                      IV.    CONCLUSION

       For these reasons, Governor Kemp respectﬁllly requests that the Court enter an order

quashing the Subpoena.

       Respectfully submitted this 17th day of August, 2022.

                                              /S/ Christopher M Carr

                                              CHRISTOPHER M. CARR
                                              Attorney General
                                              Georgia Bar No. 112505

                                              /s/ Brian F. McEvoy
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                                              Special Assistant Attorney General
                                              1170 Peachtree St., NW, Suite 2400
                                              Atlanta, GA 30309
                                              Tel: 404-459-6696


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                              bmcev0y@bakerlaw.com
                              Georgia Bar No. 490845

                              Counsel for Governor Brian Kemp




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                    IN THE SUPERIOR COURT OF FULTON COUNTY
                                STATE OF GEORGIA
IN RE:                                          )     CASE NO.
SPECIAL PURPOSE                JURY
                                                                     _




                                                )     2022-EX—000024
                        GRAN]?   ‘
                                            >

                                                )
                                                )

                                CERTIFICATE OF SERVICE
         This is to certify that I have electronically ﬁled the foregoing MOTION TO QUASH

SUBPOENA ISSUED TO GOVERNOR BRIAN P. KEMP AND MEMORANDUM IN

SUPPORT with the Clerk of the Superior Court of Fulton County through Odyssey eFileGA

which Will automatically send electronic mail notiﬁcation copies to all counsel of record. Courtesy

copies have also been provided to the Court and counsel of record.

         This 17th day of August, 2022.



                                                /s/ Brian F. McEvoy
                                                Attorney for Governor Brian P. Kemp
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                Exhibit A
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                                    Ofﬁce of the Fulton County
                                         District Attorney

                                   R'IICl-IAEL l. HILL [1
   an:                               sumo“ INVESTIGATOR

                                    136 l’n‘or Slrccl. 3rd Iv‘luur     GEORGIA, FULTON COUNTY
                                        {\llunln. GA 30301
  [vi-\Nl T. WILLIS
msrlumun'ronNIar                      Phone: (404) 613-0107


                 'OENA FOR THEmu:micn‘l‘li'iiillﬁélrillifc‘éunwan-

_—~-~_—'—“rrn—DM'AN'CE OF WITNESS
                                                                PURSUANT TO O.C.G.A. § 24-13-21


                      TO: Governor Brian P. Kemp


                  YOU ARE HEREBY CONIMANDED, that laying all other business aside, you
                  be and appear before the Special Purpose Grand Jury, Fulton County, Georgia,
                  Hon. Robert C. I. McBurney, Judge, Superior Court of Fulton County, Fulton
                  County Courthouse, 136 Pryor Street, 3rd Floor, Atlanta, Georgia 30303, to be
                  held on Wednesday, August 10, 2022, at 9:00 a.m., in the Grand Jury Room, then
                  and there to be sworn as a witness for the State of Georgia, in the case of IN RE:
                  SPECIAL PURPOSE GRAND JURY, Case Number 2022-EX—000024.

                      You are required to attend from day to day and ﬁom time to time until the matter is
                      disposed of.

                  HEREIN FAIL NOT, under the penalty of law by authority of the Hon. Robert C.
                  I. McBurney, Judge, Superior Court of Fulton County, Georgia,
                  this the    day of                  , 2022.


                                                                               Cathelene “Tina” Robinson
                                                                               Clerk of Superior Court
                                                                               (404) 613-5313

                  Subpoena iss ed by:


                         a.




                  Special Prosecutor
                  Nathan Wade
                  Authority of:
                  Special Purpose Grand Jury, Superior Court of Fulton County
Case 1:23-cv-03721-SCJ Document 1-71 Filed 08/21/23 Page 30 of 122




             1




                 Exhibit B
         Case 1:23-cv-03721-SCJ Document 1-71 Filed 08/21/23 Page 31 of 122




                                     STATE OF GEORGIA, FULTON COUNTY
                                                                                   i
                                                                                       i




                               SUBPOENA FOR THE
                                 .




                            ATTENDANCEOF WITNESS                                               :




                                       PURSUANT TO O.C'.G.A. s 24=13-'2_1      -




        TO: GOV. BRIAN KEMP


        YOU AREIHEREBY COMMANDED, that laying all other business aside, you
        be and appear befOre the Special Purpose Grand Jury, Fulton County, Georgia,
     Hon! Robert C. I. McBurney, Judge, Superior Court of Fulton
                                                                      County, Fulton
    .iCounty Courthouse, .136 Pryor Street, 3rd Floor, Atlanta, Georgia 30303, to be      j            .»



     held onAUGUST 18, 2022, at 9:00 a.m., in. the Grand
    I




                                                                Jury Room, then and there
     to be sWorn as a witness for the State of Georgia, in. the case of IN RE":
                                                                                SPECIAL
    ”PURPOSE GRAND JURY, Case Number 2022-EX-000024.

        You are required to attend from day to day and from time to time until the matter is
        disposed of,-                                                                      -




‘ HEREIN FAIL
                        NOT, under the penalty of law by authority of the Hon. Robert C.
        I. McBurney, Judge, superior Court of Fulton County, Georgia,
                        day of             148.4:   , 2022.
        thisthe'gé
                                     A“?
                                                          Cathelene “Tina” Robinson
                                                          Clerk of Superior Court
                                                      ,   (404) 613—5313   ,




        Subpoena issue by;



;
        NATHAN-WADE                        I




     Special Prosecutor                                                -
                                                                                                   .




    ‘By authority of Special Purpose Grand Jury, Superior Court of Fulton County
Case 1:23-cv-03721-SCJ Document 1-71 Filed 08/21/23 Page 32 of 122




                Exhibit c
                       Case 1:23-cv-03721-SCJ Document 1-71 Filed 08/21/23 Page 33 of 122




                                  McEvoy, Brian F
                              '

    From:
                          -




    Sent:                         Thursday, January 20, 2022 1. 31 PM
    To:                           Sonya. Allen@fultonc0untyga. gov
    Cc:  _    _
                                  Fani. WillisDA@f_ultoncountyga. gov, Rafferty, Brian T.; Zoller, Grace W.
    Subj‘ect':                    Gov. Kernp interview Request-



    Sonya:

    gHow are you? wanted to let you know that l am know at Baker, Hostetler and we continue to represent Governor
                          |




     Kemp and the Office of the Governor. lam following up on my precious emails and wanted to discuss this matter with
         at your earliest convenience.                                                               '                   '




     you
    Thanks and hope all’is well-

     Bria'n




    Brian McEvoy
     Partner

    BakerHostetler                    .

    1170 Peachtree Street Suite 2400
    Atlanta. GA 30309-7676
                                  |




    T +1.404.256.6696

    bmcevoy@bakerlaw.com                             \




     oeo
    bakerlawcom
-




    From: "Willis, Fani" <Fani.WillisDA@fultoncountvga.gov>
    _Date: June 21, 2021 at 6:29:56 PM EDT
    To: Brian McEvoy <BMcEvo         olsinelli.com>
    Cc: Brian Rafferty <BRaffem’ @polsinelli.com>, Grace Zoller <GZo|ler
                                                                     olsinelli.com>, "Allen, Sonya"
     <Sonva.Allen@fultoncountvga.gov>, "Baez—Nieves, Raymond" <Ravmond.Baez-Nieves@fultoncountvga.gov>
     Subject: RE: Gov. Kemp Interview Request


                      EXTERNAL EMAIL rfani.willisda@fultoncountygagov

                  Greetings Mr. McEvoy:

                  lhope this email finds you well.       l   apologize for        delay'In responding. Your email was buried amongst
                                                                             my
                  others.
       Case 1:23-cv-03721-SCJ Document 1-71 Filed 08/21/23 Page 34 of 122


    We will be asking for an interview in August with Governor Kemp. WIll be present along with other
                                                                         I



    lawyers and investigators from my team. l can assure you the content of the conVersation will not. be
    leaked by my office. We would ask that no one on your team even mention that such an interview is
    occurring. ln terms of a time line we expect to conclude all interviews of witnesses      do not need to
                                                                                         that
    go before a Grand Jury by              30, 2021.
                                September

    lt'Is not our practice to forecast questions of an interview, but broadly we will beInquiring about any
    'and all information your client may or may not have related to the alleged interference'In th'e
    administration of the November 2020 election, to include but not limited to the now well- known phone
    call from our former President to the                   of State.
                                          Georgia Secretary
    Please feel free to choose any date convenient for Governor Kemp between August 9 August 31, and
                                                                                       —

    we can meet at a placeof your choosing. hope this answers your- concerns and’l certainly look forward
                                               |




    to meetingwith you in person.



    From. Brian McEvoy [mailtoz BMcEvov@Polsinelli.com]
    Sent. Wednesday, June 16, 2021 7. 17 PM
                                                   '




    To: Willis, Fani<Fani. WillisDA@fultoncountvga. gov>
    Cc. Brian Rafferty<B RaffertyQPolsinelli. com>; Grace Zoller<G
                                                                 GZollerQPolsinelli. com>, Allen, Sonya
    <Sonva.Allen@fultoncountyga.gov>
    Subject: Gov. Kemp interview Request

    District Attorney Willis,

    How are you? As you may know, Polsinelli represents the Office of theGovernor, including Governor
    Kemp in his official capacity, in connection with the Fulton County District Attorney Office's investigation
    into President Trump’s alleged 2020 election activities. Polsinelli has received a request from your office
    to meet with Governor Kemp related to this investigation. While the Office of the Governor remains in a
    cooperative position, we have not received a detailed explanationof what your office’s investigation
    entails or what specifically your office would like to speak with our client about. We spoke to Assistant
    District Attorney Sonya Allen a few weeks ago and she indicated that your office was interested in
    learning more about a January 2, 2021 phone call, but did not provide any further details. Ahead of any
    meeting with the Governor, we would appreciate the opportunity .to meet with you and Ms. Allen to
    discuss the information you are seeking from the Governor and the scope of your investigation. We
    believe that this would aid our client’s efforts to cooperate and streamline the process.          -




    Additionally, given the sensitive nature of this inquiry, we Would appreciate your confirmation that the
    Office of the Governor’s involvement would remain confidential and not made known to the public by
    your office in any way.

    Finally, although we have informed your office of our representation of the Office of the Governor, a
    Fulton County DA investigator, Raymond Baez, has continued to reach out to an individual employed by
    the Office regarding the investigation. Please note that the Office of the Governor'Is a represented
                                                                                                         party
    and, as you know, any contact regarding the investigation needs to be directed to me as counsel.

    Please letme know when you may be available for a meeting or if you’d like to discuss in more detail.


-
    Thank you,
    Brian McEvoy
               Case 1:23-cv-03721-SCJ Document 1-71 Filed 08/21/23 Page 35 of 122

’



            Brian McEvoy
            Managing Partner; Atlanta                    .




            Chair, Government Investigations                    I




    ’

            bmceI/oy@polsineili.com
            404.253.6021
            1201 West Peachtree Street NW, Suite 1100
        v


            Atlanta GA 30309
            polsinelli.com




        This electronic mail message contains CONFIDENTIAL information whichIs (a) ATTORNEY— CLIENT
        PRIVILEGED COMMUNICATION WORK PRODUCT, PROPRIETARY IN NATURE, OR OTHERWISE
        PROTECTED BY LAW FROM DISCLOSURE, and (b) intended only for the use of the Addressee(s)
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        received this electronic mail message in error, please reply to the        and take the
                                                                                                 steps necessary to
    .   delete the message completely from your computer system.            sender
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                Exhibit D
                        Case 1:23-cv-03721-SCJ Document 1-71 Filed 08/21/23 Page 37 of 122




            Vonada, Laurin

            From:               no-reply@messages.georgia.gov on behalf of Governor Brian P.Kemp Office of the GoVernor <n0—
                                                                                                               I




                                reply@messages.georgia.gov>
            Sent:               Tuesday, October 5, 2021 2:26 PM
            To:                 Records, Open
            Subject:            Webform submission from: Open Records Request



            CAUTION: This email originated from outside of the organization. Do not click links or open attachments unless you
            recognize the sender and know the content is safe.


                                                                                                                                 \
    _
            Submitted on Tue, 10/05/2021 14:26 —




            Submitted by: Anonymous

            Submitted values are:
            First Name: Sonya
            Last Name: Allen
            Email: sonya.allen@fultoncountyga.gov
            Phone Number: 404-333-1931
            Comments:

            Open Records Officer
            Office of the Governor
            111 State Capitol
            Atlanta, Georgia 30334

            RE: Open Records Request
            2020 election—related matters

            Good afternoon:
            Late last year, it was revealed that former President Donald J. Trump spoke directly to Governor Brian P. Kemp regarding
            election results from the State of Georgia. Moreover, on or about December 5, 2020, former President Donald J. Trump
            spoke to Governor Brian P. Kemp to convince the Governor to hold a special election for the state of Georgia.

            More recently, former President Donald J. Trump spoke at a rally in Perry, Georgia on September 25, 2021 where he
            declared that he called Governor Brian P. Kemp in an effort to pressure him to hold a special election.

            l
             am requesting recordings, documents and other materials related to or which indicate or reveal any communications
            or requests that former President Donald J. Trump may have pressured, asked or suggested that Governor Brian P. Kemp
-
            hold a special election. l am requesting such documents and other materials under Georgia’s Open Records Act. See
            OCGA § 50-18-71(a), (b).

            The documents and materials l am requesting include:

            1. Any and all recordings of conversations and/or other communications between (on the one
            hand) current and former personnel, vendors, and contractors of the Office of the Governor of Georgia to include the
            Governor and (on the Other hand) former President of the United States
        '




            Open Records Request          Page 1
                                     —-
           Case 1:23-cv-03721-SCJ Document 1-71 Filed 08/21/23 Page 38 of 122



Donald J. Trump and/or anyone working on his behalf, and any and all transcripts produced of such conversations
and/or other communications.

2. Any and all voicemail and/or voice messages which are in the possession of the Office ofthe Governor of Georgia
which originated from former President ofthe United States Donald J. Trump and/or anyone working on his behalf, and
any and all transcripts produced of such voicemail and/or voice messages.

3. Any and all correspondence between (on the one hand) current and former personnel, vendors, and contractors of
the Office of the Governor of Georgia to include the Governor and (on the other hand) former President of the United
States Donald J. Trump and/or anyone working on his behalf. By correspondence, lam requesting correspondence made
by any means, including but not limited to traditional paper correspondence, electronic mail, texts, and electronic
personal messages.

4. Any and all call-log reports for the Office of the Governor of Georgia, including but not limited to call—logs which detail
incoming and/or outgoing and/or unsuccessful calls made between November 1, 2020 and October 5, 2021.

5. Any and all calendar entries which reflect appointments and/or meetings between (on the one hand) current and
former personnel, vendors, and contractors of the Office of the Governor of Georgia to include the Governor and (on
the other hand) former President Donald J. Trump and/or anyone working on the former President’s behalf. am      |




requesting such entries which reflect all such appointments and/or meetings, regardless whether they did or did not
occur and regardless whether they were intended to be held in-person, telephonically, virtually, or by some other
means.

The documents and other materials l am seeking in paragraphs 1 through 5 are those which were created and/or
recorded between November 01, 2020 and October 5, 2021, and/or which memorialize events which occurred between
                                                                                           l




such dates.

For any and all such public records which are already in an electronic format, l would like to request such public records
in that electronic format. OCGA § 50-18—71(c), (f). Please notify me of the‘estimate of the cost if the cost is expected to ‘
exceed $500.00. See id. at (d).

Thank you for your time.

Sincerely,
/s/Sonya Allen

Chief Senior Assistant District Attorney Sonya Allen sonya.a||en@fultoncountyga.gov Fulton County District Attorney’s.
Office Atlanta Judicial Circuit


Open Records Request         Page 2
                        —~
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                Exhibit E
       Case 1:23-cv-03721-SCJ Document 1-71 Filed 08/21/23 Page 40 of 122




                                          POLSINELLI
                                                  '                                '


                                                      1201 Wesf Peachtree Street
                                     Suite 1100, Atlanta,.GA 30309 ~ (404) 253-6000



                                                                                               Brian F. McEvoy
    October 8,
                 202:1                                                                         Shareholder
                 I.
                              >                                                                404.253.6021    -




                                                                                               404.581.5376 Fax
    CONFIDENTIAL
                                                                                       -

                                                                    _




                                                                                               bmcevoy@polsinelli.com
                                                                            -
                                                  _
                                              p




    SENT VIA ELECTRONIC MAIL
                                          t




    Ms. Sonya Allen
    Chief Seriior Assistant District Attorney
    Fulton County Distriet Attorney’s Ofﬁce, Atlanta Judicial Circuit
    .136 Pryor Street Southwest
                                                                        '




    Third F Icor
    Atlanta, GA 30303
    sonva.allen@ﬁ11toncountvga.gov

           Re:            Open Records Act Request'Response
                      '




    Ms. Allen:

            This letter is in response to the Fulton County District Attorney’sOfﬁce’s (the “District
    Attorney’s Ofﬁce”) October 5, 2021 'Open Records Act Request (the “Reques_t”) ﬁled with the
,
    Ofﬁce of the Governor of the State of Georgia (the “Ofﬁce of the Governor”). As you indicated in
    that Request, the District Attorney’s Ofﬁce is investing requests “that former President Donald].
    Trump may have pressured, asked or suggested that Governor Brian P. Kemp hold a special
    election.” See October 5, 2021 Request. As indicated to you on our April 27, 2021. telephone
    conference, our ﬁrm represents the Ofﬁce 0f the Governor in connection with this ongoing
    investigation and is therefore coordinating the response to the District Attorney’s Ofﬁce’s Request.

          Please allow this letter to conﬁrm the Ofﬁce of the Governor’s ﬁrst production of
    documents in response to the Request. This production has been bates labeled .as
    “OFFICEOFGOVERNOR_ORR_00000001”                          and         including
                                                                                           ‘
                                            through                                                        .




    “OFFICEOFGOVERNOR_ORR_00001068” and includes materials responsive to document
    request Number Three.

          The Ofﬁce of the Governor takes its Open Records Act responsibilities seriously and is
committed to providing you with the totality of the responsive documents. The Ofﬁce of the
 Governor is providing this initial production to the District Attorney’s Ofﬁce'within three days of
 the initial Request being made, as is required by Georgia law. See O.C.G.A. § 50-18-7l(b)(l)(A).
 However, our investigation into this Request, aswell as the collection and review of any potentially
     Case 1:23-cv-03721-SCJ Document 1-71 Filed 08/21/23 Page 41 of 122




_,                                 POLSINELLI.
October 8, 2021 f
Page2


responsive mate1ials, remains ongoing. To the extent additional respOnsive materials are identiﬁed,
We
   Will promptly notify you and supplement this production
                                                                        -




        If you have any additional questions about this Request or the District Attorney’s Ofﬁce’s
ongoing investigation, please do not hesitate .to contact me.

                                              Sincerely,

                                              /s/ Brian F. McEvoy

                                              Brian F. McEvoy
                                              Shareholder
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                 ExhibitF                               _
      Case 1:23-cv-03721-SCJ Document 1-71 Filed 08/21/23 Page 43 of 122




    ‘From:              McEvoy. Brian F.
    To:                 Allen, Sonya
    Subject:            RE: Interview Request
    Date:      '

                        Monday, February 7, 2022 10:41:39 AM




    Sonya:

    How are you? Just wanted to follow Up on this. Please let me know if you-would like to discuss.

    Thanks,
    Brian



    Brian McEvoy
    Partner



    BakerHostetler
    1170 Peaehtree Street Suite 2400
                          [



   Atlanta, GA 30309- 7676
’v
   T +1.404.256.6696

    bmcevoy@bakerlaw.com
    bakerlaw.com


        Original Message
    From. Allen, Sonya <Sonya. Allen@ﬁ11toncountyga. gov>
    Sent: Thursday, January 20, 2022 4. 55 PM
    To:‘McEvoy, Brian F. <brncevoy@bakerlaw.com>
    Subject: Interview Request

    {External Email: Use caution when clicking on links or opening attachments]-

    Brian,-
    It was great talking to you today. I look forward to hearing      from you regarding a date and time for an
                                                                 back
    opportunity to speak with Governor Kemp.
    Respectfully,



    'Sonya Allen
                              -




    Deputy District Attomey-
    Anti-Corruption Unit
    Fulton County District Attomey’s Ofﬁce     1




    Atlanta Judicial. Circuit
    Sonya.Allen@Fu1tonCountyGa.gov
-




    404—613-7538 ofﬁce
    404-333-1931 cell
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                Exhibit G
             Case 1:23-cv-03721-SCJ Document 1-71 Filed 08/21/23 Page 45 of 122




                                                                                                                     t
                                    IN THE SUPERIOR COURT OF FUL
                                                                                    TON COUNTY
                                                  ATLANTA JUDlCllAL CURCUIT
                                                     STATE or chosen
                                                                                                          ,—

                                                                                                         ”3029»
                                                                                                                                ljébillél‘f
                                                                                          .




                                                                                                                    IN OFFICE
                                                                                         %LJJ;ED
                                                                                                                                              .




             ins RE:     REQUEST roe                           <




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                                                                                                               Puma" c9154”    log?!      5


                               curiae Areeovmc RE UEST: roe serum PURPOSE
                                                               '




                               creme my rprsussr TO- ®.C.G.A.        at sea.             315412.400-
                       The District Attorney for the Atlanta Judicial Circuit
                                                                                    submitted to the judges of the

             superior Couitof Fulton County a request to impanel a
    '


                                                                             special purpose jury tor the purposes set
             forth in that request. This request
                                                    was considered and approved‘by a majority of the total
        number of the judges of this Court, as requ
    '




                  I
                                                    ired by O.C.G.A.                §lS—12~100(b).

                       ll? [8 THEREFORE ORDERED that a
                                                                   special purpose grand jury be drawn and
    I




         impeneled to serve as provided in OiC.G.A. § 15-12-621, 15-12
                                                                       -67, and                           15-12-100, to
         commence on May 2, 2022, and continuing for a perio not to exceed
                                                            d              12 months. Such
                                                                                                                           period
         shall not include any time periods when the
                                                             supervising judge detennines that the
                                                                                                                    special
        purpose grand jury cannot meet for safety or other reaso
                                                                            ns, or any time periods when normal

        court operations are susp
                                        ended by order of die Supreme Court of Geor
*




                                                                                                   gia or the Chief Judge of
        the Superior Court. The Spec
                                             ial purpose grand jury shall be authorize to
                                                                                      d investigate any and "all
        facts and circumstances relat
                                            ingdirectly or indirectly :to
                                                                            alleged violations of the laws of the
        State of’Georgia, as set forth in the
                                                    request of the District Attorney referenced here
                                                                                                                    in above.
                      Pursuant to O.C.G.A. §
                                                 15-12-101(a), the Honorable Robert C. I.
                                                                                                         McBurney is hereby         _




        assigned-to supervise and assist the special purp
                                                         ose grand jury, and shall charge said
                                                                             .

                                                                                                                      special
        purpose grand jury and receive its reports as prov
                                                           ided           by law.
 Case 1:23-cv-03721-SCJ Document 1-71 Filed 08/21/23 Page 46 of 122




        {This authorization shall include the
                                                investigation of any overt acts or pred
                                                                                           icate acts
relating‘to the subject of the special purpose grand
                                                          jury’s investigative purpose. The special
purpose grand jury, when making its                       and reports, pursu
                                         ptesentrnents-                    ant to O.C.G.A. §§ 15-12-
71 and 1‘5—1-2—10
                   1,3may make recommendations concerning criniinal
                                                                               prosecutionas it shall see.
ﬁt. Furthermore, the pro’vision
                                 s of O.C.G.A. § 15-12—83 shall apply;

        This Courtalso notesthat the appointmentof a special purpose grand
                                                                                       jury will permitthe
time, efforts,_and attention of the regular grand
                                                     jury(ies) impaneled in this Circuitto-conﬁnue to
be devoted to the consideration of-
                                      the backlog of criminalmatters that has accumulated as a

result of the COVID-l9 Pandemic.

       IT IS FURTHER-O
                                WDthat this :Order shall be ﬁled in the Ofﬁce of the Clerk cf
                                  -_\ \\                     .


the Superior Court of F ulto   County

       so ORDERED, TH Wt                     or"\_     (4i                      , 2022.




                               CHRISToFHER s. BRASHenﬁe
                                                                      HIEF JUDGE
                               Superior Court of Fulton County
                               Atlanta Judicial Circuit
                Case 1:23-cv-03721-SCJ Document 1-71 Filed 08/21/23 Page 47 of 122



                                 OFFICE OF-THE FULTON COUNTY DIS
                                                                   TRICT ATTORNEY
                                             ATLANTA IUDICLAL
                                                               CIRCUIT
                                          136 PRYOR STREET SW, 3RD
                                                                   FLOOR
@137,           17%;?”                        ATLANTA, GEORGIA 30303
                            .
                                                                              TELEPHONE 404-612-4639                              '



District Attorney                                                                                                             ,




                                                         15:.
                                                             '"F‘T‘
                                                          1‘)L.       11‘




          »

              The Honorable Christophe S. Brasher
                                       r                                                102$— EX-‘DUUUW
              Chief Judge, Eult County Sup
                                                                                         FILED IN OFFICE
                                                                                                                          .




                               on           eriOr Court
              Fulton County Courthouse
              185 Central Avenue SW, Suite
                                           T-8905‘                                                         02
              Atlanta, Georgia 30303
                                                                                         DEPUTY CLERK"WEEK")            URT
                                                                                              FULTON COUNTY. cA‘
              January 20, 2022    .




              Dear Chief Judge Brasher:

              I hope this letter finds you well and-in
                                                    good spirits. Please be adviSed that
           OﬂiCe has received informa                                                    the District Attorney’s
                                        tion indicating a reasonable probability that the'r'Stat
                                                                                                 e of Georgia
          administration of elections in 202
                                              0, including the State’s election of the Pre                    ’s
                                                                                           sident of the United
          States, was  subject to possible criminal disrupt-ions Our ofﬁ has
                                                                 .        ce     also learned that individuals
          associated with these disr
                                     uptions have contacted other agencie
     .




                                                                             s empowered'to investigate this
          matter, including the Georgia Secreta of
                                                  ry    State, the Georgia Attorney Gen
          States Attorney’s Ofﬁce for the Nor                                             eral, and the United
                                                thern District of Georgia
                                                                          , leaving this office as the sole
         agency with jurisdiction that is
     '




                                           not a potential witness to conduct related to the matter. As a
         result, our office has opened an inve
                                                stigation into any coordinated atte
         the outcome of the 2020 election in this                                    mpts to unlawfully alter
                                            s         state.                '




         We have made efforts to interview
                                             multiple witnesses and gather evidenc and a
         number of witnesses and pro
                                                                                        e,       signiﬁcant
                                      sPective witnesses have refused to                 with the investigatio
                                                                             Coo pera te
         absent a subpoena requiring their testimony. By way of                                                n
         Brad RaffenSperger, an essential witness                   exa mpl  e, Geo rgia Secreta ry of  Stat e
                                                   to the investigatio has indicate
                                                                                                                    .




                                                                        n,              d that he. will not
         participatein an interview or otherwise offer evidence unt                                             .
 ‘
                                                                      il he is presented with a
         my office- Please see Exhibit A, attached ‘to this letter.                               subpoena by


 Therefore, I am hereby requesting as the elec
                                      ,            ted District Attorney for Fulton
 to O.C..G.A. § 15—12—1 00 et.                                                          County, pursuant
                                seq., that a special purpose gran
 of                                                                d jury  be impaneled for the
                                                                                                   purpose
    investigating. the facts and circumstances relating directly or
 disrupt the lawful administration of the 2020                        indirectly to possible attempts to
                                                  elections in the State of
 special purpose;Urand jury, which will not have the                         Georgia. Speciﬁcally, a
                                                         authority to return an indictment but
 make reco                                                                                         may
            mmendations concerning criminal prosecu
reasons. first, a Spe                                     tion as it shall see fit, is needed for
                      cial purpose,GrandJury can be irnp                                          three
                                                           aneled by the Court for any time
requiredin Order to accomplish its inve                                                         period
                                           stigation, which will likely exceed a
                                                                                     normal grandjury
              Case 1:23-cv-03721-SCJ Document 1-71 Filed 08/21/23 Page 48 of 122




             term; second the special purpos gra
                                               e      ndJury would be emp
                                                                            owered to review this matter and this
     '

              matter only, with an
                                   investigatory focus appropriate to the
              circumstances involved; and                                  complexity of the facts and
                                           thi1',d the sitti    grand     would not be
             address this matter in
                                                             ng      Jury                       to attempt to
                                             to their normal duties.                   required
                                    addition

             Additionally, .I am requesting that,
                                                  pursuant to O.C_.’G.A. § 15-1
             Court Judge be ass                                                 2101, a Fulton County
                                 igned to assist and supervise the                                     SuPerior
         ‘
                                                                   special purpose grand jury in
             inyestigation and duties.                                                           carrying out its
                                                                                                            .




             I have attached a
                                 propoSed order impaneling the
         of the Court.                                              special
                                                                              purpose grandJury for the consideration
                        ’1   .




                      .W\ 7
    \\spectfully,                                 )2
                          /\/"rig
                  ’
                                              ’

                      wnj
.




     Fairyr                         .



     District Attorney , Atlanta
                                            Judicial'Circuit
    Exhibit A”: Transc
                      ript of October 31, 2021 episode ofMeet the
                                                                  Press on NBC News at'26204
                                                                                                                        ,
                                                                                                                 I




    (video archived at https://
                                ww            w.youtuhe.com/watch?v=B7lcBR
    Exhibit B: Propos                                                              Pgt9lc)
                                 ed Order

    cc:
    The Honorable Kim
                       berly M. Esmond Adams
.




    The Honorable Jane C. BaIWic
                                  k
   The Honorable Rachelle Carnes
                                   dale
   The Honorable Thoma A.
                         s    Cox, Jr.
   The Honorable Eric
                       Dunaway
   The Honorable Charles M.
                              Eaton, Jr.
   The Honorable Belinda E. Edw
                                 ards
  The Honorable Kel Lee Ellerbe
                     ly
  The Honorable Kevin M. Farmer
  The Honorable Ural Glanville
  The Honorable Shakura L.
                             Ingram
  The. Honorable Rachel R. Kra
                               use
 The Honorable Me
                    lyneeLeftridge
 The Hon
          orable Robert C.l. McBurney
 The Honorable Hen M. Newkirk
                     ry
 The Honorable Emily K. Richardson
The Honorable
                Craig L. Schwall, Sr.
The Honorable Paige Reese Whitak
                                    er
The Honorable Sherrnela J. William                                                             \
                                    s
Fulton County Clerk of
                        Superior Court ,Cathele
                                                                     .




                                                               ne “Tina” Robinson
Case 1:23-cv-03721-SCJ Document 1-71 Filed 08/21/23 Page 49 of 122




                Exhibit H
               Case 1:23-cv-03721-SCJ Document 1-71 Filed 08/21/23 Page 50 of 122




            from:               McEvoy, Brian F.
    _
            To:            -

                                Allen. Sonya
            Subject:            RE: Interview Request
                       ‘




            Date:               Friday, March 11, 2022 5:56:32 PM




            Sonya:

            How are you?

            Please'letvme know if this is still moving forward.
    I




            Thanks,
            Brian



            Brian McEvOy
            Partner



            BakerHostetler
            1170 Peachtree Street Suite 2400
                                   |




            Atlanta, GA 30309-7676
            T +1.404.256.6696

            bmcevoy@bakerlaw.com
            bakerlaw.com


               O1iginal Message
            —————




            From. Allen, Sonya <Sonya.Allen@ﬁ11toncountyga. gov>
            Sent: Thursday, January 20, 2022 4:55 PM
            To: McEvoy? Brian F. <bmcevoy@bakerlaw.com>
            Subject: Interview Request
                                                                                           ’
            [External Email: Use caution when clicking on links or opening attachments.]

            Brian,
        -
            It was great talking to you today. 1 look forward to hearing back from you           a date and time for an
                                                                                       regarding
            opportunity  to speak  with Governor  Kemp.
            Respectfully,


           Sonya Allen
           Deputy District Attorney
.          Anti--Corruption Unit
        .- Fulton
                   County District Attorney’s Ofﬁce
           Atlanta Judicial Circuit
            Sonya.Allen@FultonCountyGa.gov
            404—613-7538 ofﬁce
            404—333-1931 cell
Case 1:23-cv-03721-SCJ Document 1-71 Filed 08/21/23 Page 51 of 122




                  Exhibit |'
                 Case 1:23-cv-03721-SCJ Document 1-71 Filed 08/21/23 Page 52 of 122



                                    ’
                From:                       Wakef r 'FMcDonad     .




            VTo:
                            .
                                            McEvoy, Brian F.
                Cc:
                                                            '


                        V

                                '
                                            Hill-DA, Michael
                Subject:                    Re: Interview Request
                Date:                       Wednesday, March 30, 2022 S: 08:42 PM
                Attachmentsr




            [External Email: Use. caution when clicking on links or opening attachments],

            Good afternoon, Mr. McEvoy,

                                                                                                                                ”
        .   Iwanted to reach outto you to let you know that will be yourpoint of contact with our office
                                                                                    I

    '


            moving forward regarding a future interview with Governor Brian Kemp. i believe you have
                                                                                                                            '




            previously corresponded with Deputy ADA Sonya Allen. will be sure‘ to reach out to you to make
'


                                                                                        I




            arrangements in thefuture, and please don’t hesitate to contact me with any Questions or concerns.

                                                                                            '
                                                                                                    ‘
            Sincerely,                  _
                                                                                                '

            Donald Wakeford


            F. McDonald Wakeford
            Assistant District Attorney
            Fulton County District Attorney’s Ofﬁce
            (404) 375-0281




            CONFIDENTIALITY NOTICE: The contentsof this email message and any attachments are intended solely for the
            addressee(s) and may contain conﬁdential and/ or privileged information and may be legally protected from
                                                                                                                                    '




            disclosure. If you are not the intended recipient of this message or their agent, or if this message has been       .




            addressed to you in error, please immediately alert the sender by reply email and then delete this message and any
            attachments. If you are not the intended recipient, you' are hereby notiﬁed that any use,                            or.
                                                                                                         dissemination, copying,
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Case 1:23-cv-03721-SCJ Document 1-71 Filed 08/21/23 Page 53 of 122




                 ExhibitJ                          -
          Case 1:23-cv-03721-SCJ Document 1-71 Filed 08/21/23 Page 54 of 122




        .From:               '
                                 >
                                     W ke’     FMcDonéId
.
         To:             »

                                     McEvox, Brian F.
         Cc:     .
                     _
                                     Hill-DA. Michael
        Subject:                     RE: Interview Request
        Date:                        Tuesday, May 10, 2022 9:56:24 AM
        Attachments:                 image003.png


        Hey, Brian, goqd morning,


        We definitely still intend to speak With the governor. Let me confer with our team, and we will
        arrange a time to speak with you this week about how we plan to proceed. lwill shoot you an email
        as soon as l’ ve spoken with them.


        Thankyou,
        Donald


        F. McDOnaId Wakeford
        Chief SeniorJAssistantDistrict Attorney
,
        Fulton County District Attorney’s Ofﬁce
        (404-) 375-0281




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        storage of this message or its attachmentsrs strictly prohibited.




        From: McEvoy, Brian- F [mailto bmcevoy@baker|aw com]
    I

        Sent: Tuesday, May 10, 2022 9:52 AM
        To: Wakeford, FMcDonald.<FMcDonald.Wakeford@fultoncountyga.gov>
        Cc: Hill—DA, Michael <Mike.Hi|l@fultoncountyga.gov>
        Subject: RE: interview Request

        Donald:


        How are you? Please let me know if you would like to discuss the below request.               |   am available at
        your convenience. lfthe state anticipates needing to speak with Governor Kemp, please let me
        know with as much advance notice as possible.


        Thanks,
              Case 1:23-cv-03721-SCJ Document 1-71 Filed 08/21/23 Page 55 of 122




            .Bﬂan


            Brian McEvoy
            Partner

                                  _




            1170 Peachtree Street Suite 2400
                                      |




            Atlanta, GA 30309—7676
'
                                                               -




                                                                                   /
                                                           v



                                                                   .


            T +1.404.256_.6696                         t




            bmcevo     ba erlaw.com
            bakerlaw.com




            From:Wakeford, FMcDonald <FMcDona d.Wa efo d                               f ltonCoun   a. ov>
        .   Sent: Monday, April :25, 2022 4:10 PM
            To: McEvOy, Brian F: <b cevo      ba erlaw.co >'
                                                 '
            Cc: Hill-DA, Michael <        ike.       fu toncoun»           .   o
                                                                       ‘

            Subject: Re: Interview Request

            Good afternoon, Brian,


            Thank you for reaching out again. At this time, there is no information we wish to discuss, but we
            expect that we wili be speaking with you soon. We certainly still plan to ask Governor Kemp to speak
            with us in a voluntary interviewin the future. As the District Attorney recently clarified in‘an
            interview with the AJC, the special purpose grand jury will begin calling witnesses on June 1. We
            don’t anticipate requesting to speak with the governor until that time.

        -
            Thank you again. If you would like to discuss anything further, please feel free to reach out to Mr. Hill
                                  ‘
            or me.


            Sincerely,
            Donald
    ‘




            Sent from my iPhone



                      On Apr 25, 2022, at 3:39 ,PM,IMcEvoy, Brian F. <bmcevoy@bakerlaw.com' > wrote:



                      Donald:


                      How are you? Just following up on your email below. Please let me know‘if you need
                      anything from me or would like to discuss.


                      Thanks
                     Bnan
Case 1:23-cv-03721-SCJ Document 1-71 Filed 08/21/23 Page 56 of 122




      Brian McEvoy
      Partner

      <image001.png>-
      1170 Peachtree Street Suite-2400
                            ]


      Atlanta, GA 30309-7676
      T +1.404.256.6696

      bmeevoy@bakerlaw.com
      bakeriawcom
      <i'mage002.gng>




       From: McEvoy, Brian F.
       Sent: M'Ondayé April 11, 20221249 PM
      ‘_To: Wakeford, FMcDona‘Id <    cDo ald.Wakeford  ulto cou       Va.
                                                                             ov>
       cc: Hill—DA, Michael< ike.Hiil fulton oun a. ov>
      Subject: RE: Interview Request

      Donald:


      How are you?


      I   am happy to discuss at your convenience.


      Thanks,
  _   Brian                               ~




      Brian McEvoy
      Partner

      <image001.png>
      1170, Peachtree Street Suite 2400
                            |




      Atlanta, GA 30309-7676
      T +1.404.256.6696

      bmcevov@bakeriaw.com
      bakerlaw.com
      <image002.png>




      From: Wakeford, FMcDonald <FMcDonal .Wakeford           fu on ount     a. ov
      Sent: Wednesday, March 30, 2022 5:09 PM
      To: McEvoy, Brian F. <bmcevo   akerl w.c m>
      Cc:.Hi|I—DA, Michael <Mike.Hi|I     flon o n   a.   v
      Subject: Re: Interview Request



      [External Email: Use caution when clickingon links or opening attach-meme]
Case 1:23-cv-03721-SCJ Document 1-71 Filed 08/21/23 Page 57 of 122




          Good afternoo'h, Mr. McEvoy,


           wanted to reach out to you to let you know that will be your point of contact with
                                                                                                              '

          l                                                                        I



          our ofﬁce moving forward regarding a future interview with Governor Brian Kemp.                 l


          believe you have
                            previously corresponded with Deputy ADA Sonya Allen. lwill be sure
          to reach out to you to make arrangements in the future, and please don’ t hesitate to
          contact me with any questions or concerns.
  V




          Sincerely,
          Donald
                  Wakeford

          .F. McDonald Wakeford
          Assistant District Attorney
          Fulton County District Attorney’s Ofﬁce
          (404) 375- 0281
          <image003.png>

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           complete analysis of all relevant issues or authorities.

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          lnaccuracies as information could be intercepted corrupted. lost,
          destroyed arrive late or incomplete or contain viruses. Therefore
      7




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          present in this email, or any attachment. that have arisen as a result
          of e-mail transmission.
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                 Exhibit K
  Case 1:23-cv-03721-SCJ Document 1-71 Filed 08/21/23 Page 59 of 122




From:               Wakgford. EMcDonald
To:
                                                                                I



              .
                    McEvoyl Brian F.                            .
                                                                            ,



Cc:               I naghan@thewbcﬁirm.com; Nez, Adam; Wogten. Will; Hill-DA Michael
          I




Subject:            Follow up
Date:               Thursday, May 12, 2022 4:14:14 PM
Attachments:        image001.png




[External Email: Use caution when clicking on links orbperjiingﬁttach1hents.]
                                                            l




Good afternoon, Brian,


lam glad we were able to speak this afternoon, and wanted to follow u'p on a couple of points;
                                                                    |




First, we‘ acknowledge your point that- your client remains in a cooperative posture. Additionally, we'
are open toscheduling an attorney proffer‘and will speak with you to find an agreeable date.
However, we are unable to agree to push the date of a future voluntary interview past the date of
the general election. If a voluntary interview is to take place, it would need to take place much
sooner than that.


We remain available to continue to discuss these issues. The best numbers to reach us are 404-612—
‘3253 or 404-612—5921.
Sincerely,
Donald


F. McDonald Wakeford
Chief Senior Assistant District Attorney
Fulton County District Attorney’s Ofﬁce
(404) 375-0281




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                 Exhibit L
           Case 1:23-cv-03721-SCJ Document 1-71 Filed 08/21/23 Page 61 of 122




          From:            McEvoy, Brian F.        .-
          To:              Wooten Will; Zoller, Grace W.              .




          Cc:              Wakeford FMcDonald; Hill-DA Michael; nathan@thewbcﬁrm.com; NeyI Adam; Raffemj, Brian T.; Allen. Sonya
          Subject:
                     ,
                           RE: Follow up                                                                  .


          Date:            Friday, June 3, 2022 1:22:08 PM
          Attachments:     image001.png
                           jmag’egOZpng


         Will:


         Thanks for the call today.
                                 l
                                   apologize for any cohfuSion, but ithas been somewhat difficult as We
         have beenspeaking with several different people from the Fulton County DA’s officesince this
         dialogue began in early 2021. As we discussed this afternoon, we had previously agreed with Mr.
'

         Wakeford to provide an attorney profferon behalf of Governor Kemp. We are available to provide
         that to your office on Friday, June 24 or Monday June 27. Please let‘me know if either of these dates
                                                                                                      I




         work for your team.


         Also, as you requested, we will look for available dates should your office require additional
         information on behalf of Governor Kemp. We will have those dates for you next week.


         Please let me know if you have any questions.


         Thanks
         Bﬁan


         Brian McEvoy
         Partner

         .BakerHoste‘tler
         .1170 Peachtree Street Suite 2400
                               ]


          Atlanta, GA 30309—7676
          T +1.404.256.6696

         bmcevoy@bakerlaw.com_


         8
         bakerlawcom




-'
         From: WOoten, Will <Wi|l.Wooten@fultonCOUntyga.gov>
         Sent: Thursday, June 2, 2022 9:35 PM
         To: Zoller, Grace W. <gzol|er@bakerlaw.com>
         Cc: McEvoy, Brian F. <bmcevoy@baker|aw.com>; Wakeford, FMcDonald
         <FMcDonald.Wakeford@fultoncountyga.gov>; Hill-DA, Michael <Mike.Hill@ful,toncountyga.gov>,-
         nathan@thewbcfirm.com; Ney, Adam <Adam.Ney@fultoncountyga.gov>; Rafferty, Brian T.
         <brafferty@bakerlaw.com>
         Subject: Re: Follow up

         Thanks so much, that works great for us. What is the best number for us to call?
     ‘




         Best regards,
          Case 1:23-cv-03721-SCJ Document 1-71 Filed 08/21/23 Page 62 of 122




    .    Will Wooten (He/Him)
_        Deputy District Attorney
        White Collar Cr'ime Unit                             _




    _
         DA’s; LGBTQ+ Advisory‘Cbmmittee Co-Chair
         Fulto‘h Cdunty District Attorney’s Office
        .136 Pryor Street SW                   .




        At anta, GA 30303
         (404), 612—6559


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            ’
                    On' Jun 2, 2022, at 18:47, Zolle'r, Grace W-. <gzo||er@bak'erlaw.com> wrote:
                '




                .
                    Win,

                    Can you all be available at 11:30 tomorrow?


                    Thanks,
                    Grace


                                       On lun 2, 2022, at 6:41 PM, Wooten, Will

                                       <Wi||.Wo‘oten@fultoncountvga.gov> wrote:

                                       Good evening,


                                       We did not receive a response to our e—mail to you this morning. We
                                   '




                                       would like to schedule a-caII for tomorrow afternoon. Please advise what
                                       time youare available. Thank you.


                                       Best regards,


                                       Will Wooten (He/Him)
                                       Deputy District Attorney
                                       White Collar Crime Unit
                               _
                                       DA’s LGBTQ+ Advisory Committee Co-Chair
                                       Fulton County District'Attorney’s Office
                                       136 Pryor Street SW
                           '
Case 1:23-cv-03721-SCJ Document 1-71 Filed 08/21/23 Page 63 of 122




       A'tfanta, GA 30303
                            --




       (404) §-1-2-6560

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                                                             '                         '

       mail and delete the original message.



              On Jun 2, 2022, at 09:02, Wooten, Will

              <Will.Wooten@fultoncOuntygagow wrote:

              Good morning,


              We are completely unavailable today as Mr. Wakeford
              noted. We are free all day tomorrow (Friday) and can be
              available any time that is convenient for you including during
              the evening ours. Please advise what works best. Thank you.

              Best regards,


             'Will Wooten (He/Him)
              Deputy District Attorney
              White Collar Crime Unit
              DA’s LG BTQ+ Advisory Committee Co—Chair
              Fulton County District Attorney’s Office
              136 Pryor Street SW
              Atlanta GA 30303
              I404! 6-12-6560

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                     On Jun 2, 2022, at 08:58, McEvoy, Brian F.,
Case 1:23-cv-03721-SCJ Document 1-71 Filed 08/21/23 Page 64 of 122




                   <bmcevoy @bakerlaw.cgm> wrote:


                   Are you available today at 10am?

                   Brian McEvoy
                   Partner

                   <image001.png>'
                   1170 Peachtree Street [. Suite 2400
                   Atlanta GA 30309- 7676
               .   T +1. 404.256.6696

                   bmcevo     baker'lawcom
                   bakerlaw com
                   <image002.png>



                   From:Wakeford, FMcDonald
                   <McDonald.Wakeford@fultongountygagow
                   Sent: Wednesday, June 1, 2022258 PM
                   To: McEvoy, Brian F.
                   < bmcevoy@bakerlaw com>, Hill DA, Michael        _




                   <Mike.Hil|    fu       un    a. ov
                   Cc: nathan@thewbcﬁrm.com; N>ey, Adam
                   <Adam.Ney@fultoncountyga.gov>; Woo’ten,
                   Will<Will.Woo en fulto count a. ov>
                                                        ’




                   Subject: Re: Follow up

                   Brian,
                   We are available now and will be until Close of
                   business. if we are not able to speak today, it'Is
                   important that we speak before the end of the
                   week. Our schedule is wide open all day Friday.
                   Please let me know.
                   Thank you,
                   Donald

                   Sent from my iPhone




                            On Jun 1, 2022, at 9:37 AM,
                            Wakeford, FMcDonald
                            <FMcDonald.‘Wakeerd@fultonco
                                       wrote:
Case 1:23-cv-03721-SCJ Document 1-71 Filed 08/21/23 Page 65 of 122




                     Good morning, Brian,
                     We will be tied up at that time
                     and for much of the day

                     tomorrow, but there’s a good       ‘


                     'chance We could be ﬁnished
                     earlier today. Are there times
                     earlier in the afternoon when you
                                                            7




                     are available?

                                                                -




                     Additionally, we just came free for.
                     a bit and could talk any time
                     between now and about 10:15.


                     Donald


                     From: lVlcEvoy, Brian F.
                     [m'ailto:bmcevov@bakerlaw.com]
                     Sent: Wednesday, June 1, 2022
                     9:24 AM              .




                     To': Hill—DA, Michael
                     <Mil_<e.Hi| @fultongountygagow
                     Cc: Wakeford, FMcDonald
                     <FlVlCDonald.Wakeford@fultonco
                     unawa-
                     nathan@thewbcf'rm.c0m; Ney,
                     Adam
                     <Adam.Ney@fultoncountyga.gov'>
                     ; Wooten, Will

                     <Will.Wooten@fultoncountygago
                     y>
                     Subject: RE: Follow up

                     I’m not available at that time.
                     How about 10am tomorrow?

                     Brian McEvoy
                     Partner

                     <image004.jpg>   .



                     1170 Peachtree Street Suite 2400
                                              [


                     Atlanta, GA 30309-7676
                     T +1.404.256.6696

                     bmcevoy@balserlaw.comi
                     bakerlaw.com.
                     <image006fpg>
Case 1:23-cv-03721-SCJ Document 1-71 Filed 08/21/23 Page 66 of 122




                                From: Hill—DA, Michael
                            '




                                <Mike.Hill@fdlton'countyga.ggiv>
                                Sent: Wednesday, June‘l, 2022
                                             ‘

                                857AM                   .



                                To: McEvoy, Brian F.
                    .
                                <bm'cevoy@bake[law.c0m>
                                Cc: Wakeford, FMcDonald
                                <FMcDonald.Walgeford@fultonco                         .


                                                    '
                                                                                  '

                                                                     ;




                                nathan@thewbcfrrn.com; Ney,
                                Adam
                                <mmmtgim¥gagm>
                                                                             -'
                                ;Wooten, Will                    _




                                <Will.Wooten@ fu toncountygago
                                     ‘




                                M>
                                         -




                                Subject: Re: Follow up
                                                            I




                                Good morning Brian,


                                This is investigator Mike Hill. ljust
                                left Donald. He’s is tied up with
                                                                         '




                                Grandlury at the moment.

                                lf agreeable, let’s plan a call this
                        '


                                afternoon at 1600hrs.

                                Advise, thanks.

                                Sent from my iPhone



                                         On Jun-1, 2022, at
                                         8:14 AM, McEvoy,
                                         Brian F.
                                         <bmcev0y@bakerla
                                         w.com> wrote:



                                         Donald are you
                                         available today?


                                         Thanks
                                         BHan


                                         Brian- McEvoy
Case 1:23-cv-03721-SCJ Document 1-71 Filed 08/21/23 Page 67 of 122




                                    Partner

                                    <image004.jpg>
                                    1170 Peachtree Street Suite 2400   I



                                    Atlanta, GA 30309-7676
                                    T +1‘.404.256.6696

                                    bmcevoy@baigerlaw. com
                                                       '

                                    bakerla'wcom
                                    <image006.ipg>




                                    From: Wakeford,
                                    FMcDonald
                                    <E>McDona d.Wakefo
                                    rd@fultgncountyga.
                                    m          '
                                                                   .




                                    Sent: Tuesday, May
                                    31, 2022 2:19 PM
                                    To: McEvoy, Brian F.


                                    w.ggm>
                                    Cc:
                                    WIMMUE W6MJCHW
                                    m; Ney, Adam
                                    <Adam.Ney@fultonc
                                    ountygaggw;
                                    Wooten, Will.
                                    <Wi|i.Wooten@fulto
                                    ncountyga.gov>; Hill-
                                    DA, Michael
                                    <|\_/|i|ge.Hi|   @fultonco


                                    Subject-RE: Follow
                                    up



                                    [External Email:
                           '
                                    Use caution When
                                    clicking on links or   '


                                    opening
                                    attachments.]

                                    Good afternoon,
                                    Brian,
                       ‘                                       I




                               V.
                                    I   wanted to touch
                                    base with you to.see-
Case 1:23-cv-03721-SCJ Document 1-71 Filed 08/21/23 Page 68 of 122




                                     if we could speak                .




                            '
                                _
                                    again. Could you get H                ~




                                    on the phone
                                    tomorrow afternoon
                                    any time after 3:00?
                                    Thank you,
                                                 '


                                     Donald


                                    F. McDonald
                                    Wakeford
                                    Chief Senior
                                    \Assistant District
                                     Attorney
                                     Fulton County-
                                     District Attorney’s
                                     Ofﬁce
                                    ('404) 375—0281
                                    <imageOO7.png>

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                                    NOTICE: The contents
                                    of this email message     ~




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Case 1:23-cv-03721-SCJ Document 1-71 Filed 08/21/23 Page 69 of 122



                                                                  '



                                       From: Wakeford,
                                       FMcDonaId.
                                       Sent: Thursday, May
                                       12, 2022 4:14 PM
                                       TO:            :   .




                                       'bmcevoy@ bakerla'w
                                       .com'
                                       <bmcevoy@bakerla
                           *
                                       w.cgm>
                                       Cc:
                                       nathan@thewbcfirm
                                       m;       Ney, Adam
                                       <   cl    .
                                                   e_
                                                        ultonc
                                       o         a. ov>;
                                       Wooten, Will
                                       <Wi| .WOoten@fu to

                                       ncgunﬂgagow; Hill—
                                       DA, Michael:
                                       <Mike.Hi |@fultonco
                                       untyga.gov>
                                       Subject: Follow up

                                       Good afternoon,
                                       Brian,


                                       Iam glad we were
                                       able to speak this
                                       afternoon, and         I




                                       wanted to follow up
                                   -

                                       on a couple of
                                                      I




                                       points.


                                       First, we
                                       acknowledge your
                                       point that your client
                                       remains in a
                                       cooperative posture.
                                       Additionally, we are
                           '



                                       open to scheduling
                                       an attorney proffer
                                       and will speak with
                                       you tofind an
                                       agreeable date._
                                       However, we are
                       ‘
                               .
                                       unable to agree to
Case 1:23-cv-03721-SCJ Document 1-71 Filed 08/21/23 Page 70 of 122




                            push the date of a
                            future voluntary      _




                            interview past the
                            date of the general
                            election. If a
                            voluntary interview
                            is to take place, it
                            would need to take
                            place much sooner
                            than that.

                        -
                            We remain available
                            to continue to
                            discuss these issues.
                            The best numbers to
                            reach us are 404—
                            612—3253 or 404—
                            612—5921.
                            Sincerely,
                            Donald


                            F. McDonald
                            Wakeford
                            Chief Senior
                            Assistant District
                            Attorney
                            Fulton County             _




                            District Attorney’s
                            Ofﬁce
                            (404) 375-0281
                            <image007.png>

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                            of this email message
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Case 1:23-cv-03721-SCJ Document 1-71 Filed 08/21/23 Page 71 of 122




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                         description of all relevant
                         facts or a
                         complete analysis of all
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Case 1:23-cv-03721-SCJ Document 1-71 Filed 08/21/23 Page 72 of 122




               Exhibit M
       Case 1:23-cv-03721-SCJ Document 1-71 Filed 08/21/23 Page 73 of 122



mm:                mm
To
Cc:                W                      W        momma:          mm       W             Monsoon:   W
Subled:            Re: Futon up
one:               mayﬂune u, an: rum         AH
mdm                medium
                   Wm
Brian. are you able to get on a quick conference call with our team today to nail down these dates and discuss the attorney proffer issue? We are available all day.

Thanks,
WW


Best regards.


Will Wooten (He/Hlm)
 Deputy District Attorney
 White Collar Crime Unit
 DA’s LGBTQt Advisory Committee Co-chair
'Fulton County District AttorneYs Ofﬁce
Willi
W
1405151255512


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agent responsible to deliverit to the intended recipient the recipient is hereby notiﬁed that any review dissemination, distribution or copying of this communication Is prohibited. If this communication was received'In enor. please
notify the sender by reply e—mail and delete the original message.


       On Jun 10, 2022, at 16:17. McEvoy, Brian F. <bmcevoy@bakcrlaw.coru> wrote:



       IMll:


       Following up our discussion from last week, subject to our further discussions, should your ofﬁce require additional Information from Governor Kemp, he can be available for an interview on August 1“, 2"“, om“.
       Among other things, we would like to address the leaks that have been associated with this Grand Jury investigation and make sure that appropriate protections are put in place to protect against any unauthorized disdosuresr

       Also, have not heard back regarding your availability on June 24 orlune 27. Please let me know as we are holding these dates
               I




       lam happy to discuss further at your convenience:

       Thanks.
       Brian




       Brian McEvoy
       Partner

       <image001.png>
       117D Peachlxee Street [ Suite 1400
       Atlanta. GA JOKE-7516
       T 01.404.256.6596



       simueeﬂﬂzunez


       From: McEvoy. Brian F.                                                                                                                                  ,
                                                                                                                                                          '
       Sent: Friday, June a, 2022 1522 FM       .                                                                                                 .                              .
                                                                                                                         ’
       To: Wooten, Will <WilLWooten@fultoncountygargov>; Zoller, Grace W. <gzoller@bakerlaw.com>
                                                                                                 ‘
       Ce: Wakeford, FMcDonald<FMcDonald.Wakeford@fultoncountyga.gov>; Hill-DA. Michael <Mike.                               vmn-                       rnm'   Ney, Adam <Aﬂ=m       ,                 “My
                                                                                                                                                                                                             Rafferty, Brian T.
       <brafferty@bakerlaw.com>; Allen, Sonya donyatAIIen@fultoncountygago»
       Subject: RE: Follow up

       Mil:

       Thanks for the call today. apologize for any confusion, but it has been somewhat difﬁcult as we have been speaking with several different people from the Fulton County DA's ofﬁce since this dialogue began in early
                       “          ‘
                                      I

                                                         ‘
       2021. As we             this          we had             agreed with.Mr.'          to provide an attorney proffer on behalf of Governor Kemp. We are available to provide that to your ofﬁce on Friday, June 24 or
                                                                                                                                                       '                     '
       Monday June 27, Please let me know if either of these dates work foryourlteam,

       Also, as you requested, we will look for available dates should your ofﬁce require additional Information on behalf of Governor Kemp. We will have those dates for you next week.


       Please let me know if you have any questions.


       Thanks,
       Bﬁan


       Brian McEvoy
       Panmr

       <ixnage001.png>

       1170 Peachtree Street I Sum: 2402]
       Mama. GA 30305-7676
       T 61.404.256.66$



       simmlmonez

       From: Wooten, will     <WQMW>
       Sent: Thursday, June 2. 2022 9:35 PM
                                                         '


       To: Zoller,GraceW      WW
       Cc: McEvoy, Brian F. <hmmmﬂhakenmomx Wakefard FMcDunald                  <mmwmmmeummmm:                                Hill- DA Michael <MI.lse.I:lII.l@tultnnmun.bLea.eov> nathaoﬂmeuhtﬁmtmm: Nev. Adam
                                              Ratferty. BrianT. <b1aﬂem®baltedamom>
       Subject: Re: Follow up

       Thanks so much, that works great for us. What Is the best number for us to call?


       Best regards,


       will Wooten (He/Him)
       Deputy District Attorney
       White Collar Crime Unit
    Case 1:23-cv-03721-SCJ Document 1-71 Filed 08/21/23 Page 74 of 122



    DA's LG 3104 Advisory Committee Co—Chair
                                                                   '
    Fulton County District Attorney/s Olﬁce
    W
                                         '
-




    W
    W11
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    communication was received In error, please notify the sender by reply e--mail and delete the original message.



             On Jun 2, 2022, at 18:47, Zoller, Gmce W.                                          wrote:


         ’
             M".

             can you all be available at 11:30 tomorrow?

                           '                                       ‘                                                                      -:
             Thanks,
                                                                                                                                   ' '
             Grace


                       On Jun 2, 2022. at 6:41 PM, Wooten, Will                    <Wmmgam                            wrote:

                   ‘
                       Good evening,
                                                               ~   1




                       We did not receive a response to our e—mail to you this morning. We would like to schedule a call for tomorrow altemoon. Please advise what time you are available. Thank you.

                       Best regards,


                       will Wooten (He/him)
                       Deputy District Attorney
                       White Collar Crime Unit
                       DA's lGBTQ+ Advisory Committee Co—Chair
                       Fulton County District Attomei/s Ofﬁce
                       W                                                       '

                       W
                       W
                       CONFIDENTIALITY NOTICE: This e--nIaii contains legally privileged and confidential lnforrnatlon Intended only for the lndlviduai or entity named within the message. if the reader of this
                               is not the Intended recipient. or the agent responsible to deliver It to the Intended recipient, the recipient Is hereby notiﬁed that any review, dissemination              or copying of
                       message                                                                                                                                                                 distribution
                       this communication ls prohibited If      communication was received'In error, please           the sender by reply email and delete the
                                                           this                                                notify                                           original message.


                                   On Jun 2, 2022, at 09:02, Wooten. Will               WWwrote:
                                   Good morning.


                                   We are completely unavailable today as Mr. wakeford noted. We are free all day tomorrow (Friday) and can be           any time that"Is convenient foryou including during the
                                                                                                                                               available
                                   evening ours. Please advise what works best. Thank you.

                                   Best regards,


                                   will Wooten (He/Him)
                                   Deputy District Attorney
                                   White Collar Crime Unit
                                   DA‘s Loarm Advisory Committee Co—Chair
                                   Fulton County District Attom eVs Ofﬁce
                                   W
                                   W
                               .   1504113116560

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                                   of this message is not the intended recipient, or the agent responsible to deliver'It to the intended recipient, the recipientIs herebynotiﬁed that any review, dissemination,
                                                                                           ,
                                    '                                     '   '           ' '
                                               or copylng of this                 is            If thi                  was received'In error, please notify the sender by reply email and delete theoriginal message.



                                         On Jun 2, 2022, at 08:58, McEvoy, Brian F.        <mmmgbakgnm> wrote:                                 _
                                                                                                                                                                                                                         .




                                         Are you available today at 10am?

                                         Brian McEvoy
                                             Pzmr
                                         <image001.png>                >


                                         11m Peachtree Street Suite 24W    |


                                         Atlanta, GA 30319495
                                         T 01.40425656w

                                         WW
                                         Wm
                                         .simazemnze


                                         From' Wakeiord, F_McDonald                    <mmnaimmmmommmmp
                                         Sent: Wednesday, June 1. 2022 2:58 PM
               .                         To: McEvoy, Brian F.                                     Hill--DA, Michael
                                             Ccznatlianﬂtheummm; Nev. Adam                                                         Wooten. Will    <mmenmmmmmx>
                                         Subject: Re: Follow up

                                             Brian,
                                         We are available now and will be until close of business if we are not able to speak today, it Is important that we speak before the end ofthe week Our sdtedule'Is
                                         wide open all day Friday. Please let me know.
                                         Thank you.
                                             Donald

                                         Sent from my iPhone



                                                      on Jun 1,'2OZZ, at 9:37 AM,              FMCDDnaId <FMrnonald            .
                                                                                                                                               unm   onv) wrote;



                                                                                   '
                                                      Good morning. Brian,
                                                      We will be tied up at that time and for much of the day tomor'row, but there’ 5 a good chance we could be ﬁnished earlier today. Are there times earlier
                                                      In the afternoon when you are available?
Case 1:23-cv-03721-SCJ Document 1-71 Filed 08/21/23 Page 75 of 122



          Additionally, wejust came free for a bit and-could talk any time between now and about 10:15.
                       ‘
          Donald


          From. McEvov. Brian F.
                                                                 '
          sent: Wednesday, June 1, 2022 9: 24 AM                     _

          To: Hill- DA. Michael
          €12Wakeford. FMcDonald
          Wooten. Will
                                           <mmmmmetmmm;
                              <Wtomounnieam>                                                     MW                                 Nev. Adam
                                                                                                                                                   <Adamﬂﬂﬂmnomnoigmp:
          Subject: RE: Follow up

          i‘m not available at that time. ‘How about 103m tomorrow?

          Ella" McEvny
          Partner

          (“Miami”)
          1I7u Peacmree Street i Sung 2400
          Atlanta. GA acorn—7676
          T vino-{256.6696




          From: Hill—DA. Michael <Mikeﬁiﬂﬂmnonsnunmeuov>                                                                -

          Sent: Wednesday, June ,1. 2022557 AM
          To: McEvuy, Brian F. Wm)
          Ct:            FMcDorIald <FMPI'56"alrl   1t                                                                              Nev. Adam <Adam.uev@£ultonmunmga.env>:
          Wooten, Will        <Wmounwm                                                                                                                 '



          Subject: Re: Follow u p

          Good morning Brian,


          This is investigator Mike Hill. ljust left Donald.              is tied up with Grand Jury at the moment.
                                                                 i-le's

          if agreeable, let’s plan a (all this afternoon at 1600hrs.


          Advise, thanks.

          Sent from my iPhone



                    On Jun 1, 2022, at 8:14 AM, McEvoy, Brian F.          <hmmmmmmm> wrote:

                    Donald are you available today?


                 Thanks,
                    Brian'


                    Brian McEvuy
                    Partner

                    <irmgem4jpn>
                    1170 Peachtree Street Suite 2400
                                           |


                    Atlanta. GA 30609-7616
                 1' ~1.m4256$ee6




                 From: Wakeford, FMcDonaid            <WWW
                 Sent: Tuesday, May 31, 2022 2:19 PM
                                                                                                                                                                                       '
                 To: McEvoy, Brian F.                                                        -


                    Cc:                         mm- Ney, Adam            Adam                          an»; Wooten, will WWW:                                                  HiII»DA,
                    Michael <Mkeﬁrll®tultmmumeuax>
                    Subject: RE: Follow up



                    [Ettemal Email: Use caution when clicking on links or opening attachments]
                    Good afternoon. Brian,

                                                                                                                                                                                       '
                    Iwanted to touch base with you to see if we could speak again. Could you get on the phone                                  afternoon any time rafters: 00?
                                                                                                                                 tomorrow
                    Thank you,
                                                                                                                                                   .

                    Donald


                 F. McDonald Wakcfurd
                 'Chicf Senior Assistant District Anomey
                 Fulton County District Anomey’s Ofﬁce
                 (404) 375-0281
                    <imaéem7.pnp

                    oomnevmum NUI'lCE: 1‘
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                    I!)vu are not the inlended recipient. you are hereby ndﬁlied Ihal rm “‘0                   mpying.         wins 14. mi                 ‘ts nmchm               '

                    pmhibitevL                                                                                                                              .




                    From: Wakeford, F McDonald
                    Sent: Thursday, May 12, 2022 4:14 PM
                    To: 'bmcevay@bakerlaw com' <bmmm®hakeriawmn>
                    Cc:    Wm                Ney, Adam
                    Michael <Mikalﬂllﬂmlmnmunm£a£n¥>
                                                                         W;                                    Wooten,
                                                                                                                            WiIIWWW            /
                                                                                                                                                                               HI"DA:

                    Subject: Follow up
                                                                                       -




                    Good afternoon, Brian.

                    i am glad we were able to speak this afternoon, and I wanted to follow up on a couple of points.



                'FIrst, we acknowledge your point that your client remains in a cooperative posture Additionally. we are open to scheduling an
                                                                                                                                               attorney
                 proffer and will speak with you to find an agreeable date.
                 However. we are unable to agree to push the date a future voluntary interview past the date of the general election. If a
                                                                                .0,                                                                                    voluntary
Case 1:23-cv-03721-SCJ Document 1-71 Filed 08/21/23 Page 76 of 122



            interview is to take place, it would need to take place much sooner than that.


            We remain available to continue to discuss theseIssues. The best numbers to reach us are 404- 612- 3253 grdw- 612- 5921.
            Sincei'eiv,
            Donald


            F. McDonald Wakcford
            Chief Senior Assistant District Altomey
            Fulton County District Attomcy’s Ofﬁce
            (404) 375-0281
            <imageDO7.png>

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            cl e-mail Ivarrsmtsson
Case 1:23-cv-03721-SCJ Document 1-71 Filed 08/21/23 Page 77 of 122




                ExhibitN
                       Case 1:23-cv-03721-SCJ Document 1-71 Filed 08/21/23 Page 78 of 122



        rm                         W                                                         ~                                     '                                                    ~   -       >
                                                                                                                                                                                                                        ;
                                                                                                                                                                                                                            -



                                   W
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        cc:                                                                                                         alum                   human-PAW
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    .   mu;                        Hunky, Juno tum             «I24 m
        Mama:                      Mom                                                                                                                                                                  -

        lrnpnmom:              ,   High



    . Will:




                                                                                                                                                     agreement, an attorney proffer hasnm been approved by your ofﬁce (despite your requesting dates for such
        I   renewed a troubling phone call thls afternoon from Nathan Wade who advised that, contrary to our previous dlscusslons and
        a proffer and Mr. Wakeford conﬁrming that your ofﬁce'Is "[oIpen to scheduling an attorney proffer and will speak with you to ﬁnd an agreeable
                                                                                                                                                                      date”)_ As we previously agreed, such an attorney proffer would be productive for a variety
        or reasons, not least ofwhich to address any evidentiary'Issues that may arise.


        Furthermore, Mr. Wade informed us that neither you nor any other Assistant District Attorney have decision maklng authority in this case and that that any previous agreement that we readIed iIIIith your ofﬁce has no effect. This Is
        alarming given the amount of time we have spent discussing this matter over the last year. Your ofﬁce had previously asked for dates for Governor Kemp' s availability which we provided last week. We had heard nothing from your ofﬁce
                                                               previously spoken. Needless to say. Mr. Wade 5 summary relecdon of our proposed dates, nulliﬁcation of all previous agreements, dramatic change of tone and sudden threat
        until todays call from Mr. Wade, with whom we had not
        regarding theIssuance of a grand'Iury subpoena this week to Governor Kemp ls disappointing, surprising and contrary to our previous discussions with        ofﬁce.
                                                                                                                                                              your
        The nks,
'
        Bnan


        aIIan McEvpy
        Partner

        BakerHostetler                                .
        H70 Pond-mas Sheet [Su'ﬂe 2400
        Manta. SAWS-7676 '                                                                              .
        1 01404265596                             -




   From: Wooten, Will <Will.Wooten@fultoncountyga.gov>
  Sent: Monday,iune 13, 1022 11:59 AM
                                                                                                                                                                                                                '
.‘To'. McEvoy, Brian F. (brncevoy@bakerlaw. com)‘                                                               .                            .                  .                                                               .     .                .   .
                                                                                                                           ‘
                                                                                          ill-DA, Michael MM“
'
                 FMcDonald <FM “on M
                                               '
   Cc:                                                                                                               "mo:                                               MM'
                                                                                                                                                                                            Ney, Adam (Adam         ,               am; Rafferty, Brian T.
        <brafferty@bakerlaw. corn); Allen, Sonya (SonyaAllenQfultoncountygagow: Zoller, Grace W. <gmller@bakerlaw com)
        Subject: Re, Follow up

        Unfortunately we have another call scheduled at 3. Could we do 2:45p?

                                                                                '
        Thanks again,                                                                                                                                                                                           .                                                       .
                                                                                                                '
        WW
                                                                                                                                                                                                            .




        Best regards,

                                                                            '

        Will Wooten (He/Him)                          ~                                                 -
                                                                                    _            _



        Deputy District Attorney,
        White Collar Crime Unit
        DA's LGBTQ+ Advisory Committee CwChair
        Fulton County District Attorneys Ofﬁce                     .


        W                                                                                                                                                                                                   .



        W
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        responsible to deliverIt to we intended recipient. the recipientIs hereby notiﬁed that any review,
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        sender by reply e-mail and delete the original message.




                       OnIun 13, 2022. at £1: E, McEvuy, Brian F.                                    Wrote:



                       VWII:                  .                         _                                                                        _                      ;
                                                                                                                                                                                                                                »




                       Can we speak at 3pm?


                       Thanks,
                       Bnan

                   .   aIizn McEvoy
                                '
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                       I170 Paloma Street] Suile 2400
                       Atlanta. GA 305057575
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               '
                       From: Wooten, Wll                  WW
                       Sent. Monday,lune 13, 2022 10:42 AM
                       To: McEvoy, Brian F.<bm;em@bakedawmm>
                       Cr Wakeford. FMcDonaId              <Wmmmmm;                                   HiIiDA. Michael                                     nattanﬂthenbtﬁunm Nev, Adam <AdamLNetQMmmmomm>I Raffenv. BrianT-
                       <hmﬁ£mﬂhaketlaw£nmx Allen, Sonya                                                    Zoller, Gracew.
                       Subject: Re: Follow up

                       Brlan, are you able to get on a quick conference call with our team today to nail down these dates and discuss the attorney proffer Issue? We are avallabie all day.


                       Thanks,
                       WW


                       Best regards,      _




                       Will Wooten (He/Him)_
                       Deputy District Attorney                                                                                                                                     .
                                                                                                                                                      '
                       White Collar Crime Unit
                       DA's LGBTQI» Advisory Committee Co—Chalr                                                                                                                                 ’
                       Fulton County District Attorney’s Ofﬁce
                       W~
                       AtlantLGAiDin
                       WED
Case 1:23-cv-03721-SCJ Document 1-71 Filed 08/21/23 Page 79 of 122



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the agent responsible to deliver it to the intended recipient, the recipient is hereby notiﬁed that any review,                                                                                     or         of this             is            If this                was received'In
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             ~
                     0n Iun 10, 2022. at 16:17, McEvoy, Brian F. <mmmatmmm> wrote:



                     WIll:
                                                                                                                                                                 /


                     Following up
                                  our discussion from last Week, subject to our further
                                                                                        discussions,
                                                                                                     should your ofﬁce require additional inforrnabon from Governor Kemp,- he can be available for an interview on August 1“, 2"d or                                                                4“
                     Among other things, we would like to address the leaks that have been associated with this Grand        Investigation and make sure that appropriate protections are putIn place to protect against any unauthorized disclosures.
                                                                                                                                                   Jury
     ;               Also, have not heard back regarding your availability on June 24 orJune’27. Please let me know as we are holding these dates.
                              I




                     I   am happy to discuss further atyour convenience.


                     Thanks,
                     i} an




                     arm. McEvoy
                                           '
                     Partner

                     <image00Lpng)
                     Ina Feachbee Street IsIIIm 24m:
                     Atlanta. GA wacwm                                                                            ,                                                                            .                                      .
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                     T 91.404.255.5ﬂ6
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                                   riday,lune 3, 2022 1:22 PM
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                                  ooten,       Mllmteuﬂﬂiitoumunww; Zoller, Grace W.<Hmﬂecﬂbakedaecmm                                                                                      .
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                                  akeford .FMcDonaid <EMsQnnaldJA'Lakefordelmnmuumaw: Hill- DA, Michael <Miketiili                                                                vnv>;                                       :rnm‘ Ney, Adam Adam
                                                                                                                                                                                                                                                                       '
                                                                                                                                                                                                                                                                           am; Rafferty,
                                  T <btaﬂemc®halsedam>; Allen. Sonya <EnnxaAllethuimnmunMW
                                                                                                                                                                                       '                                  '                                '                       '
                     Bn‘an                                                                                                                                                                                3                                            3




                     Subject: RE_: Follow up


                     Will:

       Thanks for the call today. i apologize for any confusion, but it has been somewhat diff cult as we have‘been speaking with several different people from the Fulton County DA's ofﬁce since this dialogue began in
             _


     ,
       early 2021. As we discussed this afternoon, we had previously agreed with Mr. Wakeford to provide an attorney proffer on behalf of Governor Kemp. We are available to provide that to your ofﬁce on Friday,
       June 24 or li/Iondayiune 27. Please let me know ifeither of these dates work foryour team

                     Also, as you requested, we will lookvfor available dates should your. ofﬁce require additional information on behalf of Govemor Kemp. We will have those dates for you next week.

                     Please let me know if you have any questions.

             '

                     Thanks,‘
                     Brian


                     BrianMcEvoy
                     Partner                   .                              .                                                        _
                                                                                                                                               .
                                      _




                     <irn'ane001.png>                                                                                                                :
                     mo Peachttee Street] Suite 2400
             '
                     Atlanta. GA :Ioaaevas
                     T 01.404.255.6696




                     From Wooten: Will                                                                                                                                                                                                            .,



                                                          ’                                                                                                                                                                                                                                '
                     Sent: Thursday, June 2, 2022 9:35 PM                                                                                                                                                                                                                                                -


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         _                                                                                                    _                                                                                                                                                                        .

                     To: Zolier, Grace W.
                     Cu: McEvoy. Brian F.               <bmcemﬂhakedamm>                   Wakeford, FMcDonald
                                                                            Rafferty, Brian T. <hmﬁemc®hakerlamcnm>
                                                                                                                                                                                       Hiii- DA, Michael
                                                                                                                                                                                                              Wainwxmmmmﬁmm:                                                      Nev, Adam


                     Subject: Re. Followup

                     Thanks so much, that works great for us. What is the best number for us to call?


                         Best regards,


                     Wlll Wooten (He/Him)
                     Deputy District Attomey              .                                               .
                     White Collar Crime Unit
                     DA’s LG BTQ+ Advisory Committee CtrChair
                     Fulton County District AttomeYs Ofﬁce
                 '
                     13W                                           -

                     W                                   ‘
                     15W
                         CONFIDENTIALITY NOTICE: This email contains legally privileged and conﬁdential information intended only for the individual or entity named        the message. If the reader of this message Is not
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                         intended recipient or the agent responsible to deliver it to the intended recipient the recipientIs hereby notiﬁed that any review,                                                                                                                                   if
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                         this communication was receivedIn error, please notify the sender by reply e-mail and delete the original message.



                                   On Jun 2, 2022. at 13:47, Zoller, Grace W.                                         wrote:



                                   wmf

                                   can you all be available at 11:30 tomorrow?


                                   Thanks,
                                  'Grace:


                                               On Jun 2, 2022, at 5:41 PM, Wooten, Will      (WWW                                          wrote:_
                                                                                                      I                                l
                                                   Good evening.       .I                                                          .       .
                                                                                                                                                             .                                       ,



                                               We did not receive a response to _our e-mail to you this morning. We would like to schedule a call for tomorrow afternoon.                                                advise what time you are available. Thank you.
                                                                                                                                                                                                              -P_|ease
Case 1:23-cv-03721-SCJ Document 1-71 Filed 08/21/23 Page 80 of 122



                      Best regaids,


                  '
                      Will Wooten (He/Him)
                      Deputy District Attorney
                                                                                                              .
                                                                               ,

                      White Collar Crime Unit                              _                  _           I                .                            j
                                                                                              ‘
                      DA's LG BTQr Advisory Committee (So-Chair                                                   .
                                                                                                                                                    ,                                                                                                                                                                                                                                                       ,
                                                                                                                                       '                                                                                 '                                                               ’                                                                                                                                                   '
                      Fulton County District AttorneYs Ofﬁce                              .           .                                             .                                   .                    .                                                   .                                   .                         .           ‘.   .
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      :               message is not the intended recipient; or the agent responsible to deliver it to the intended recipient, the recipient is hereby notified that any review, dissemination, distribution or
                      copying ofthis communication is prohibited. if this communication was received in error, please notify the sender by reply e-mail and delete the original message.



                            0n J un 2, 2022, at 09:02, Wooten. Will            <Wﬂfulmmmm                             wrote:

                             Good morning,


                            We are completely unavailable today as Mr. Wakeford noted. We are free all day tomorrow (Friday) and (an be available any timethatIs convenient for you Including
                                                                                                                                                                                                                                                                                                                                       '
                                                                                                                                                                                                                                                                                                                                                                                .   .
                                                                                                                                                                                                                                                                                                                                                    '

                            during the evening ours. Please advise what works best. Thank you.

                            Best regards,


                            Will Wooten (He/Him)                                                              .
                                                                                                          -‘
                            Deputy District_Atmmey               ;
                                                                                                                                                                ~
                                                                                                                                                                                                                                     ;
                                                                                              '                                        '                                    '                                                                                            '                                                                                  ’                       '           '
                            White Collar Crime Unit                                                                        I                                                                                     .                                                               ,                                                                                              .
                                                                                                                                                                            '                                                                                                    '                                                                                                  '
                            DA's Lc BTEM- Advisory Committee CoChair
                            Fulton County
                                                District   Attorneys Ofﬁce                .



                            W                                                                                         ~



                            W                                                         '




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                            reader of ﬁlls message is not the intended recipient, or the agent responsible to deliver It to the intended recipient, the recip nt is hereby notiﬁed that any review,
                            dissemination, distribution or copying of this communication is prohibited. If this communication was received In error, please notify the sender by reply e-mail and delete
                            the original message.


                                      On Jun 2, 2022, at 08:53, McEvoy, Brian F.     (W)                                  wrote:



                                      Are you available today at 103m?

                                      Brian McEvoy
                                      Palmer

                                      <image001.png>
                                                             -



                                      I170 Peachltea street I Suite 2400
                                      Atlanta. GA 345309-7675                                                                                                                                                    '
                                                                                                                                       ‘
                                      r'+1.404155.sase                                            .




                                      Wm
                                      zalorlamm
                                      simaezDDZnnzz



                                      Framzwakeford, FMcDonald
                                                                                                                                                                                                                                                                                                         ~

                                                                                                                                                                                                                 '
                                      Sent: Wednesday, June 1, 2022 2: 53 PM
                                      To: McEvoy, Brian F. <bmmmabakedaouom>l Hill--DA. Michael                       <Wmugum
                                      Cczuathanﬂthzwhcﬁmm Nev, Adam                                                                                Wooten, Will <MLﬂoatenﬂtultomnumouoo                                      ~




                                      Subject: Re: Follow up

                                      Brian,                                                                                                                                                                                                                                                                 '
                                    We are available now and will be _until close of business. liwe are not able to speak today, it is important      we speak before the end ofthe week Our                                                                                                                                                                    .       .                                       \


                                                                                                                                                 that
                                    schedule ls wide open all day Friday. Please let me know.
                                  '
                                    Thank you,
                                      Donald

                                      Sent from my iPhone



                                                                                                              <mmammemmmmm wrote:
                                                                                                                                                                                                                                                         '

                                               oil Jun 1, 2022, at 9:37 AM, Wakeford, FMcDonald                                                                                                                                                                                                  .



                                               Good morning, Brian,
                                               We will be tied up at that time and for much ofthe day tomorrow, but there' 5 a good chance we could be finished earliertoday. Are there times
                                               earlier In the afternoon       you are available?
                                                                         when
                                                                                                                                                                                                     '
                                                                                                                                                                                                                                 -
                                               Additionally, we just came free for a bit and could talk any time between now and about 10:15.                                                    ‘
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                                                                                                                                                                                            V


                                                                                                                                                                                                                     -
                                               Donald                                                                          -                            .

                                                                                                                                                                                >




                                               From: McEvoy, Brian F.
                                                                                                                                                                                                                                                                                                                                                                                                                                     .
                                               Sent:_Wednesday, June 1, 2022 5:24 A_M
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                                               To: Hill-DA, Michael    <Wmnmzuoo,                                                                                                                                                                    '
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                                               Cc:            FMcDonald <FMrnnnalrl                                                    an»; namanﬂtbzwbtﬁmmm; Ney.' Adam
                                                                                                                                                                                    ‘
                                               emmmmm);                              Wooten, Will         <Mmmmmmzm>
                                               Sublect: RE; Follow up

          .
                                               I'm not available at that time. How about 16am tomorrow?


                                               Brian McEvoy
                                               Partner

                                               <irnage004,jpg>
                                               l17a Peachtlee Street l Suite 2400
                                               Aria ma, GA 3030.9«7676
                                               'r .1 .4042565696




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                                                                         <Wmm
                                                                                                                                   ‘                                                                                                                                         '
                                               From: Hill-DA, Michael                                                                                                                                                .                                                                                                                                      I
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                                               Sent: Wednesday, June 1, 2022 8:57 AM'                                                                               .                                                                                                                                    .                                              .




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                                                                       (Wimp
                                                                                                                                           _

                                               To:' McEvoy, Brian F.                                                                                                                                                                                                                                                                                                                                    .

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                                                                                                                                                                                                                                     '                           '                           ‘                                 '
                                               Cr: Wakeford FMcDonald                                                                                                                           Nev.Adam                                                                                                                                                                                                                                             ,
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                                                                                     Wooten,WiII<MLmmo@Mmmnmzazoo                                                                                                                            ,                                                                                                                          .                           .
                                               <Adamm®mmcolnmzazooi
                                                                                                                                                                                                                                                                                                                                                                    2
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Case 1:23-cv-03721-SCJ Document 1-71 Filed 08/21/23 Page 81 of 122



           Subject: Re: Eollow up

                                      Brian.
            Good momlng

           This ii Investigator Mike Hill. Iust left Donald. He's is tied up with Grand Jury at the moment.-
                                                    I


                                                                                                                              -


            lf agreeable, let‘s plan a call this attemcon at 1600";
                                                                -


                            thanks.
           Advise.

           Sent from my lPhone



                        On Jun 1. 2022, at 8:14 AM, McEvoy', Brian F.             (Wm)                               wrote:



                .       Donald are you available today?


                        Thanks,
                        Bﬁan


                        Brian McEvoy
                        PamInI

                    <lmueoo4 inc)
                        1170 Peachtrea Street lsIIiIII mo
                        Atlanta, GA mamas
                    _
                        r «museum
                        Wm
                        hm
                        51mm


                        From: Wakeford, FMcDonald            <Wmm
                        Sent: Tuesday, May 31, 2022 2:19 PM
                        To: McEvoy, Brian F.       (Wm)                                                 ‘                             _‘
                                                                                                                                                          »




                                                                                                                    mo; Wooten, Will <WWW:
                                                                                                                                  _

                        Cc:                             mm
                                                              Nev, Adam <Ari=m
                         Hill-DA, Michael      <WW                                          '               '



                        Subject: RE: Follow up


                        [External Email: Use caution when clicking on links or opening attachments]

                        Good afternoon, Brian,                                                  _




                        lwanted to touch base with you to see if we could speak again Could you get on the phone tomorrow afternoon any time after
                                      '        '
                        3. 00?
                        Thank you,
                        Donald


                        F. McDonald Wnkoford
                        Chief Senior Assistant District Attorncy
                        Fulton County District Attorney’s Oﬂicc
                        (404) 375-0281
                        <imageOO7,png>

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                        From Wakeford, FMcDonald
                        Sen Thursday. May_12, 2022 4:14 PM
                                                               (WWW?
                                                                                                                                      (W:
                    '
                        T        mcevoy®bakei1aw. com'
                        Cc:   MW                              Nev. Adam     <Admﬂ4®ﬂﬂmnmmmi Wooten. Will
                        Hill DA Michael        <MWMW
                        Subject: Follow up

                    ,   Good afternoon, Brian,


                        I   am glad we were able to speak this afternoon, and I wanted to follow up on a couple of points.


                        First, we acknowledge your point that your client remains in a cooperative posture. -Additionally, we are open to scheduling an
                        attorney proﬁer and will speak with you to ﬁnd an agreeable date.
                        However, we are unable to agree to push the date of a future voluntary interview past the date of the general election. If a
                        voluntary interview Is take place, it would need to take place much sooner than that
                                            to
                                                                                                                                                                 '
                        We remain available to continue to discuss these issues. The best numbers to reach us are dot-61213253 or 404—612-5921.
                        Sincerely,
                        Donald


                        F, McDonald Wakcfard
                        Chief Senior Assistant District Attorney
                        Fulton County District Attomcy’s Ofﬁce
                        (404) 375-0281
                        <image007.png>

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Case 1:23-cv-03721-SCJ Document 1-71 Filed 08/21/23 Page 82 of 122




        -=ExhibitO
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                             Case 1:23-cv-03721-SCJ Document 1-71 Filed 08/21/23 Page 83 of 122



            Fran!                        W'                  -

            Yn‘                          W                                       .                                                   .
            a:                                                   Mould' Mott M       t Nev Adam' hit-m am r - AM        Mu                         w
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            sneer
                                                             '
                                         as: Follow up
router                                   Wear-damn“ t5,mz "meant



                                                                                                                                 \
        Thank you for your email kind at, please ad\tse the Governor that I have elected to conduct his oluntaryinterview on July 25, 2022. I am happy that we “ere able to reach an amicable date. Please ask the Got emor for a
        convenient time and place, also there will he a court      present. I look forunrd to hearing from you later todaytn that regard. Thank you again sir
        Wade                                                                         reporter

        On Wed, ltm 15,2022 at him AM McB'oy, arm's.                                                                    wrote:

-
            |
                        war:



                        As the District Attorney‘ 5 oﬂioe previously requested we have provided dates for Governor‘ s Kemp‘ s availability and        to schedule an attomey proffertn advame of that meeting to prevth statements and address any
                        evidentiary concerns                                                                                                   agreed



        '                                                                                                                                                 "
                        On Monday, Nathan Wade unilaterally voided allprevious agreements with your ofﬁce indicating that hets "in charge now He further indicated, without explanation, that your omee required "new dates             he \totrld sen e a
                                                                                                                                                                                                                            by today or
                        grand'Jury subpoena on the Governor this week. He stated this was not a threat, but “a fact." In addition to the dates we previome provided Governor Kempts available on July 25,27 and 28.‘



            1           arm. mevay
                        Fame!



                                  ostetler              -



                        117D Punchline Slrael Suia 140“
                                                |




                        Album. GA 30309-7616
                        1' 9| .IM.256.6696


                        W
                        Marianna:

                        B

   From: McEvoy, 13an
   Sent: Monday, June 13, 20124: 4i PM                                                                                                                                                                                            .               -



   To: Wooten, Will                                                          "              ‘

   Cc: Wakcford. FMcDonald                                                                                         Hill- DA, Michael<hdiheﬂillamltancottantguom>; aathanathartdtoﬁnnmmzNcy.Adam <Adantﬂamﬁlﬁtlmnmabtmart>z Rnffcrty.BriauT.
'I shrattmmatnkntnmmn>t Allm. Sonya                                                                                     Zotler Gmcew                          Eanmrtattrrna’lzmnnmuaasaum
   Suhject:l?.E:Followup
                                                    ,
                        Importance: High




            i-Will:
                                                                                                                    t

                        I'rweived a troubling phone call this aﬂemoon‘trorn Nathan Wade “ho advised that, contrary to our previotn discussions and agreement, an attorney proffer has mbccn approved by your ofﬁce ldcspilc your rcquestirtg'dates for
                        such a proﬂ‘cr and Mr. Wakeford coitﬁmting that your ofﬁce is “[oIpen to               an                and will speak with you to ﬁnd an agreeable date"). As we            agreed, such an attorney proffer would he productiw: [or a
                                                                                                    scheduling attorney proll‘er
                        variety or reasons, not least of which to address any evidentiarytssues that may arise                                                                             previously




                Furthermore,
                                Mr. Wade informed us that neither you nor any other Assistant District Aoomey have decision making authority in this case and that that any previous rig-current that the reached with your ofﬁce has no effecL This is
                alarming given the amount of time we hat a spent discussing this matter over the last year. Your oiliee had previously asked for dates for Governor Kemp’ s availability which he provided last it eek. We had heard nothing from your
                oil‘tce until today‘ 5 call from Mr Wade, with whom we had not pret iously spoken Needless to say Mr. Wade's summary rejection of our proposed dates ntrllilication of all previous agreements dramatic change of tone and sudden
                 threat regarding theissuance of a grandJury subpoena this “trek to Governor Kemp'ts disappointing, surprising, and contrary to our previous disemsions with        otl‘tce
                                                                                                                                                                                     your


                        Thanks,
                        Brian



                          tnnArIeEt/ey
            an




                           Mel



                        BakerHestetter
                        '117D Pmdtttee Street ] Su'de 2400
                         Allanhl. GA 30303-7575
                        ‘T 4.404.256.6696
                        Wm
                        ELEM
                        8
                .



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                        ram: Wooten, Wx11<runummmammmmam>
                        Sent: Monday.lune IS 2022 11:59AM
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                                                            WWW?
                )
                        To: McEVoy,Brith
                             Wakcford FMcDonald                                                                    Hitl-DA, Michael                                                             <AWWOL');                             Rnffmy.BrianT
                [Cm                                          >Allen. Sonya WWW;                                         Dollar. Gmcc W <azollnﬁhaketlarmnn>
                        Subject: Re: Followup



                Unfortunately we have another call schalole(d f“ 3 Could on do 2: 45p?




                'Will Wooten (He/Elm)
                'Deputy District Attorney
                    White Collar Crime Unit
                    E   DA‘s LGBTQ+
                                 -
                                    Advisory
                                          .
                                             Committee Ctr-Chair
                    t


                    :
                         Fulton County'District Atlomey‘s Office

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                        11W
                    i
         Case 1:23-cv-03721-SCJ Document 1-71 Filed 08/21/23 Page 84 of 122



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     agent responsible to deliver it to the intended recipient, the recipient is hereby notiﬁed that any review. dissemination. distribution or copying or this communication is'prohibiletL If this communication was re'oeived in error, please
     notify the sender hy reply e-mail and delete the original message                                                                                                                              I




              On Jun 13. 2022, a 1:43, MeEvoy, Brian F.
                                    1




              Will:


              Can we speak at 3pm?



              Thanks. ,

              Brian



              Brian MeEvay
              Pm


              (Mascot .m,
              “70 Peaehtree Shoot |Sulla 1400
              Alhxltz. GA 303094576
              r unuzsssssa




              From: WootmWilll
              Sent: Monday, June 13 202210242AM
              Tn: MoEiWoy.BrianI-‘ Qmmnmhakedmmiw
              Cc: Wakeford;     FMcDomldWWnanmuum                          Hill- DA, Michael                   men°;                              mmaamhmﬁmamNey. Adam <AdmnWteanW;                                            Rattmyjrian
              T.<hmtIenx@.lnkerlamm>_; Allen, Sonya <SnnyaAllmﬂmlianeaunta'mmLX Zollu‘, Grace w                      Malamute?
              Subject: Re: Followup



              Brian, are you able to get on a quick conference call with our team today to nail doun these dates and discuss the attorney proffer issue? We are available all day.




              Best regards,



              Will Wooten (He/Him)

              Deputy District Attorney

              white Collar Crime Unit
              DA’S LGBTQ+ Adv'uory Committee Co-Chair
              Fulton 'County Disuiet Attorney‘s Office

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              reeeitedin error, please notify the sender by reply e-mail and delete the original message.




                      On Jun lo. 2021, at l6:l7. McEvoy, Brian F,   Wm>                         wrote




                      Will:



                      Following up our discussion from last Week. subject to our further discussions, should your ol'ﬁee require additional information from Go'vemor Kemp, he can be available for an interview on August 1", 2““. or 4'”.

                      Among other things, we would like to address the leaks that have been associated m'th this Grand Jury investigation and make sure that appropriate protections are put in place to protect against any unauthorized disclosures.



                      Also, I have not heard bank regarding your availability on June 24 or June 27. Please let me know as we are holding these data.



                      I am happy to discus further at your convenienee.




                      an." MeEvoy
                      Partner
Case 1:23-cv-03721-SCJ Document 1-71 Filed 08/21/23 Page 85 of 122




     <iimn5001
     111D Feaehtrea Street [Sula 2400
     mania. GA 30309-7516
     T ot.404.156.6696

     WW
     new

     Annamaria:




     From: MeEvoy, ErinnF.
                                                  '
     Sent: Friday, June 3, 2022 1:22PM
     To: Woolen, will <Mﬂﬂmlmaninenmuntizaw; ZOIIcr, GmcW                           Wkulaimnp
     Cc: Wakeford, FMcDonold
     Rafferty. Brion'l'.
                                                          Hill-DA; Michael
                                                      Allen. Sonya <59moltemilmmunugumi>
                                                                                                      <MikeﬂillﬁmltiiiimunW: nillliiiiimlmdiot'ianm Nay,
                                                                                                                                                                           Adar'n
                                                                                                                                                                                    WW;
     Subject: RE: Follow up



     Will:



     Thanks for ihe call today. I apologize for any confusion. but ii has been somewhat difficult as we have been spmking with several diffeient people from the Fulton County DA’ 5 olliee since this dialogue began
     in early 2021. As we discussed this aﬂemoon, we had previously agreed with Mr. Wokel‘ord to provide an              proffer on belinlfof Governor Kemp. We are available to          that to your ofﬁce on
     Friday, June 24 or Monday lime 27. Please let me lniow it' either ol‘ these dates “ork for your team       attorney                                                       Iprovide
                                                                                                                                                                                                                      \-



                                                                                                                                                                                              '
 .
     Also. as you requested, we will look for available dates should your ofﬁce mquire additional information on behalfof Governor Kemp. We will have those dates for you next week



     Please let me know ityou have any questions.




     Thanks,


                                                                                             j
     Brian                                                                  >
                                                                                .




     Brian
              ‘
           MeEvay-
     Paﬂnel



     sinngewl .png.
     "70 Peachtlea Sheet [Sula 2400
     Atlanta, GA 30mm: .
     'r .i.mzse.ssaa




     From: Wooten, Will <
     Sent' Thursday, June 2 2022 935 PM
           20““ Gmcew WWW?
                                                                        FMcDomldeamMWmnW HillDA. Michael «WWW>
     TO—
     Cc: MeEvoy,BiianF.                                     Wakcfont,                                                                                                                       nathaniiheiihnﬁnnmm;
     Nay. Adam                                         Refrain}? n'anT Wm>
     Subject: Re. Followup



     Thanks so much, that works great [or us What is the bat number for us to mill?



     Best regards,



     will Wooten (He/Him)
     Deputy District Attorney

     White Collar Crime Unit

     DA‘s LGBTQ+ Advisory Committee Co-Chziir
     Fulton County District Attorney's Office

     W
     AW
     LAW

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     intended recipient, or the agent responsible to delii er it to the intended recipient, the recipientis hereby notiﬁed that any review, dissemination, distnbutioii or copying of this eommunieotionis prohibited. if
     this commimibation was reoeiiedin error, please notifv the sender by reply email and delete the original message

                                                                                                 A


             on Jun 2, 2021, at 18:47. Zoller. Gmee W.   W191]?                     “role:




             will,

             Can you all be available at 1 1:30 tomorrouﬂ



             m;       I



             Grace



                     On Jun 2, 2022, at 6:41 PM, Woolen. W'ill   WW9                                 wrote:

                     Good evening, _
Case 1:23-cv-03721-SCJ Document 1-71 Filed 08/21/23 Page 86 of 122




      '
          We did not receive a response to our e-mail to you this morning. We would like to schedule a call for tomorrow attemoon. Please advise “hat time you are available. Thank you.



          Best regards,



      tWill woolen
                          (He/Hint)
          Deputy Distriet Attorney
                                         ~




          imam Collar Crime Unit-

          DA’s LGBTQ+ Advisory Committee CoChnit'
          Fulton Comtty District Attorney‘s Ofﬁce

     /W
      ’
        W                           _




          W61!

      -   CONFIDENTIALITY NOTICE: This e-mail contains legally privileged and conﬁdential information intended only for the individual or entity named within the message. lithe reader
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          copying ot‘this communication is prohibited. If this communication “as received irt error, plmse notify the sender by reply e-mail and delete the original message



                On Jun 2,    mi, “09:02, Wooten, war            WW                                 winte:

                 Good morning,



                We are completely unavailable today as Mr. Waket‘ord noted We are free all day                   and can be available any time thatis com enient for y ou including
                                                                                               tomon’ou (Friday)
                during the e\' ening ours Please advise what works best. Thank you

                Best regards,



                wm Wooten (He/Him)               3




                Deputy District Attorney

                White Collar Ci-ime Unit

                DA's LGBTQ+ Advisory Committee CoChair
                Fulton County
                                    District Attorney's Oil‘roe
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                W
                W

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                the reader of this message is not the intended recipient, or the                   to deliverit to the intended recipient, the recipientlS hereby notiﬁed that any review,
                                                                                 agent responsible
                dissemination, distribution or copy ing ol‘this communication is prohibited. If this communication was receivedin error, please notify the sender by reply e-mail and delete
                the original message.




                         On Jun 2, 1022, at 08:58, McEvay. Brian F.       Wm>                       wrote:



                         Are you available today at l0arn7



                         an.“ MeEvey
                         FWD!



                         <image001.png>
                         mo Fmehtiae Street] Suite nan
                         Atlanta. GA 303094576
                         1' ct .mgseaess


                         We:
                         maximal
                         51mm



                         From: Wakeford FMcDonaId
                         Sent: Wednesday, June 1.2022258 PM
                                                              Want?
                         T0: McEwy.BrianF WWW:
                                                                          1



                                                                                Hill-DA. Michael
                                                          -
                                                              Ney, Adam                                      Wooten. Will   WW9
                         Sulrjeet: Re: Followup


                     ‘
                         Brian,

                         We are available now and will be until close ofbusiness If we are not able to speak today, it is important that we speak before the end of the ueek. Our
                         schedulers wide open all day Friday Please let me know.

                         Thank you,

                         Donald

                         Sent from my iPhone




                                  ,On Jun 1. 2022, at 9:37AM. Wnketord, FMcDonlIld                                                     tvt‘ote:



                                  Good morning, Brian,

                                  We will be tied up at that time and for much of the day tomorrow, but there‘ 5 a good chance ue could be ﬁnished earlier today. Are there times
                                  wﬂﬂ'tn the alienation \then you are available:l
Case 1:23-cv-03721-SCJ Document 1-71 Filed 08/21/23 Page 87 of 122



           Additionally, we just came ﬁne for a bil and could talk any timd between now and abuul'101l5.



           Donald




           Fmm: MoEvoy,ErinnF.[ﬂlﬂlilD—1lmm@mkﬂlhmml
           Sent; Wednesday, June 1 2022 9: 24AM
           Ta: Hill-DAM:M€1<WW°
                        FMcDomId WW;
           Cc: Wakafoxd
                 ’
                                                       :Woolen, Will   Wm>
                                                                                         nWﬁnnman; Néy, Adam
           Subject: RE: Folltn'vup



           I'm not available at than time. How about 103m iomonou’!



           altar. McEvoy
           Partner




           dung-3004i}:
           mu Paacltuee sum [5m 2400           _

           Atlanta. GA 30303—1676
           1’ 61.404.256.6696




                                           ‘       '
           Fram: Hill- DA.M.ichn:l<      F‘
              h,Wednsdny June 12022 8: 57 AM
           Ti: McEVOy. BnanF WW>

                                                                       Wm?
           Cc: Wukefond, FMcDonald                                                       namanﬁhhamﬁmmamNeyJdam
           <Admﬂsxﬁﬁlllmumxauu>. Wooten. Will
           Subject. Re: Follow up



           Good morning Brian.



           This is lnvastigntor Mike Hill. I just left Donald. l-lc‘s is tied up with Grand Jury at the mommL



           1f agreeable, let‘s plan a call this aﬂcmoon at 1600hxsl




           Advise, thanks.

           Sent [mm my ﬂ’honc



                     On Jun I. 2022. 018:14 AM McEvoy, Brim F. <lzna:k'.t7.l'.&ilm.lunlalkman> wrote:



                     Donald are you nlmilablo today?



                     Thanks,
                     Brian



                     Btlan McEvoy
                     Partner




                     <lmne004my)
                     1110 Peachuw 51mm ISultn 24m:
                     Atlanta. GA 30309-1576
                     T ”104.256.6696




                     From: Wat-aroma FMcDonald
                     Sent: Tuesday. May 3) 7.0222219 PM
                                                         WWW>
                                            WWII?
                                                                                                                  W);
                     Tu: McEvny, BxianF.
                     Cc:  Wm:                            Nay, Adam                                 Wooten. Will
                     HillDA. Michael
                     Subject: RE: Follow up



                     [External Email: Use caution when clicking on links or opening attachments]

                     Good aﬁcmoon, Brian,



                     lunnted lo touch base \lith you to see ill“: could spank again Could you get on tho phone tomorrow aﬂcnno'n any time nﬂcr3100'l

                     Thank you.

                     Donald



                     F. McDonald Wnkcfonl

                     Chief SeniorAssistnnl Disuicl Attorney

                     Fulton County District Allomoy’s Ollie:
                    Case 1:23-cv-03721-SCJ Document 1-71 Filed 08/21/23 Page 88 of 122



i       .                        ,   (404) 375-028l

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                                                                                                                                                                                                                               Inn-II-




                                     From: Wakefoxd FMcDonnld                                  I




                                                                                                                                                                                    <W;
        ~                 -
                                     Sane Thmsday.May 12, 20224: 14 PM
                                     Tn: 'hmmnxﬁhaknlau'mm'                      Wu?
                                                             'Ney Adam <Admﬂmﬂmummmxuuw; Wooten. Will
                                     Hi -DA, Michael         f‘t
                                     Subject: Follow up,



                                     Good ohm-noon, Brian,



                                     I urn glad we were able to speak this BﬁemUOlL and l minted to follow up on a couple of points,




                                     Fixst, m: aclo-Iouledge your point that your: client mains in a coopmtive posture Additionally, “e are open to scheduling on
                                     nttomcy proffer and will speak with you to ﬁnd on agrewhle dale.

                                 .   Haunt/er “e am unable to agree to push the date ofa future volunvnxy interview past the date of the genzml election. If a voluntary
                                     intervicw'IS to take place, it “ould need to take place much sooner than that.
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I




                                     We remain mnilable to continue to discuss these isucs. The best mnnbcrs to mach us In: 404—61 Z~3 253 or 404-612-5921.
l

l
                                     Sincerely.
I


!
                                     Donald
l



I
                                     E McDonald Wakeford
l


                                     Chief Senior Assistant District Anomey

‘
                                     Fulton County Disuict Allomey's Ofﬁce
                                     I         ,
I




                                     (404) 37541281
l




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                                     oi




Wade, Bradley 8: Campbell Firm
2000 Pmwgs Ferry Rd
Suite 1 10
Marietta, GA 30067
Case 1:23-cv-03721-SCJ Document 1-71 Filed 08/21/23 Page 89 of 122




         '
                 Exhibit P
                   Case 1:23-cv-03721-SCJ Document 1-71 Filed 08/21/23 Page 90 of 122



                                      OFFICE OF THE FULTON COUNTY DISTRICT ATTORNEY
                                                  ATLANTA JUDICIAL CIRCUIT
                                           -
                                      .                                                             '

                                                  .


                           _
                                               136 PRYOR STREET sw, 3RD FLOOR
               ;
                                                   ATLANTA, GEORGIA 30303
     -




               Di'smfCt Attorney
                                                                                                   TELEPHONEl4o4-612-4639
                                                                                               ~




                                                                  elite.

'



    ._       June 22,2022




         p   AttorneyvforGovemor Kemp:

             This letter is Written in a'spiiit of cooperation with the
                                                                          Governor and his schedule.
             Fulton County District Attorney’s Ofﬁce has agreed to take the
                                                                            Governor’s sworn recorded-statement on
             July 25; 2022.71’ve attached a subpoena duces tecum to complement the questioning session.

             Additionally, I am rquiesting that the subpoenaed dOcuments bemade aVailable at least 72 hours prior to
             the scheduled date and time of the Govemor’s sworn
                                                                   examination. If any of the documents are not
     .




             produced due to a legal Objection, may I suggest that
                                                                   those documents be provided to Stiperior Court
             Judge Robert McBurney, under seal, at least 72 hours prior to the Scheduled examination date.-

       The attached subpoena has as its primary purpose the examination of the conduct of
                                                                                                former-President          '


       Donald Trump, and those working on his behalf. Also, the District
                                                                             Attomey’s primary interest is to
       discover-what witnesses and docuinents are available that will explain what Was
                                                                                           being said and done
     ‘ regarding
                 the 2020 presidential election. and the efforts to
                                                                    replace the constitutionally elected      electors.
             This letter continues our commitment to accommodate the Governor and his
                                                                                       schedule, and 'to honestly
             discover what former President Donald Trump said5and did in the days following the November 2020
                                                                                                        ‘
             presidential election.

             Sincerely,




             Nathan Wade
             Special Prosecutor
        Case 1:23-cv-03721-SCJ Document 1-71 Filed 08/21/23 Page 91 of 122




                                         STATE‘OF GEORGIA, FULTON COUNTY”?


                                SUBPOENA FOR THE-PRODUCTION OF
                        1




                                     DOCUMENTARY'EVIDENCE
                            '




                                             PURSUANT To O.C‘.‘G.A. s 244343


    gg-TO:                  Governor Brian P. Kemp
    -

                        Ofﬁce of the Governor          _




                '.      206 Washington Street
                        111 State Capitol
                                                   1




                        Atlanta, GA 3033.4


        YOU ARE HEREBY COMMANDED, that laying.
                                                             all-other'business aside, you
        be and‘appear before the Special
                                       Purpose Grand Jury, Fulton County, Georgia,
    ,Hon. Robert C. I, McBurney,Judge,
                                            superior Court of Fulton Cotmty, Fulton ..
_
     County Courthouse, 136 Pryor Street, 3rd Floor, Atlanta, Georgia 30303, to be
     held on July‘25, 2022, at 09:00-a.rn., in‘ the‘Grand Jury
                                                               Room, and to bring with
     you into said location certain documentary evidence to be used .by' the Special
                                                                                                           A




    Purpose Grand Jury in itslinvestigation in the case Of‘IN RE: SPECIAL PURPOSE
     GRAND JURY, CaseNumber-=2022-EX—000024.                                -
                                                                                             -
                                                                                                               '




    The follOwing documentary evidence is hereby subpoenaed:

          '   .1, All writings, reports, memoranda, documentary, electronic, digital, audio, video, or any
                        informational'medium'o'r platform that records and produces an image that represents,
                        explains, and provides context surrounding the‘events-of'the presidential election of ‘
                        November. 2020.

              2.        All writings, reports, memoranda, decumentary, electronic, digital, audio, Video, or any
                        informational medium or platform that records and prOdUCes an image that represents,
                        explains, and provides context‘to the circumstances, events, words, and actions
                    '




                        associated with the 60-days aftermath from November 3, 2020, until January 3, 2021.

              3'.       All writings, reports, memoranda, documentary, electronic, digital,
                                                                                            audio, video, or any
                        informational medium or platform that records and produces an. image that'represents,
                        explains, and provides context to the circumstances, events, words,vand actions.
         Case 1:23-cv-03721-SCJ Document 1-71 Filed 08/21/23 Page 92 of 122




                       Associated With the January 6, 2021, certification of electors and the Capitol rally on
                       that same date and its aftermath.

        The followjig
                              provides—context to the requested                  and phVsical evidence:
    -




                                                                   documentary

           ‘
               A. Explanations of former President Donald Trump and his representatives and persons
                  working on behalf ofthe president’ 5
                                                             interests

               B.      Any document that explains what former President Trump was thinking or doing- or
                       those working on his
               ‘




                                            behalf.

               C.      Logs of the‘telephoneicalls from former President Trump or anyone representing him'or
                       his interest.                   ~




               D. Electronic mailings (emails, text) letters, and documents
                                                                            regarding former President
                       Trump’ 5 efforts, his representatives and individuals, and organizations attempting to
                       influence the results or outcome of the 2020
                                                                      presidential election.

               E.      Audio and video recordings of witnesses, their statements and memories that provide
                       context and understanding Ofthe 2020 presidential
                                                                           election.
               F.      Correspondence and communications WIth state officials,- federal officials, and others to
                       explain the condUct of the parties involved in the presidential election.
                   '




         HEREIN FAIL NOT, under the penalty of law by authority of the Hon. Robert C.                              .




        fI. McBurney, Judge, Superior Court of Fulton
                                                      County, Georgia,
>
         this the L2 ; day of     puma.     jut, 2022.

                                                                  Cathelene “Tina” Robinson
                                                                  Clerk of Superior Court
                                                                                                   '




                                                              .




                                                                  (404) 613-5313

        Subpoena issued by:




        Special Prosecutor
        Special Purpose Grand Jury, superior Court of Fulton County
Case 1:23-cv-03721-SCJ Document 1-71 Filed 08/21/23 Page 93 of 122




                Exhibit Q
                                                            ‘
                     Case 1:23-cv-03721-SCJ Document 1-71 Filed 08/21/23 Page 94 of 122



     from:                     W
                               mm
                                                              Wm
     rvi
     Cc      ,                                   'W                                   More WIII:               Am           menu;     Emma:
     smug: .                   RE. Foibwup
     om:
     Animus
                               wamnymmamm
                               W
                                                                                                                                                                                                                                         ‘
                                                                                                                                                                  -

     Nathan:                                        -




    i am reaching out to discuss the parameters of Governor Kemp's scheduled voluntary witness interview. As you are aware, we had previously reached an agreement no discuss these issues during an attorney proffer with the Fulton County

    District AttomeYs Office (the ”Ofﬁce'), but unfortunately, you unilaterally and inexplicably canceled that proffer session, voided all of our previous agreements with the Office, noted that under no circumstances would an attorney proffer
    take place, and failed to respond to the below email concerning this Issue. Therefore, I'm outlining our concerns and corresponding iequirements below to avoid any evidenu’ary issues or inadvertent disclosure of privileged information.
                                                                                              ’         '                     d h '
    This is particularly important in light of the state's refusal to           without court              ,a                            privilege during Mr. Hall's recent Grand Jury appearance despite the fact that we had put the Ofﬁce on
                                                                                                                                                                                                                  —-

V



     notice of this privilege in advance. Given the politically motivated nature of the cm ce's ongoing investigation and (the fact that we are now in an election cycle In Georgia, we are also concerned about potential leaks of substantive
     testimony.           .



           such, the below measures are necessary to protect against these realitiesi
     As

           1 Both parties will
                                     enter
                                           into a protective order that will prohibit public disclosure of any
                                                                                                               content of the'Interview. Given the leaks             this investigation,
                                                                                                                                                                                         we believe this'Is necessary to
                                                                                                                                                                                                                         protect
                                                                                                                                                                                                                                 the integrity of
                                                                                                                                                                                                                                                  the
                                                                                                                                                                                                                                                      investigation
                     and to maintain grand iury secrecy.                                                                                                 surrounding
           2. Governor Kernp 5 Voluntary witness interview [5In lieu of, notIn addition to, a grand Jury appearance. We have beenIn discussions with the District Attorney/s ofﬁce to coordinate a witness interview since Apnl 2021. The delay in
                     scheduling thatInterview has hoen solely at the direction of the District Attorney‘s ofﬁce Governor Kemp should not be prejudiced by this delay by being hauled into the Grand Jury months before a closely contested election. As
                 4   such, Governor Kemp will only sit for the witness Interview if the District Attomers ofﬁce agrees not toIssue a grand Jury subpoena for testimony.
           3 As suggested by Judge McBumey when dealing with similar privilege                                 Mr. Hall' 5 Grand Jury testimony, questions and topics mu st be disclosed prior to the interviewgiven the signiﬁcant evidentiary issues                with
                                                                                               Issues during                                                                                                                                             associated
                     the requested testimony of a sitting Governor.
           4. Neither party will make a video oraudio recording of the Interview.
           -5. Pending the Court's ruling on the outstanding Motion for Disqualiﬁcation (which raises ethical concerns regarding your conduct), you will not participate in any interview of Governor Kemp.


     Please let me know if‘the DistrictAttomeVs ofﬁce is amenable to these requirements and provide the questions in writing by noon on Thursday, July 21, 2022. I look forwarded to hearing from you.


     Regards,
     Brian
                                                          ,

    an... McEvoy
     Partner

                                                                                  ,
    BakerHostetler
     1170 Poaohﬁee Street [Suite 1400
    Adam, GA 303097676
     1’ “JO-1.258563%




    W
     e                                                                                                                                                                                             i




    From: McEvoy, Brian F.
    Sent: Monday, June 13 2022 4: 41 PM
    To: Wooten, Will (WilltWooten@fultoncountyga.gov>
    Cs: Wakeford, FMc Donald <FMcD_onald.Walteford@fultoncountyga.gov>; Hill-DA, Michael <Mike..                                            l”no;                       mm:
                                                                                                                                                                              Ney, Adam (Adam          ,                empitafferty, Brian T.
                                             Alien, Sonya Qunya,                         on
                                                                                                 -zgr|er, 5.3“ w,                        rum); F: ni wrn; ru                   m.

     Subject: RE: Follow up
     importance: High

     WIII:


     I   received a troubling phone call this afternoon from Nathan Wade who advised that, contrary to our previous discussions and agreement, an attomev proffer hasaeve: been approved by your ofﬁce (despite your requesting dates for such
     a proffer and Mr. Wakeford conﬁrming that your ofﬁce is '[o]pen to scheduling an attorney
                                                                                                                 proffer and will speak with you to ﬁnd an agreeable date”). As we previously agreed, such an attorney proffer would be productive for a variety
     of reasons, not least of which to address any evidentiary Issues that may arise.


     Furthermore, Mr. Wade informed us that neither you nor any other Assistant District Attorney have decision making authority in this use and that that any previous agreement that we reached with your ofﬁce has no effect. This is
     alarming given the amount of time we have spent discussing this matter over the last year. Vour ofﬁce had previously asked for dates for Governor Kemp’s availability which we provided last week. We had heard nothing from your ofﬁce
     until todaYs call from Mr. Wade, with whom we had not previousiy spoken, Needless to say, Mr. Wad e's summary rejection‘of our proposed dates, nuliification of all previous agreements, dramatic change of tone and sudden threat
     regarding the issuance of a grand jury subpoena this week to Governor Kemp is disappointing. surprising, and contrary to our previous discussions with your ofﬁce.

    Thanks,
    Enan

     erizn McEvoy
     Partner

    BakerHostetier
     1170 Panama street [Suite 2400
    Ada ma, GA mowers
    T «amassssee




    From: Wooten, Will <
    Sent: Monday, June 13, 2022 1159 AM
                                                                                          '
    To: McEvoy, Brian F.                                                                                                                                                                 . .

                                                                                              Hill-DA. Michael Mite                     m0:                                   Nev. Adam Mm
                                                                                                                        '
    Cr: Wakeford. FMcDonald                                                                                                                                             WW                                              mo,- Rarfertv. Brian T.
    <bmﬂem®bmdammx Allen. Sonya WWW;                                                               Zuiler. Grace W- <ezdist@halssdaw.com>
    Subject: Re: Follow up

     Unfortunately we have another all scheduled at 3. Could we do 2:45p?

    -Thanks again,                                                                >
                                                                                                                                                          ,
    WW


     Best rega rds,


    Will _Wootel| (Hal Him)
    Deputy District Attorney
_
    White Collar Crime Unit
    DA’s LGBTQ+ Advisory Committee Co-Chair
    Fulton County District Attorneys Ofﬁce


    W
    W
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     responsible to deliverIt to the intended recipient the recipient'Is        notiﬁed that any review, dissemination, distribution or copying of this communication'Is prohibited. if this communication was receivedIn error, please notify the
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     sender by repiy e- mail and delete the original message.            hereby



                     On Jun 13, 2022, at 11:48, McEvoy, Brian F.                                  wrote:
Case 1:23-cv-03721-SCJ Document 1-71 Filed 08/21/23 Page 95 of 122




Will:


Can we speak aLSpm?


Thanks,
Brian


Erlan McEvoy
Partner
                      -'
<imagowlpng>
H70 Poaohtmo Street] Suite 2400
Allznla, GA aoaowm
T naoussasss




From: Wooten, Vlﬁll <
Sent: Monday, June 13, 2022 10:42 AM
To: McEvoy. Brian F. <bmeemxcebakedammm>
CuWakeford, FMcDonald        <WWW;                                          Hill--DA Michael                                                           rom‘   Nev, Adam
                                                                                                                                                                          "                            am; Rafferty, Brian T.
                                                                                                                                                   ‘

<btaﬂmﬂbaketlmsom>z Allen, Sonya WAWW:                                           Zeller. Grace w. <mllec®halsedawmm>
Subject: Re: Follow up'

Brian, are you able to get on a quick conference call with our team today to nail dovin these dates and discuss the attorney proffer issue? We" are available all day.


Thanks,
WW


Best regards,


Will Wooten [He/Him)
Deputy District Anomey
White Collar Crime Unit
DA'SVLGBTQO' Advisory Committee CoChair
Fulton County District Anomeyls Ofﬁce


W
WED-
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error, please notify the sender by reply e—mall and delete the original message.



          Onlun 10, 2022, at 16:17, McEvov, Brian F. <bm§gm®hmﬁamm> wrote:


          wni:


          Following up our discussion lrom lastyveek, subject to our further discussions, should your ofﬁce require additional information from Governor Kemp, he an be available for an Interview on August 1“, 2"“, or 45".
          Among other things, we would like to address the leaks that have been associated with this Grand Jury investigation and make sure that appropriate protections are put in place to protect against any unauthorized disclosures.

          Also, have not heard back regarding your availability on lune 24 oriune 27. Please let me know as we are holding these dates.
                  I




          lam happy to discuss further at your convenien ce.

          Thanks,
          Brian




          Brlan MnEvoy
          Pannnr

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          ma Peachbnu sweat |5uilo 2400
          Atlanta GA mosh-Is
          r namesassss


          51mm


          From: McEvoy, Brian F.
                                             '
          Sent: Friday, lune 3. 2022 1:22 PM
          To:Wooten.WllW12ﬂ@mnmﬂmimZ°"Er GraCEW. <5ml|ec®hakedamm>
          Cc=Wakeford. FMcDonaid    <mmmmmmmmmam:                   Hill- DA Michael<Mikeﬁﬂi©ﬂmnunWI                                  Wm                           Ney,Adam     <Wmmw;                              Rafferty.
          Brian T. <btaﬂemﬂhaigdawm>; Allen. Sonya <Smnausoﬂlultunsqmmeam>
          Subject: RE: Follow up

          Will:

          Thanks for the'call today. l apolog'ze for any confusion. butit has been somewhat difﬁcult as we have been speaking with several diflerent people from the Fulton County DA's ofﬁce since this dialogue began in
          early 2021. As we discussed this afternoon, we had previously agreed with Mr. Waketord to provide an attorney proffer on behalf 0! Governor Kemp. We are available to provide that to your ofﬁce on Friday,
                  or Mondaylune 27. Please let me know it either of these dates work for yourtearn.
          lune‘24
          Also, asyou requested, we will look for available dates should your ofﬁce require additional information on behalf 0! Governor Kemp. We will have those dates for you next week.

          Please let me know it you have any questions.


          Thanks,
          Bnan


          Brlan MeEvoy
          Partner

          <imagn001.png)
          mo Peacma Street [Sims 2400
          Atlanta. GA 30309-7676
          T 01.411415556W
Case 1:23-cv-03721-SCJ Document 1-71 Filed 08/21/23 Page 96 of 122




 From: Wooten, WiIi   <WW
 Sent: Thursday, June 2, 2022 9:35 PM
 To: Zoller, Grace W. <uoiiet@baked.amm>
  C6: McEvov. Bnan F <bmcemﬂbakedamm>:Wakefurd. FMcDenald                    ﬂammaWWm;                                         HillDA. Mich'ael <Mkeﬁmam1mncounmm: namanmhmbcﬂmmm. Nev. Adam
  <Adammu©ﬂrimmum>; Rafferty. Brian T. <bmﬂemﬂbakeclawmnp
 Subject: Re: Follow up

 Thanks so much, that works great for us.-Whatis the best nurriber for us to call?


  Best regards, ,


  Will Wooten (Mel Him) ‘
  Deputy District Attorney
  White Collar Crime Unit
  DA’s LGBTQ+ Advisory Committee CQChair
  Fulton County'District Attorneys Ofﬁce


 W
 W
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  intended recipient, or the agent responsible to deliver'It to the intended recipient, the redplent is hereby notiﬁed that any review,                                                          is           If
  this communication was received In error, please notify the sender by reply email and delete the original message.



        On Jun 2. 2022, at 13:47. Zoller, Grace W. <ezoiietﬂhatedmmm> wrote:



        Will,

        Can you all be available at 11:30 tomorrow?


        Thanks,‘
        Grace


                Oniun 2. 2022. at 6:41 PM, Wooten, \MII     <Woncnunmam WIDIE:
                                          '
                Good evening,
                                                                  1




                We did not receive a response to our e-mail to you this morning. We would like to schedule a call for tomorrow afternoon. Please advise what time you are available. Thank you.

                Best regards,


                Wili Wooten (Ma/Him)
                Deputy Disn'ict Attorney
                White Collar Crime Unit
                DA's LG BTQ+ Advisory Committee CoChair
                Fulton County District Attorneys Ofﬁce
                13W
                Allentown}
                WEED
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                message is not the intended recipient, or the agent responsible to deliver‘It to the Intended recipient, the recipientIs hereby notiﬁed that any review, dissemination, distribution or
                copying of this communication is prohibited If this communication was received in error, please notify the           by reply email and delete die original message.
                                                                                                                              sender


                      On Jun 2, 2022, at 09:02, Wooten, Viﬁll   WWW                                    wrDIE:

                       Good morning,


                      We are completely unavailable today as Mr. Wakeford noted. We are tree all day tomorrow (Friday) and can be available anytime that is convenient for you including
                      during the evening'ours. Please advise what works best. Thank you.

                      Best rega rds,


                      Will Wooten (He/Him]
                      Deputy District Attorney
                      White Collar Crime Unit
                      DA's LGBTQ+ Advisory Committee CoChair
                      Fulton County District AttomeYs Olﬁce
                      W
                      W
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                      CONFIDENTIALITY NOTlCE:This e~rnal| containslegally privileged and conﬁdential Information intended only for the individual or entity named within the message. If the
                      reader of this message Is not the Intended recipient, or the agent responsible to deliver it to the Intended recipient, the recipient Is hereby notiﬁed that any review,
                      dissemination, distribution or copying of this communication Is prohibited. If this communication was received in error, please notify me sender by reply e-mail and delete
                      the original message.



                                On Jun 2, 2022, at 08:58, McEvoy, Brian F. <mﬂm®akgdamum> wrote:



                                Are you awilable today at 10am?

                                Brian McEvoy
                                Pannur

                                <image001.png>
                                n10 Pentium: sum Su'no 2:00
                                                    1


                                Alznﬁ. GA 301305-7676
                                T 4| .4M256.6696



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                                                                               ’
                                From:            FMcDonald <FMrnnnnlI-i                                 gm)
                           .
                                Sent: Wednesday, lune 1, 2022 2:58 PM
                                To: McEvov, Brian F.                               Hill- DA, Michael
                                Cc: nathanﬂthewbcﬁmm: Nev. Adam                                                 Wooten, Will   WW
                                Subject: Re: Follow up

                                Brian.
                                We are available now and will be until close of business lfwe are not able to speak today, it is Important that we speak before the end of the week Our
Case 1:23-cv-03721-SCJ Document 1-71 Filed 08/21/23 Page 97 of 122



          schedule is wide open all day Friday. Please let me know.
          Thank you,
          Donald

          Sent from my lPhone



                On Jun 1, 2022, at 9:37 AM, Wakeford, FMcDonald            <£M§Dgnamkgmdﬂmlmmm wrote:

                Good morning, Brian,
                We will be tied up at that time and lor much at the daytomorrow. but there‘ 5 a good chance we could be ﬁnished earliertoday. Are there times
                earlier In the afternoon when you are available?

                Additionally, we Just came free for a bit and could talk any time between now and about 10:15.

                Donald


                From: McEvov. Brian F
                Sent: Wednesday, June 1, 2022 9:24 AM           ,
                To: Hilton, Michael <Mikeﬂ1uﬂ-miltmmunmeam
                pr. Wakelord, FMcDonald  <£Mmanalmwmfardﬂmlmmunmzualpl                           WWW                      Ney, Adam
                (WW;                                       Wooten,Will<lAau.lALooten@mnonmunma.gm¢>
                Subject: RE: Follow up

                I'm not available at that time. How about 10am tomorrow?


                Evian McEvoy
                Patina!

                <irnaneOO4JP9>
                1:70 Poachtme Street [suite 2499
                Atlanta. GA 30309-7676
                1’ OLAMJSSISGSS




                From HIlI-iJA, Miehael<mkgmﬂm1mummw
                Sent: Wednesday, June 1. 2022 8:57 AM
                To: McEvoy, Brian F. <Wmmm)
                Cc: Wakeiord, FMcDonald <FMrnnn=|ri                               III mum:   arm; nathanﬂn         rnm- Ney, Adam

                                                                          (WW
                                    I


                                                          i Women, Will                                        1




                :ublect: Re: Follow up

                Good morning Brian,


                This'is Investigator Mike Hill. just left Donald. He's is tied up with Grand Jury at-the moment.
                                                |




                If agreeable, let’s plan a call this aftemoonat 1600hrs.‘


                Advise, thanks.

                Sent from my IPhone



                      'On Jun 1, 2022, at 8:14 AM, McEvoy, Brian F. (WMMDP                            wrote:



                       Donald are you available today?


                       Tha nks,
                       Bﬂan


                       Brian McEvoy
                       Faiths:

                       <|rnagem4m>
                       mo Peachtzao sneer [Suite 2400
                       Mama, Gamma
                       T ¢|.404.256.6696




                       From: Wakeford, FMcDorIald          WWW
                       Sent: Tuesday, May 31, 2022 2:19 PM
                       To: McEvoy, Brian F. <hm£§m®l1als=timmm>
                       Cc:                          'an     Nev. Adam «Wm                            m0: Wooten. Will <WW:
                       Hill- DA, Midiael
                                           (WW
                       Subject: RE: Follow up



                       [External Email: Use caution when clicking on links or opening attachments]

                       Good afternoon, Brian,


                       I wanted to mum base with you to see il we could speak again. Could you get on the phone tomorrow afternoon    time after
                       3: 00?
                                                                                                                                   any
                       Thank you,
                       Donald


                       F. McDonald Wakeford
                       Chief Senior Assistant District Attorney
                       Fulton County District Altomey‘s Office
                       (404) 375—0281
                       <image007.png>
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                       CONFIDEWNGI‘ICﬁ“                              Him     ‘I                                     I   II . . L       ml     'oontain
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                       unadlmrnu'u shidly prohibited.




                       From: Wakeford, FMcDonald
                       Sent: Thursday, May 12, 2022 4:14 PM
Case 1:23-cv-03721-SCJ Document 1-71 Filed 08/21/23 Page 98 of 122



             To: 'bmcevav@bakenaw com“            <Wm>
             Cmnathanﬂmmhcﬁnnm Nev. Adam <AdamWmW;                                                         Wooten. Will <mmmmeanlmnmnmeam;
             Hill- DA Mirhael    (WWW
             Subject: Follow up

             Gucd aftemnon, Brian,

             I   am glad we were able to speak this afternoon, and lwanted to follaw up on a couple of points.


             Flrst, we acknowledge your point that your client remains In a cooperative posture. Additionally, we are open to schedullng an
             attorney proffer and will speak with yuu to ﬁnd an agreeable date.
             Hnwever, we are unable to agree to push the date of a future voluntary interview past the date of the general elecnon. if a
             valuntary interviewIs to rake place, it would need to take place much sooner than than

             We remain available to continue to discuss theseIssues. The best numbers to reach us are 404 612-3253 or404- 612-5921.
             Sincerely,
             Donald


             F. McDonald Wakefcrd
             Chief Senior Assistant District Attomcy
             Fulton County District Attorney’s Ofﬁce
             (404) 375-0281
             <lmageOO7.png>

             MNHDENTIAUWNUHCE: ""                             'lhu mail
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             attachment. Hyul m       m                 ”amt.
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Case 1:23-cv-03721-SCJ Document 1-71 Filed 08/21/23 Page 99 of 122




         ‘




                Exhibit R
               Case 1:23-cv-03721-SCJ Document 1-71 Filed 08/21/23 Page 100 of 122



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                                                                            r
        m              mum                                       <om-1 u.       .w
        5.1mm          Harem»
    >
        om:            wan-shy, )wzu, 2m 6:15 u m


        Greetings Mr. McEvoy:


        My spécial counsél in an effor'tto be a gentleman and an ofﬁcer of the cou’rt has been far- too polite.

        The email you, have sent is offensive and beneath an'ofﬁcer of the court. You are both-wrong and confused.
V




        Let’s discuss some of the ways you are wrong.


              (1)    This is NOT a politically motivated investigation. It is a criminal investigation and often at the end of criminalinvestigationsipeople
                     are cleared and often they go to prison. You repeatedly referring to it as a politically motivated investigation, does not‘make it so. In
                     fact, you repeating it so many times only proves you havebecome very comfortable being dishonest.          .




          (2) There has not been one leak of the Special Purpose Grand Jury. In fact, much to my dismay attorneys of witnesses have disclosed
        witnessesrwere summoned and spoken publicly. However, understand they legally can do both.
                                                                                     |




              '(3)   You stating it is an election cycle is without merit as you have purposely delayed to get us to our current date. have publicly stated
                                                                                                                                         |                       |




                     will not do anything publicly during the Early Voting. You can rely on those words. Rely on these words as well — this'Is a serious
                     criminal investigation and witness who testify must do so               truthfully.‘
        Please, be advised, l have a great deal of respect for the position Governor Kemp holds and a fondness for his wife due' to her advocacy for
        Human Trafficking victims. Due to those facts, had directed my staff to bend over backwards to acc0mmodate him.
                                                                 |




        Now let's discuss your confusion:


              _(1)   In criminal proceedings of this nature proffers are not done by my ofﬁce. We were giving Governor Kemp the courtesy of having his

                     lawyer present for a taped interview to avoid him having to testify live. ln any case, this offer is now off the table. He will be formally
                     summoned to the SPGJ and you will be welcome to wait for him in my Ruby Bridge Lobby while he testifies.
                                                                                                                                                                 '




         (2) Judge McBurney'Is the only one with authority to outline'Issues of evidence and privilege. The State will strictly comply to any order
                     Judge McBurney sets for your clients testimony.


        Please tell Governor Kemp to look at his schedule and choose August 10,1_,1 16 17 18, 23,24 or 25th. We will forward a subpoena to your
        attention of the date of his choosing. On the day he chooses, personally Will question him before the Special Purpose Grand Jury. Your
                                                                                         |




        client'Is a mere witness that needs to come and tell the truth. ThatIs all we have ever asked                the Governor.
                                                                                                                of

        We have been working with you in good faith for months. You have been rude and even disparaging to my staff. You have been less than
        honest about conversations that have taken place. Despite, the way you have behaved, we have continued to work with you out of

        deference notfor you, but out of deference for my Governor. There'
                                                                               Is an old adage that people take kindness for weakness.
                                                                                                                                        You have
        taken my kindness as weakness and you have continUally treated this investigation with disdain. Despite your disdain this investigation
        continues and will not be derailed by anyone‘ s antics. Your client from all public accounts surrounding this matter has acted honorably—
        you have failed to do the same.


        Due to the fatt this testimony will now be taken before the SPGJ, see no need to address your utterly ludicrous propositions referring to
                                                                                             |




        the manner in which you will direct an interview be conducted.


        If you need to speak with me about anything in this email feel free to email me or contact me on my personal cell at (404) 552-0065. As we
        move forward with this process and seekJustice and truth for the citizens of the State of‘Georgla. am going to demand that you treat my
                                                                                                                       |




        staff with the same level of respect they have shownlyou. Please note we will continue to show you with not only respect, but kindness.
        However, l as the District Attorney, of the largest county in Georgia have no intention on allowing you to abuse public servants that serve
        honorably.
    I




        Thanks for your time and consideration to this matter. l will look to hear from you by Friday at 5 pm regarding Governor Kemps availability
        on proposed dates.


    '_Yours in Service,
        Fani T. Willis
        District Attorney
                   Case 1:23-cv-03721-SCJ Document 1-71 Filed 08/21/23 Page 101 of 122




Atlanta Judicial Circuit
 Front: Nathanl Wade lmailto:natl‘tan@thewbcﬁrm,com]
=sent: Wednesday, July in 2022 4-11 PM
                                               '

                                                                                                                                                                                                                                    -
 To: McEvov, Brian F. <bmcevoy@balterlaw com>
c=. Wooten, Wlt <th. Wooten@fultoncountygagov>;                                                                                                                                     mo; Ney, Adam «dam                        um; Rafferty, Brian 1’.
                                                                                                                                                               '

                                      i         Wakeford, FMcDonald (FMcDonald,Wakeford@fultonccuntygagov); mam. Michael (Mike.                                                                               .
                                                                                                                            ' '
                                                              an»; Zoller, Grace W.                                                                                          Hnv>                        '
                   fnm ;A|ten,          ,                                                         "‘3“ ;Wi|||s, Fani <Far|l
some: RejFollow up
can:
The condescending and confrontational tone of your email brings patne andconcern us to whether your intentions are to mote fontard \tith an amicable voluntary statement or is this just a political strait by you that' sjust for show.
Please refrain from mischaractcrizing the conversations of those representing the Fulton County District Attomey’s ofﬁce, you have done this on several occasions nod “13 have elected to generouslyignore your hsscnions. Having said
that, if you uould prefa‘ Goiernor Kemp tippmi' in pason before the Grand Jury you should exercise enough professionalism and decorum to state such. Acoordingly, please comply with the previously subpoena for documents and we
can discus                             details tiller“ands.
                             further
Thank you kind sir

On Wed, Jul 20, 2022 at 3:58 PM McEvoy, Brian F.                                                     wrote:

                 Nathan:



                 lam reaching out to discrns the parameteis of Governor Kemp‘ s scheduled voluntary witness interview. As you are aware, i“: had previously rmchcd an agreement to discuss thme'issues dining an attorney proffer with the Fulton
                 County District Attorncy‘ 5 Ofﬁce (the “Oﬁioe‘j, but unfortunately, you unilaterally and inexplicably canceled that proffer session, voided all of our previous agecments with the Ofﬁce, noted that under no circumstances would an
                 attorney proffer take place, and failed to rospond to the below email concerning thisissue Therefore. l'tn outlining our concerns and corresponding requirements below to at' old any evidentiaryissues or inadvertent disclosure of
                 privileged information. This'is paniculariy important in light of the state' 5 refusal to acknowledge. without court intervention, a fundamental and obvious privilege during Mr. Hall’ 5 recent Grand Jtiry appearance— despite the fact that
                 no had put the Ofﬁce on notioc of this privilegein advance. Given the politically motivated nature of the Oll‘ cc 5 ongoing investigation and the fact that “e are now in an election cyclein Georgia, “at are also concerned about potential
                 leaks of substantive testimony.



                 As such, the below-measures are nemary to protect against these rralitiu:


                   '
                        i Both parties will enter into a protective order that will prohibit        disclosure of any content of the interview. Given the leaks surrotmding this investigation, me believe this'is necessary to protect the integrity of the
                          iraestigation and to maintain grandjury smrecy.                    public
                       2 Governor Kemp‘ s voluntary witness interview is in lieu of. notin addition to, a grandjury appearance We have been'In discussions “ith the District Attorney 5 ofﬁce to coordinate ti witness interview since April 2021. The delay
                          in scheduling that intcivicw has been solely at the direction of the District Attorney‘ 5 ofﬁce. Governor Kemp should not be prejudiced by this delay by being hauled into the Grand Jury months before a closely contested election.
                                                                                                                                    to
                          As such, Governor Kemp will only sit for the witness interview if the DistrictAttomey‘ 5 ofﬁce agrees not issue a grandjury subpoena for testimony.
                       3 As suggested by Judge McBiirney when dealing with similar                   issues during Mr Hull's Grand Jury testimony, questions and topics must be disclosed prior to the interview git co the signiﬁcant evidentiaryissues
                          associated with the requested testimony of a sitting Got emor.privilege
                          Neither party will make a video or audio recording of the inten-icw.
                          Pending the CoIa1‘s ruling on the outstanding Motion for Disqualiﬁcation (which raises ethical concerns regarding your conduct), you will not participate in any interview of Govemor Kemp. .



                 Please let me know if the District Attomey‘s ofﬁce is amenable to those requirements and provide tho questions in writing by noon on Thursday. July 21, 2022. I look formatted to hearing from you




                 Regards.

                 Brian



                 Brian Mcsw‘y
                 Funnel   .   .


                 BalerHostetter
                 “7D Foachlleo Street ISutto 2400
                 Athnta. GA 30309-1576
                 1’ 4.4042555“




                 From: cEvoy, Brian‘
                 Sent: Monday, June 1320224911 PM
                 T01Wooteri, Will
                 Cc Wnkcfoid, FMcDonatd                                                            Hill- DA. Michncl   WWW.                                                             AMWW.                                      Raﬁcrtyﬁﬁaul'
                 WHIP;                                Allen.   Sont'aWmﬁﬁiunmmW: Znllrr, Gmcew                                                    EanMltisDAmttemmaam
                 Subject: RE: Followup
                 Importance: High

                 Will:

             ’1 received a troubling-phone call this aﬁernoon from Nathan Wade who advised that, contrary to ota previous discussions and agreement. an attorney proffer has ante: been approved by your office (despite your requesting dates for
              such a proffer and Mr. Wakeford cont'a-ming that your ofﬁce is “[olpen to scheduling an attorney proffer and will speak with you to ﬁnd an agreeable date"). As or: previously agreed, such an attorney proffer would be productive
                                                                                                                                                                                                                                       '
                                                                                                                                                                                                                                                  for a
              variety of reasons, not least of vitich to address any evidentiary issues that may arise.

                 Furthermore, Mr. Wade informed us that neither you nor any other Assistant District Attomey have decision making authority in this case and that that any previous agreement that we reached with your office has no effect. This is
                 alarming given the amount of time we have spent discussing this matter over the last year. Your office had previously asked for dates for Governor Kemp‘s availability which we provided last “oak. We had heard nothing from your
                 office until today’s call from Mr. Wade. with whom we had not previously spoken. Needless to say, Mr. Wade‘s summary rejection of our proposed dates, nulliﬁcation of all previous agreements. dramatic change of tone and sudden            -



                 threat regarding the issuance of a grandjiay subpoena this uoek to Govtnnor Kemp is disappointing, surprising, and contrary to otir pretious discussions with your office.



                 Brian
                                 '
                 Etlan MeEvny
                 Fauna:

                 Batertiostetler
                 H1O Puaohlree Street [Suite 1“”
                 Alkali. GA 30303-716
             .   T 91 £14256. 655

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                 9
                 {ammonium


                                             w   N


                 from: Wooten, Will


                                                                                                                                                                                              WWW:
                 Sent: Monday,lunc 13, 2022 it: 59AM
                 To: McEvoy.Briant-‘ .W>
                 Ct: Wakefonl. FMcDonnld                                                           Hill-DA, Michael                                    nmhanmheuhcﬁmeai; NEy.Adam                                                  MW. Brian T
 -
                 Wm                                  >-Allen. SonynQomtaAttmanttmmtaaaaeaP; Zottcr.GmoeW-               WW>
                 Subject:      c: Followup

     l
                 Unfammately “c have another call scheduled at 3 Could “e do 2: 45p?

                 Thanks again.
     'W
     |




     l


     i

                 Best regards.
         !



         i       Will Wooten (He/Him)
                 Deputy District Anomey
     1           White Collar Crime Unit                                                       \
     5
                 DA's LGBTQ+ Advisory Committee mcma
         i
                 Fulton County District Attomey‘s Otl’toc
  Case 1:23-cv-03721-SCJ Document 1-71 Filed 08/21/23 Page 102 of 122



W
:AtlantaJiAJDiﬂl
W
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agent responsible to deliverIt to the intended recipient, the recipient is hereby notiﬁed that any review dissemination, distribution or copying of this communication is prohibited If this communication
                                                                                                                                                                                                           was receivedto error, please
notify tin                    by reply e-mail and delete the original message.                                                                                                                                            _

             sender


      on Jun 13. 2022. at 11:48. McEvoy. Brian F. <hmmmﬁaakzdaiimalm “rare:


      Will:

      Can we speak at 3pm?                                  .-




      Thanks,
      Brian

      aIIuI MeEvoy
      Finn!"
      dungewl 4)" a’
      “7D Feachlmo Silent ISuﬂa zaoo
      Alhrllﬂ. GA 103094575
      7 01.4M2565595



      W
      From Wooten,               wwill—
                                   n                                          >
      Sent: Monday June13,202210:42/\M
      To: McEvoy, BrianF                   Wm>
      Cr. Wakeford, FMcDomld                                                                   Hill— DA, Michael                                    nathanmhcadnﬁmmNcy,Adam
      T.<hm£tmaihakedammm>; Allen. Sonya                                                               Zollnr, Gracew.   Wm>                                            .
                                                                                                                                                                                                .~
                                                                                                                                                                                                                              ~




      Subject: Re: Follow up

      Brian, are you able to get on a quick conference call with our iﬂim today to nail dotvn these dates and discuss the atiomey proffer issue? We are available all day.

      Thanks,
      WW'


      Best regards,

      Will wIIIIren (He/Him)
      Deputy District Attorney
      White Collar Crime Unit
      DA‘s LGBTQi- Advisory Committee Co—Chair
      Fulton County District Attorney‘s Ofﬁce
      W                            1

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      CONFIDENTIALITY NOTICE: This e-mail contains legally privileged and conﬁdential information intended only for Lht:     ' individtail
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                         On Jun 10, 2022, at [6:17, McEvoy, Brian        F Wm>                       “mic:

                         Will:

                         Following up our discttso’on from last week. subject to our further discussions, should youroﬂ‘tce require additional information from Governor Kemp, he can be available for an interview on August l", 2"“, or 4'”.
                         Among other things, WE would like to address the Inks that hate been associated with this Grand Jury investigation and make sure that appropriate protections are put'In place to protect against any mauthorizcd disclosures

                         Also,1 have not heard back tegai'ding your availability on June 24 or June 27. Please let me how as we are holding these dates

                         I am happy to discuss fut1her at your convenience.

                         Thanks,
                         Brian



                     .   nIIIII McEvoy
                         Partner

                         <lmaguwt .m>
                         117a Peachlteo Street Sum, 1400
                                             |




                         Atlanta, GA mos-1615
                         T «masseuse



                         Mm:

                         From: McEon,BrianF.
                         Sent: Friday. June 3, 2022 112 PM
                         Tn: Wooten. Will                                           Latter. Gmce W   WW>
                         Ce: Wakeford, McDonald        WW9;                                          Hill--DA. Michael                                    Ilalhaiiﬁtheuheﬁmmm; N51. Adam
                         RaITerty, Brian T. Wop;                          Alltn. Sonya   WW
                         Subject: RE: Followup

                         Will:

                         Thanks for the call today [apologize for any confusion, but it has been somewhat diff cult as “e have been speaking with several dift‘erént people from the Fulton County DA’s ofﬁce since this dialogue began
                         in airly 2021 As we discussed this afternoon, “a had previously agreed with Mr. Wakeford to provide an allomcy proffer on behalfof Governor Kemp We are at ailable to provide that to your ofﬁm on
                         Friday, June 24 or Monday dune 27. Please let me know If elther of these dates Itork for your team.

                         Also, as you requested, we “ill look for available dates should your olTIce require additional information on behalf of Governor Kemp. We “ill have those dates for you next neck.

                         Please let me know if you have any questions.

                         Thanks,
                         Brian

                         oIIan MeEvoy
                         Partner

                         (lmageDOi .pnP
                         117D Paachlmn Siren! link: 2500
             .           Atlanta. GA 303017515
                         T OI 104256.665



                         Wan:

                     .Frum: Wooten, Will                         H
                 '
                         Sent: Thursday, June 2 2022 9: 35 PM
                         To: Zoller, Grace                           ’
                         Ct MOEVOY.BI-ianF.                                      Wakcford, FMcDomld   <WWW;                                          Hiu—DA, Michael                                      Wm
Case 1:23-cv-03721-SCJ Document 1-71 Filed 08/21/23 Page 103 of 122



  Nay, Adam <AdamNe)a     @fultonoountyga gov>; Rafferty, Brian T. dunner!) @bakerlaw eom>
  Subject: Re: Follow tip

  Thanks so much, that works great for us. What is the best number for us to call?

  Best regards,

  Will Wooten (He/Him)
  Deputy District Attorney
  White Collar Crime Unit
  DA‘s LGBTQ+ Advisory Committee Co—Chair
  Fulton County District Attorney' 5 Ofﬁce
  W
  W
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        eonununication                                              sender


         Onion 2, 2022, at 18:47, Zoller, Grace W. <gzulluﬁilukulmmn> “role:


         Will,

         Can you all be available at l 1:30 tomorrow]

         Thanks,
         Grace

                 On Jun 2, 2022, at 6:41 PM. Wooten. will       WWW                                     wrote:-

                  Good evening,

                 We did not receive a response to our email to you this morning. We \Ioultl like to schedule a call for tomorrow aﬂemoon. Please advise what time you are available. Thank you.

                 Best regards,

                 Wlll Wooten (He/Him)
                 Deputy District Attorney
                 White Collar Crime Unit
                 DA's LGBTQt Advisory Committee CoChair
                 Fulton County District Attorney's Ofﬁce
                 1W                          ‘

                 gum” ﬁe 195m
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                 CONFIDENTIALITY NOTICE: This e-mai-l contains legally privileged and conﬁdential information intended only for the individual or entity named within the message. If the reader
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                 copying of this communication is pmhibiled. if this oommuuioation was received'in error, please notify the sender by reply email and delete the original message


                       On Jun 2, 2022, at 09:02, Wooten, Will       WWW                                    wrote:

                       ’Good morning.

                       We are completely unavailable today as Mr Wakeford noted. we are free all day tomorrow (Friday) rind can be available any time that'is convenient for you ineluding
                       during the evening ours lese advise “hat works best Thank you

                       Best regards,

                       \Vlll Wooten (He/Him)
                       Deputy District Attorney
                       White Collar Crime Unit
                       DA‘s LGBTQi: Advisory Committee Co—Chair
                       Fulton County District Attorney's Ofﬁce
                       W
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                       the original message


                              On Jun 2, 2022, at 08:58, McEvoy, Brian F.                                     wrote:


                              Are you available today at 10am?

                              Bllaﬂ MeEvoy
                              FM
                              <imago001 .pn?
                              Ina Peachtree Slreol Suite ma
                                                   I


                              Nhnta, GA 30309-7615
                              7 nauasasass

                              WW
                              hammer
                              W
                              From: Wakeford, FMeDonald                          -      '1
                              Scot: Wednesday, June 1, 2022 2:53 PM
                              To: MeEvoy, BrianF                                  >1Hill-DA, Michael WW>
                                                          :Ney. Adam       <MEEWW";                                   Wooten. Will   WWW>
                              Subject: Re: Follow tip

                              Brian,
                              We are available now and “ill be until close of business If \Ie are not able to speak today, it'is important that we speak before the end of the week. Our
                              scheduleIs \Iide open all day Friday. Please let me know.
                              Thank you,
                              Donald

                                 Sent from my iPhone


                                      On Jun 'l, 2022. at 9:37 AM. Wakeford. FMcDonatd       WWW                                               more:


                                      Good morning, Brian,
                                      We “ill be tied up at that titue and for much of the day tomorrow, but there‘s it good chance Ive could be ﬁnished rather today. Are there times
                                      earlier in the afternoon \Ihen you are inimitable?

                                      Additionally. we just came free for a bit and could talk any time bettwcn now and about lo: I St

                                      Donald

                                      Fmm- McEVO).anF             [WW]
                                      5cm: Wednesday. June 1, 2022 9: 24 AM
                                      To: Hiu--DA. Michael     WW>
                                      Ct: Wakefoxd FMcDonald         WWW);                                              WW:                       minimum
                                      <Adamﬂexﬂﬁihommmmt>; Wooten. WillWltmnumm>
Case 1:23-cv-03721-SCJ Document 1-71 Filed 08/21/23 Page 104 of 122



            Subject: RE: Follow up

            I'm not available at that time; How about 10am tomorrow!

            Bum MeEvuy
            Partner

            KlmpoW.]pg>
            tt7o Peamttnn Slmnl [Suite 1400
            Nhnlﬂ. GA 303091675
            T 61.4041565-




            Fro      eDA Michael         n            ‘       ’

            ScaI: Wednesdnthme 2022 8: 57AM   l
            To: McEvuy,BrianF.                Wanna?
            CC: Wakcford,           FMcDomld<WakcfmlﬂfultmunWaux authaaﬁnhauhuﬁnamNwtAdﬁm
            SubjecI: Re: Follow up
                                                            >Wooten. Will
                                                                                     WWW)
            Good morning Brian.

            This is Investigator We Hill. I just                                    Ho‘s is tied up with Grand Jury at the moment.
                                                                  left Donald.                     I



            If agreeable, let’s plan a call this nﬁcmoon III lGOOhrs.

            Advise; thanks.

            Sent from my iPhoae


                         On Jun 1, 2022, at 8:14 AM. McEvoy. Brian F.                       W)                                         wrote:

                                                                                                                         ‘
                         Donald are you available today?                                                                                    7
                                                                                                                                                                                               \


                         Thanks.
                         Brian

                         mutt MeEvny
                         Partner

                         (inago0094pg
                 -       I170 Penchtree Strecll Suite 2400
                         Atlanlz. GA 303037576
                         T 01 4042516596



                         :lmnmﬂnn:


                         FFnmakVakeErdjFMcﬁDéonald



                                                                                    W;
                 jSenI: Mdaty, May 3], 20222:]9PM

                                                                                                                                                                         W;
                         To: MeEvoy, BrianF.
                                                                  Ney, Adam                                                                     Wooten. Will
                         Hill-DA, Michael
                         Subject: RE: Follow up


                         [ExIernal Email: Use caution when clicking on links or opening attachments.)
                                                                   ‘

                         Good momma. Brian.

                         I wanted to touch base \n'th you In see iftm oould 5pm}: again. Could you get on the phone tomorrow ultemoon any time altar 3:
                         Thank y ou.                                                                                                                    00?- .
                         Donald

                         F McDonald Wakcford
                         Chief Senior AssistantDistriot :Attomcy
                     »   Fulton County District Attorney‘ 5 Ollice
                                                      I


                         (404) 375-0281
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                         From. Wuk'eford, FMcDonald
                         SeaI: Thursday, May 12 1022 4:14 PM
                         To: 'hmmﬂakcﬂawm’                         Wm>
                         Ct: mmanmmﬁtmm Ncy, Adm                                    <Adnnﬂnmmmw;                                                Woolen. W111             W;
                         Hill- DA. Michal
                         Subject: Followup
                                                 WWW)?
                         Good aﬂernoon. Brian.

                         I am glad we were able Io speak this aﬁemoon, and I wanted to followup on a couple of poinfs.

                         First. we acknowledge your point thaI your client remains in a cooperative posture Additionally. we are open to scheduling an
                         attorney proffer and will speak with you to ﬁndan agreeable date,
                         However, we are unable to agree to push the date of a future voluntary interview past the date ofthe general election. ll'u voluntary
                         interview is Io take place, it would nwd to take place much sooner than

                         We remain atailable to continue to discuss these'issues The best ntnnbers to reach us are 404—6l 2 3253 or 404-612- 5921.
                         Sincerely.
                         Donald

                         F. McDonald Wukefcrd
                         Chief Senior Assistant District Altomey
                         Fulton County District Attomey’s Ofﬁce
                         (404) 375-0281
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    Wade, Bradley 8: Campbell Firm
'

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    Bldg 23
    Allan-Ala, GA 30339
Case 1:23-cv-03721-SCJ Document 1-71 Filed 08/21/23 Page 106 of 122




                 Exhibit S
      Case 1:23-cv-03721-SCJ Document 1-71 Filed 08/21/23 Page 107 of 122




    BakerHostetler-
                                                                                                            BakeraHostetler LLP
                                                                                                           1170 Peachtree Street
                                                                                                           Suite 2400       7.       ,



                                                                                                           Atlanta. GA- 30309-7676.
                  .-
                  ’
                                                                                                            T 404.459.0050
                                                                                      .                     F 404;459.5734
    July 25, 2022               _
                                                                                                           www.bakerlaw-.c'om
                                                                                                            Brian F. McEvoy
                                                                                                            direct dial: 404.256.6696-
                                                                                                            bmcevoy@bakerlaw.com




                                                                         V




    Ms. F ani'Willis                                                          Mr. Nathan Wade-
                                                                                                                                     '
    District Attorney                  3            _,                        Special Prosecutor
    Ofﬁce of the Fulton County District Attorney                         '

                                                                              Ofﬁce of the Fulton County District Attorney
‘
    136 Pryor Street SW, 3rd Floor                                            136 Pryor Street SW, 3rd Floor
    Atlanta, GA 30303                                                         Atlanta, GA 30303
                                                                                                                        0




    Re:       .        In Re: Special Purpose Grand Jury, Case No. 2022-EX-000024, Subpoena for-the
                       Production of Documentary Evidence

    Counsel:

            This letter is to conﬁrm the Ofﬁce of the Gov'emor’s production of documents in response to
    the Government’s above-referenced subpoena for the production of documentary evidence, dated June
    22, 2022 (the “Subpoena”). This production contains documents responsive to Document Request Nos.
    1 and 2. Speciﬁcally, this
                                production contains email correspondence from the Ofﬁce of the Governor
    during November 2020. These documents are Bates labeledas GOVOFFICE_0000001 through and
    including GOVOFFICE_0014328 and have been ordered numerically into eight banker’s-boxes and
    delivered to your ofﬁce at 9:00 am as instructed in the Subpeona.

           The Ofﬁce of the Governor is continuing its document collection and review pursuant to the
    Subpoena; Given the vast amount of data housed’within the Ofﬁce of the Governor and in light of the
    voluminous universe of potentially responsive documents, collecting, reviewing, and producing
    responsive materials tolthe Subpoena is an abnormally time—intensive task. As such, the Ofﬁce'of the
    Governor anticipates supplementing this production tomorrow and again in the coming Weeks.

          _ Subject to the general objections raised in the attached Subpoena respOnse (see The Ofﬁce of
    the Govemor’s Objections to the Subpoena for the Production of Documentary Evidence to be Used
    by the Special Purpose Grand Jury in the Case of In Re: Special Purpose Grand Jury, Case Number
    2022-EX-000024, dated July 25, 2022), we are nonetheless producing these documents» on a voluntary
    basis evidencing a continued willingness to engage with the District Attorney’s Ofﬁce’sinvestigation.                                .




                     Atlanta-       Chicago   Cincinnati   Cleveland    Columbus      Costa Mesa    Dallas   Denver    Houston
                  Los Ange/es        New York    Orlando   Philadelphia    San Francisco    Seattle   Washington, DC    Wilmington
  Case 1:23-cv-03721-SCJ Document 1-71 Filed 08/21/23 Page 108 of 122


Ms. Fani Willis
Mr. Nathan Wade
July 25, 2022
Page 2


        This production should be held conﬁdentially and not disclosed outside of the special purpose
grand jury as it includes personally identifying information, personal health information, and other
sensitive content. The documents have not been redacted in any way given the Subpoena was issued
by the Fulton County District Attorney’s Ofﬁce in an ongoing criminal matter.

          If you have any questions or concerns about this current production, please do not hesitate to
reach out.

                                                 Sincerely,

                                                 /s/ Brian F. McEvoy

                                                 Brian F. McEvoy
                                                 Partner




4889—7629-0859.1


          l   .
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                 Exhibit T
      Case 1:23-cv-03721-SCJ Document 1-71 Filed 08/21/23 Page 110 of 122




’Ba‘kerHostetler                                     ﬂ
                                                                                                              i




                                                                                                              BakeratHostetle'r LLP         ’

                                                                                                              1170 Peachtree Street
                                                                                                              Suite 2400'               I



                                                                                                              Atlanta. GA 30309-7676
                                                                                                              T 404.459.0050
                                                                                                              F 404.459.5734
                                '




    July 27, 2022                                                                                             wWw.ba‘kerlaw.com

                                                                                                              Brian F. McEvoy
                                                                                                              direct dial': 404.256.6696
                                                                                                              bmcevoy@bakerl_aw.c_om




    Ms. Fani Willis                                      -
                                                                         '

                                                                                 Mr. Nathan Wade'
    District Attorney                   .
                                                                                 Special Prosecut0r_
    Ofﬁce of the Fulton County District Attorney                                 Ofﬁce of the Fulton County District Attorney
    136 Pryor Street SW, 3rd Floor                                               136 Pryor Street SW, 3rd Floor
                                                                             '
*




    Atlanta, GA 30303                                                            Atlanta, GA 30303
                                                     A

                                                                                                          '       '




    Re:        In Re. Special Purpose Grand Jury, Case N0. 2022—EX— 000024, Subpoena for the
               Production of Documentary Evidence

    Counsel:

            This letter is to conﬁrm the Ofﬁce of the GoVemor’s production of documents in response to
    the Fulton County District Attorney Ofﬁce’s above-referenced subpoena for the production of
    documentary evidence, dated June 22, 2022 (the “Subpoena”). This'production contains documents
    responsive to Document Request Nos. _1 and 2. Speciﬁcally, this production contains email
    correspondence from the Ofﬁce of the Governor during Noyember 2020. These documents are Bates
    labeled as GOVOFFICE_ 0014329 through and including GOVOFFICE_ 0035535 and haVe been
    ordered numerically into           banker’ s boxes and delivered to your ofﬁce as instructed1n the
                                              eleven
    Subpeona.

           The Ofﬁce of the Governor is continuing its document collection and review pursuant to the
    Subpoena. Given the vast amount of data housed Within theKOfﬁce of the Governor and in light of the
    voluminous universe of potentially responsive documents, collecting, reviewing, and producing
    responsive materials to the Subpoena is an abnormally time—intensive task; As such, the Ofﬁce of the
    Governor anticipates supplementing this production in the coming weeks.
                                                                                                                      '




            Subject to the general objections raised in the attached Subpoena response (see The Ofﬁce of
    the Governor’s Objections to the Subpoena for the Production of Documentary Evidence to be Used
    by the Special Purpose Grand Jury in the Case of In Re: Special Purpose Grand Jury, Case Number
    2022—EX.—000024, dated July 25 ,-2022), we are nonetheless producing these documents o'n a voluntary
    basis evidencing a continued willingness to engage with theiDistrict Attorney’s Ofﬁce’s investigation.

                            -


                 Atlanta            Chicago   Cincinnati     Cleveland    Columbus      Costa Mesa    Dallas- Denver      Houston
              Los Ange/es                                                                               Washington, DC
          _


                                     New York    Orlando     Philadelphia    San Francisco    Seattle                      Wilmington
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Ms. Fani Willis
Mr. Nathan Wade
July 27, 2022
Page 2


        This production should be held conﬁdentially and not disclosed outside of the special purpose
grand jury as it includes personally identifying information, personal health information, and other
sensitive content. The documents have not been redacted in any way given the Subpoena was issued
by the Fulton County District Attorney’s Ofﬁce in an ongoing criminal matter.

           If you have any questions or concerns about this current production, please do not hesitate to
reach out.

                                                  Sincerely,

                                                  /s/ Brian F. McEvoy

                                                  Brian F. McEvoy
                                                  Partner




4889-7629-0 859 .2
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                Exhibit U
     Case 1:23-cv-03721-SCJ Document 1-71 Filed 08/21/23 Page 113 of 122




BakerHostet’ler:
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                                                                                                                                 LLP
                                                                                                        BakeraHostetler
                                                                                                        1170 Peachtree Street
                                                                                                        Suite 2400
                                                                                                        Atlanta. GA 30309- 7676.-

                                                                                             ‘
                                                                                                        T 404.459.0050
                                                                                                        F 404.459.5734
August 3, 2022                                                                                          wWw.bakerIaw.pom
                                                                                                        Brian F. McEvoy
                                                                                                        direct dialz'404.256.6696
                                                                                                        bmcevoy@baker1aw.com




Ms. Fani Willis                               -   -
                                                                            Mr. Nathan Wade         I


District Attorney                    _                                      Special Prosecutor
Ofﬁce of the Fulton County District Attorney                            -
                                                                            Ofﬁce of the Fulton County District Attorney
136 Pryor Street SW, 3rd Floor                                              136 Pryor Street SW, 3rd Floor
Atlanta, GA 30303                                                           Atlanta, GA 30303

Re:        .
                In Re: Special Purpose Grand Jury, Case N0. 2022—EX—000024, Subpoena for the
                Production 0f Documentary Evidence

Counsel:

        This letter is to confnm the Ofﬁce of the Govemor’s production of documents in respOnse to
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documentary evidence, dated June 22, 2022 (the “Subpoena”). This production contains documents
responsive to Document Request 'Nos. l and 2. Speciﬁcally, this production contains email
correspondence from the Ofﬁce‘of the Governor during November 2020. These documents are Bates
labeled as GOVOFFICE_0035536 through and including GOVOFFICE_0119442 and have been
ordered numerically into banker’s boxes and delivered to your ofﬁce as instructed in the Subpeona.

       The Ofﬁce of the Governor is continuing its document collection and review pursuant to the
Subpoena. Given the vast amount of data housed 'within the Ofﬁce of the Governor and in light of the
voluminous universe of potentially responsive documents, collecting, reviewing, and producing
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by the Special Purpose Grand Jury in the Case of In Re: Special Purpose Grand Jury, Case Number
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basis evidencing a continued willingness to engage with the District Attemey’s Ofﬁce’s investigation.



                  Atlanta    Chicago   Clncinnatl     Cleveland    Columbus      Costa Mesa    'Dailas   Denver    Houston'
               Los Ange/es    New York    Orlando     Philadelphia    San Francisco    Seattle    Washington, DC    Wilmington
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Mr. Nathan Wade
August 3, 2022
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by the Fulton County District Attorney’s Ofﬁce in an ongoing criminal matter.

           If you have any questions or concerns about this current production, please do not hesitate to
                                                                                                 '

reach out.

                                                  Sincerely,

                                                  /s/ Brian F. McEvoy

                                                  Brian F. McEvoy
                                                  Partner




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                 Exhibit V
              Case 1:23-cv-03721-SCJ Document 1-71 Filed 08/21/23 Page 116 of 122




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                                                                                                                Baker'aHostetle? LLP
                                                                                                                1170 Peachtree Street
                                                                                                                Suite 2400
                                                                                                                Atlanta, GA 30309- 7676
                                                                                                                 T 404.459.0050
    r
                                                                                                                 F 404:459573'4
            August 12, 2022                                      r

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                                                                                                                wWw.bakerlaw.cOm
                                                                                                                                            ‘
                                                                                                                 Brian F. McEvoy
                                                                                                                 direct dial: 404.256.6696
                                                                                                                 bmcevqy@bakerlaw.com




            Ms. Fani Willis                                                        Mr. Nathan Wade
            District Attorney                  .
                                                                                   Special Prosecutor
        I
            Ofﬁce of the Fulton County District Attorney                           Ofﬁce of the Fulton County District Attorney
            136 Pryor Street SW, 3rd Floor                                         136 Pryor Street SW, 3rd Floor
            Atlanta,      30303                                                    Atlanta, GA 30303
                                      '




                       GA
                                                          V




            Re:    In Re. Special Purpose Grand Jury, Case N0. 2022- EX- 000024, Subpoena for the
                   Production of Documentary Evidence

            Counsel:

                    This letter is to conﬁrm the Ofﬁce of the Govemor’s production of decuments in response to
            the Fulton County District Attorney Ofﬁce’s above—referenced subpoena for the production of
            documentary evidence, dated June 22, 2022 (the “Subpoena”). This production contains doCurnents
                                                                                                                                                -




            responsive to Document Request Nos. _1 and 2. Speciﬁcally, this production contains email
.
            correspondence from the Ofﬁce of the Governor during January 2021. These documents are Bates
            labeled as GOVOFFICE_0119443 through and including GOVOFFICE_0136612 and have been
            ordered numerically into banker’s boxes and delivered to your ofﬁce as instructed in the Subpeona.
                                                                                                                                                '




                   The Ofﬁce of the GovernorIs continuing its document collection and review pursuant to the
        ,
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                                                                                                                                                    '




                       Atlanta   Chicago           Cincinnati   Cleveland    Columbus      Costa Mesa    Dal/as   Denver    Houston
                  Los Ange/es     New. York           Orlando   Philadelphia    San Francisco    seattle   Washington. DC    Wilmington
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Ms. F ani Willis
Mr. Nathan Wade
August 12, 2022
Page 2


        This production should be held conﬁdentially and not disclosed outside of the special purpose
grand jury as it includes personally identifying information, personal health information, and other
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by the Fulton County District Attomey’s Ofﬁce in an ongoing criminal matter.

        If you have any questions or concerns about this current production, please do not hesitate to   '




reach out.

                                               Sincerely,

                                               /S/ Brian F. McEvoy

                                               Brian F. McEvoy
                                               Partner
Case 1:23-cv-03721-SCJ Document 1-71 Filed 08/21/23 Page 118 of 122




               ExhibitW
                                                                      “
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                From:           :
                                                McEvoy, Brian F.
'
        To:'                        -
                                            ,
                                                nathan@thewbcﬁrm.com
        Subject:                                Gov. Kemp Interview
         Date:          _               _       Monday, August 8, 2022 7:33:00 PM
        Attachments:                             image001.png
        '
                                                 image002.png
                                                image003.png


        :Nathan:

        lam writing to renew our request that Governor Kemp’s interview (whether formal or informal) be
        postponed until afterthe General Election on November8, 2022. As Judge McBurneysuggested, we
            mehamwtodkassawpomnﬁaermnmwandpdWbgebamsmanaﬁowmypmﬁeﬂnadwmce
            to makethe discussion as seamless and productive as possible under the circumstances. Given the
            significance ofthe Special Gra‘ndy Jury’s investigation, we believe it isimportant that _all applicable
        procedural, ethical, and legal standards are closely followed. Moreover, consistent-with guidance
        from theAmerican Bar Association and National District Attorney’s Association, and because of the
        political nature of this investigation which is occurring in the middle of an election cycle, we want to
        tnakesuretheinvesﬁgaﬁorldoesnothnpropedyinﬂuencetheupconﬁnggeneraldecﬁon.
                            V




            Thanks
                Bnan



            Brian F. McEvoy
            Partner

            l



            _1170 Peachtree Street Suite 2400       |_



    '
            Atlanta, GA 30309-7676
            T +1 .404.256.6696

            bmcevo    bakerlawcom
            bakerlawcom
    II
Case 1:23-cv-03721-SCJ Document 1-71 Filed 08/21/23 Page 120 of 122




                                                          1




                 ExhibitX
             Case 1:23-cv-03721-SCJ Document 1-71 Filed 08/21/23 Page 121 of 122




            From:                      n_a_th_aﬂ
    -
         To:              .'           McEvgy, Brian F.
         Cc:                           Raffemz, Brian T.; ZollerI Grace W.
                      '




         Subject:                      RE: Gov. Kemp Interview               ,


        .Date:                 .
                                       Tuesday, August 9,2022 9:37:42 AM




            [External Email: Use caution when clicking. on links crowning-attachments]
                                                                                     -   I




    5
        Brian

        Governor Kemp1s scheduled to testify1n person before the Special Purpose Grand Jury on
        August 18 2022 at 9 am. We have made every attempt to aCcommodate the Governor and his
        schedule however, the grandJurors are requesting to move forward with his testimony. Thank
        you
                                                                                 '
                                                                                             .




            Sent via the Samsung Galaxy Z Flip3 SG, an AT&T 5G smartphone




               Original message                   ‘

        From: "McEvoy, Brian F." <bmcevoy@bakerlaw.com>
                                                         >




        Date: 8/8/22 7. 35 PM (GMT--05:00)
        To: nathan@thewbcf1rm. com
                                                                               "
        Cc: "Rafferty, Brian T. " <brafferty@bakerlaw. com>, "Zoller, Grace
                                                                            W.
    ‘
        <gzoller@bakerlaw. com>
        Subject: Gov. Kemp Interview


        Nathan:



        As you may recall, I will be unavailable tomorrow through Friday. If you would like to
            discuss anything before then, please reach out to Mr. Rafferty or.Ms Zoller.
                                                                                         Otherwise, I am
            available at your convenience beginning Monday, August 15_.



            Brian McEvoy
            Partner



        ’
                                   .



            1170 Peachtree Street Suite 2400 [


        Atlanta. GA 30309-7676
        T +1.404.256.6696

            bmcevoy@bakerlaw. com
            bakeEgw. com
-
    ,
         Case 1:23-cv-03721-SCJ Document 1-71 Filed 08/21/23 Page 122 of 122




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